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                   IN THE UNITED STATES DISTRICT COURT
                    FOR THE WESTERN DISTRICT OF TEXAS
                              WACO DIVISION


Midas Green Technologies, LLC,        )
                                      )
            Plaintiff,                )   Case No. 6:22-cv-00050-ADA
                                      )
      v.                              )
                                      )
Rhodium Enterprises, Inc.;            )
Rhodium Technologies LLC;             )
Rhodium 10MW LLC;                     )
                                      )
Rhodium 2.0 LLC;                      )
Rhodium 30MW LLC;                     )
Rhodium Encore LLC;                   )
Rhodium Renewables LLC;               )
Rhodium Renewables Sub LLC; and       )
Rhodium Ready Ventures LLC.           )
                                      )
            Defendants.               )




           OPENING EXPERT REPORT OF ALFONSO ORTEGA, PH.D.
                       REGARDING INVALIDITY




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            “a plenum, positioned adjacent the bottom of the tank, adapted to dispense
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ASSIGNMENT

Description of Task

    1. I have been retained as an expert in this case on behalf of Defendants Rhodium Enterprises,
Inc., Rhodium Technologies LLC, Rhodium 10MW LLC, Rhodium 2.0 LLC, Rhodium 30MW
LLC, Rhodium Encore LLC, Rhodium Renewables LLC, Rhodium Renewables Sub LLC, and
Rhodium Ready Ventures LLC (collectively, “Rhodium”) to provide expert opinions and
testimony regarding U.S. Patent No. 10,405,457 (the “‘457 patent”) and U.S. Patent No.
10,820,446 (the “‘446 patent”) (collectively, the “Asserted Patents”), and regarding technology
involved in this case, including prior art and the state of the art at the time of the purported
invention of the Asserted Patents. I expect to testify at trial regarding the matters set forth in this
report if asked about these matters by the Court or the parties’ attorneys.

    2. I understand that Midas Green Technologies, LLC (“MGT”) is asserting claims 1, 2, 5, 6, 7,
10, 11, 14, and 15 of the ‘457 patent and claims 1, 2, 5, 6, 7, and 10 of the ‘446 patent (collectively,
the “Asserted Claims”). 1

Information Considered

    3. A complete list of the information I considered in forming my opinions is attached as
Exhibit A. As part of my diligence, I have also reviewed Rhodium’s Final Invalidity Contentions, 2
the Expert Report of Dr. Issam Mudawar Regarding Invalidity of the Asserted Claims and
Declaration of Dr. Issam Mudawar on Disputed Claim Terms served in Midas Green Technologies,
LLC v. Immersion Systems LLC, No. 4:20-cv-00555-O (N.D. Tex. 2020), 3 as well as the
declarations of Dr. Issam Mudawar filed in Immersion Systems LLC v. Midas Green Technologies,
LLC, No. IPR2021-01176 (P.T.A.B. June 23, 2021) and Immersion Systems LLC v. Midas Green
Technologies, LLC, PGR2021-00104 (PTAB July 26, 2021). 4 I have repurposed some of these
materials, and where I have done so I agree with those contentions and opinions and adopt them
as my own for purposes of this report.

QUALIFICATIONS AND EXPERIENCE

Educational Background

   4. The most recent version of my curriculum vitae is attached as Exhibit B, which describes
my qualifications.


1
  See generally Final Infringement Contentions.
2
  See generally Defendants’ Final Invalidity Contentions.
3
  See Expert Report of Dr. Issam Mudawar Regarding Invalidity of the Asserted Claims, Immersion
Systems LLC, No. 4:20-cv-00555-O (N.D. Tex. Feb. 7, 2022); Declaration of Dr. Issam Mudawar
on Disputed Claim Terms at MIDAS0000998-1051.
4
  Exhibit 1020, Declaration of Dr. Issam Mudawar, Immersion Systems LLC v. Midas Green
Technologies, LLC, No. IPR2021-01176 (P.T.A.B. June 23, 2021); Exhibit 1020, Declaration of
Dr. Issam Mudawar, Immersion Systems LLC v. Midas Green Technologies, LLC, PGR2021-00104
(PTAB July 26, 2021).

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    5. I received a Bachelor of Science in Mechanical Engineering from The University of Texas-
El Paso in 1976. In 1978, I received a Master of Science in Mechanical Engineering from Stanford
University. From 1981 to 1986, I served as a research assistant in the Thermosciences Division of
the Mechanical Engineering Department at Stanford University, and in 1986, I received a Ph.D. in
Mechanical Engineering from Stanford University.

Career History

    6. I have over forty years of experience and education in heat transfer and thermal sciences,
including the cooling of electronics. I began my professional career focusing on research in solar
and geothermal energy topics at Sandia National Laboratories in Albuquerque, New Mexico,
where I served as a member of the technical staff from 1978 to 1981 and again from 1986 to 1988.

   7. From 1988 to 2005, I was on the faculty of the Department of Aerospace and Mechanical
Engineering at The University of Arizona. I established the Experimental and Computational Heat
Transfer Laboratory in 1988, which I directed until 2005.

    8. From 2004 to 2006, I was the Program Director of Thermal Transport and Thermal
Processing in the Chemical and Transport Systems Division of The National Science Foundation,
managing a $6.5 million program that, under my tenure, was awarded in excess of $12 million in
grants in emerging areas of thermal science. From 2005 to 2006, I was the Program Coordinator
of the Active Nanostructures and Nanosystems NIRT Program, coordinating the efforts of 15
programs across the engineering directorate, which was awarded $35 million in grants in the area
of nanoengineering. While at the National Science Foundation, I initiated a major workshop on
Emerging Frontiers in Thermal Transport, with the goal of identifying emerging topics and helping
the National Science Foundation to define the thermal transport research agenda for the next
decade.

    9. I joined the faculty of Mechanical Engineering at Villanova University as the James R. Birle
Professor of Technology in 2006. That same year, I established the Laboratory for Advanced
Thermal and Fluid Systems, which is the focal point for my research in fundamentals and
applications of heat transfer in thermal-fluid systems. From 2007 to 2016, I served as Associate
Dean for Graduate Studies and Research and Associate Vice President for Research and Graduate
Programs, having administrative oversight over all graduate programs and research initiatives in
the College of Engineering.

   10. From 2017 to 2018, I served as Dean of the School of Engineering and John M. Sobrato
Professor of Engineering at Santa Clara University. I have also served as a Visiting Professor, in
the Departamento de Ingeniería Mecanica y Metalurgica (Department of Mechanical and
Metallurgical Engineering) at Pontificia Universidad Catolica de Chile (Pontifical Catholic
University of Chile) in Santiago, Chile, and in the Department of Mechanical Engineering at
Binghamton University.

    11. I returned to Villanova University in 2018, and am currently the James R. Birle Endowed
Chair Professor of Energy Technology. I also serve as the co-director of the Villanova University
Strategic Initiative for Climate, Justice, and Sustainability; director of the Villanova University
Laboratory for Advanced Thermal and Fluid Systems; and director of the National Science



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Foundation Industry/University Cooperative Research Center on Energy Smart Electronic
Systems.

    12. I am the author of over 300 journal and symposium papers, book chapters, and
monographs. I have presented numerous invited lectures on these subjects nationally and
internationally, and I am a frequent short course instructor on the subject. I have held visiting
positions at The National Institute of Standards and Technology and the Technical University at
Delft, the Netherlands, and I have served on international doctoral committees in Sweden, the
Netherlands, and South Korea.

    13. I am an internationally recognized authority in the cooling of electronic systems,
convective and conjugate heat transfer in complex flows, and experimental measurements in the
thermal sciences. I have conducted extensive academic research in the areas of electronics cooling
and thermal management in data centers; in particular, experimental, analytical, and numerical
investigation of thermal issues in electronic packaging; conjugate heat transfer; air cooling;
impingement cooling; liquid cooling; two-phase cooling; spray cooling; micro- and mini-channels;
hybrid air-liquid cooling; and dynamic cooling. I have authored numerous articles and papers
relating to thermal management of electronic systems, including “Design of Air and Water Cooled
Heat Exchangers for Electronics Cooling: A Critical Review of Data and Analysis Methods for
Heat Sinks and Cold Plates,” published at the 26th IEEE Semiconductor Thermal Measurement,
Modeling, and Management Symposium in 2010; and “Transitioning from Air to Liquid Cooling:
Design Fundamentals for Heat Sinks and Cold Plates” published at the 28th IEEE Semiconductor
Thermal Measurement, Modeling, and Management Symposium in 2012.

   14. I am a member of the American Society of Mechanical Engineers, and have served as an
Editor of the Journal of Heat Transfer, Journal of Electronic Packaging, and IEEE Transactions on
Components, Packaging, and Manufacturing Technology.

   15. I am a former Chair of the ASME K16 Committee on Heat Transfer in Electronic
Equipment (1993-1997) and of the ASME Electronic and Photonic Packaging Division (2001-
2002). I was the General Chair of the ASME/IEEE ITHERM Symposium (1994), the IEEE
SEMITHERM Symposium (1994), and the 2005 ASME International Electronic and Photonic
Packaging Conference (InterPACK 2005). I am also the recipient of the 2001 ASME Electronic
Packing Division Thermal Management Award, and the 2002 IEEE SEMITHERM Significant
Contributor Award.

Prior Testimony

   16. A detailed list of my prior testimony is attached as Exhibit C.

Compensation

    17. I am being compensated for my time spent on this matter at my standard rate of $840.00
per hour for time spent testifying at deposition or trial, and $740.00 per hour for all other work.
My compensation is in no way contingent on the outcome of this litigation or the content of my
particular testimony or opinions. I otherwise have no financial interest in the litigation or
connection to the parties.



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RELEVANT LEGAL PRINCIPLES

    18. I have relied on certain legal principles in forming my opinions. My understanding of these
legal principles is based on counsel’s explanation of them. I summarize my understanding of these
legal principles below.

    19. I understand that the America Invents Act (“AIA”), which changed certain patent laws and
rules, applies to patents with a priority date on or after March 16, 2013.

    20. I understand that MGT contends the earliest date of invention and the priority date of all
Asserted Claims of the Asserted Patents is, respectively, March 14, 2012 and December 14, 2012. 5
I further understand that Rhodium contends the Asserted Claims of the Asserted Patents are not
entitled to either of these dates, and the priority date of the Asserted Patents is instead December
13, 2013, the filing date of the ‘457 patent.

   21. Consequently, the following section summarizes my understanding of both the pre-AIA
and post-AIA legal principles.

Inventorship

    22. I understand that an “inventor” is an individual or individuals who invented or discovered
the subject matter of an invention. An individual who contributes to the subject matter of an
invention is a “joint inventor” or “coinventor” when they: (1) contribute in some significant
manner to the conception or reduction to practice of the invention; (2) make a contribution to the
claimed invention that is not insignificant in quality, when that contribution is measured against
the dimension of the full invention, and (3) do more than merely explain to the real inventors well-
known concepts and/or the current state of the art.

    23. I also understand that a patent that does not list the names of its true inventors is invalid
for improper inventorship. A patentee may correct an error in a patent’s list of inventors; however,
a patent is invalid for inequitable conduct where a patentee has withheld material information
regarding inventorship with an intent to mislead the United States Patent and Trademark Office
(“PTO”).

Priority Date

    24. I understand that the “priority date” of claims of a patent determines whether a reference
is “prior art” to the claims. I also understand that when the priority date is based on the filing of a
patent application, the priority date is the earliest effective filing date of the patent’s claims. I
understand that the earliest effective filing date of a patent’s claims may predate the actual filing
date of the application for that patent. For example, if a nonprovisional (utility) application claims
priority to an earlier provisional application, the earliest effective filing date of the claims resulting
from the nonprovisional application may be the filing date of the provisional application, but only
if the provisional application’s disclosure satisfies the enablement and written description
requirements (discussed below) for those claims.


5
    See Pl.’s Supp. Resp. to Defs.’ Interrog. No. 2, Apr. 5, 2023.

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Prior Art

   25. I understand that the patent statutes describe categories of prior art. Specifically, I
understand that the pre-AIA statutory framework of 35 U.S.C. § 102 reads as follows:

                 A person shall be entitled to a patent unless—

                 (a) the invention was known or used by others in this country, or
                 patented or described in a printed publication in this or a foreign
                 country, before the invention thereof by the applicant for patent, or

                 (b) the invention was patented or described in a printed publication
                 in this or a foreign country or in public use or on sale in this country,
                 more than one year prior to the date of the application for patent in
                 the United States, or

                                                   ***

                 (e) the invention was described in—(1) an application for patent,
                 published under section 122(b), by another filed in the United States
                 before the invention by the applicant for patent or (2) a patent
                 granted on an application for patent by another filed in the United
                 States before the invention by the applicant for patent, except that
                 an international application filed under the treaty defined in section
                 351(a) shall have the effects for the purposes of this subsection of
                 an application filed in the United States only if the international
                 application designated the United States and was published under
                 Article 21(2) of such treaty in the English language;

                 (g) . . . (2) before such person’s invention thereof, the invention was
                 made in this country by another inventor who had not abandoned,
                 suppressed, or concealed it. In determining priority of invention
                 under this subsection, there shall be considered not only the
                 respective dates of conception and reduction to practice of the
                 invention, but also the reasonable diligence of one who was first to
                 conceive and last to reduce to practice, from a time prior to
                 conception by the other. 6

    26. I also understand that the post-AIA statutory framework of 35 U.S.C. § 102 reads as
follows:

                 (a) NOVELTY; PRIOR ART.—A person shall be entitled to a patent
                 unless—




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    35 U.S.C. § 102 (2011).

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        (1) the claimed invention was patented, described in a printed
        publication, or in public use, on sale, or otherwise available to the
        public before the effective filing date of the claimed invention; or

        (2) the claimed invention was described in a patent issued under
        section 151, or in an application for patent published or deemed
        published under section 122(b), in which the patent or application,
        as the case may be, names another inventor and was effectively filed
        before the effective filing date of the claimed invention.

        (b) EXCEPTIONS.—

        (1) DISCLOSURES MADE 1 YEAR OR LESS BEFORE THE
        EFFECTIVE FILING DATE OF THE CLAIMED INVENTION.—
        A disclosure made 1 year or less before the effective filing date of a
        claimed invention shall not be prior art to the claimed invention
        under subsection (a)(1) if—

        (A) the disclosure was made by the inventor or joint inventor or by
        another who obtained the subject matter disclosed directly or
        indirectly from the inventor or a joint inventor; or

        (B) the subject matter disclosed had, before such disclosure, been
        publicly disclosed by the inventor or a joint inventor or another who
        obtained the subject matter disclosed directly or indirectly from the
        inventor or a joint inventor.

        (2) DISCLOSURES APPEARING IN APPLICATIONS AND
        PATENTS.—A disclosure shall not be prior art to a claimed
        invention under subsection (a)(2) if—

        (A) the subject matter disclosed was obtained directly or indirectly
        from the inventor or a joint inventor;

        (B) the subject matter disclosed had, before such subject matter was
        effectively filed under subsection (a)(2), been publicly disclosed by
        the inventor or a joint inventor or another who obtained the subject
        matter disclosed directly or indirectly from the inventor or a joint
        inventor; or

        (C) the subject matter disclosed and the claimed invention, not later
        than the effective filing date of the claimed invention, were owned
        by the same person or subject to an obligation of assignment to the
        same person.

                                         ***




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                 (d) PATENTS AND PUBLISHED APPLICATIONS EFFECTIVE
                 AS PRIOR ART.—For purposes of determining whether a patent or
                 application for patent is prior art to a claimed invention under
                 subsection (a)(2), such patent or application shall be considered to
                 have been effectively filed, with respect to any subject matter
                 described in the patent or application—

                 (1) if paragraph (2) does not apply, as of the actual filing date of the
                 patent or the application for patent; or

                 (2) if the patent or application for patent is entitled to claim a right
                 of priority under section 119, 365(a), 365(b), 386(a), or 386(b), or
                 to claim the benefit of an earlier filing date under section 120, 121,
                 365(c), or 386(c) based upon 1 or more prior filed applications for
                 patent, as of the filing date of the earliest such application that
                 describes the subject matter. 7

   27. I understand that prior art can take the form of written reference such as patents and printed
publications, and can also take the form of system reference including products. I understand that
where the prior art takes the form of a product/system, the characteristics and prior use of that
product/system can be proven with testimony and documentary evidence.

    28. I also understand that an invention was “on sale” if the invention was: (a) the subject of a
commercial sale or offer for sale and (b) ready for patenting. I further understand that an invention
is “ready for patenting” when (1) the invention is reduced to practice or (2) the invention is
depicted in drawings or described in writings in enough detail for a person having ordinary skill
in the art to be able to make the invention.

   29. The following is a list of systems and references that I understand are prior art to the
Asserted Patents:

             •   U.S. Patent No. 10,123,463 (“Best ‘463”);

             •   The Green Revolution Cooling Tank (“Best Tank”);

             •   U.S. Patent Application Publication No. 2014/0211412 (“Best Publication”);

             •   U.S. Patent No. 5,167,511 (“Krajewski ‘511”);

             •   U.S. Patent Application Publication No. 2006/0126292 (“Pfahnl Publication”);

             •   Russian Federation Patent No. 2,500,013 (“Gryzhin ‘013”);

             •   U.S. Patent No. 3,406,244 (“Oktay ‘244”);



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    35 U.S.C. § 102 (2015).

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           •   Japanese Patent No. JPH04116758 (“JP ‘758”);

           •   U.S. Patent No. 9,992,914 (“Best ‘914”);

           •   U.S. Patent No. 6,555,298 (“Rolfson ‘298”);

           •   U.S. Patent No. 4,590,538 (“Cray ‘538”);

           •   U.S. Patent No. 5,448,108 (“Quon ‘108”);

           •   U.S. Patent No. 8,009,419 (“Attlesey ‘419”);

           •   U.S. Patent No. 7,403,392 (“Attlesey ‘392”);

           •   U.S. Patent Application Publication No. 2008/0017355 (“Attlesey Publication”).

   30. I understand that these system and references constitute prior art to the Asserted Patents
under both the pre-AIA and post-AIA statutory framework of 35 U.S.C. § 102.

Person of Ordinary Skill in the Art

    31. I understand that an analysis of the claims of a patent should be undertaken from the
perspective of a person having ordinary skill in the art (“POSA”) at the time of the purported
invention. A POSA is a hypothetical person who analyzes prior art without the benefit of hindsight.
A POSA is presumed to have knowledge of all references that are sufficiently related to one another
and to the pertinent art and to have knowledge of all arts reasonably pertinent to the particular
problem that a claimed invention addresses.

    32. I understand that to determine the appropriate level of a POSA, the following factors may
be considered: (a) the types of problems encountered by those working in the field and prior art
solutions thereto; (b) the sophistication of the technology in question, and the rapidity with which
innovations occur in the field; (c) the educational level of active workers in the field; and (d) the
educational level of the inventor.

    33. In my opinion, as of the time of the purported invention, a POSA in the field of the Asserted
Patents would have had a working knowledge of immersion cooling systems. The POSA would
have either (1) a bachelor’s degree in mechanical engineering, or an equivalent degree, and five
years of professional experience, including with responsibility for designing immersion cooling
systems or (2) a master’s degree in mechanical engineering, or an equivalent degree, including
study in liquid cooling systems design and research. Lack of professional experience can be
remedied by additional education, and vice versa.

Written Description, Enablement, and Indefiniteness

    34. I understand that a claim must be supported by a written description of the invention within
the four corners of the specification. It is my understanding that the disclosure in the specification
must be full, clear, and exact enough to allow a POSA to recognize that the inventor invented what
is claimed and possessed the claimed invention as of the filing date associated with the patent. I


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understand that it is not enough if what is described in the disclosure renders the claimed invention
obvious. I understand that, rather, every claim limitation must be present expressly or inherently
in the original specification (“inherently” meaning the claimed feature is necessarily present in
what is expressly described).

    35. I understand that a patent must disclose sufficient information to enable or teach a POSA
to make and use the full scope of the claimed invention without undue experimentation, as of the
priority date associated with the patent for the claimed invention.

    36. I also understand from counsel that there are many factors to be considered when
determining whether there is sufficient evidence to support a determination that a disclosure does
not satisfy the enablement requirement and whether any necessary experimentation is “undue.”
These factors include, but are not limited to, the breadth of the claims; nature of the invention;
state of the prior art; level of one of ordinary skill; level of predictability in the art; amount of
direction provided by the inventor; existence of working examples; and quantity of
experimentation needed to make or use the invention based on the content of the disclosure.

     37. I understand that the claims must match what the applicant regarded as the claimed
invention. I understand that a patent must be precise enough to afford clear notice of what is
claimed and provide a POSA with a clear understanding of the patent’s limitations and boundaries.
It is my understanding that, when the patent and prosecution history are read together, they should
disclose a single known method, arrangement, or combination or establish that, if there are multiple
known methods, arrangements, or combinations, a POSA would know which approach to choose.

Anticipation

    38. I understand that determining whether a patent claim is anticipated is a two-step process.
In the first step, the language of the claim is construed as it would be understood by a POSA at the
time of the purported invention of the Asserted Patents. The claim is construed by referring to
intrinsic evidence, which includes the claim language, the patent specification, and the prosecution
history, as well as extrinsic evidence. The words of patent claims are to be given their ordinary and
customary meaning unless the inventor has defined them (acted as their own lexicographer) or
used them differently (i.e., in a manner inconsistent with the ordinary and customary meaning).
The prosecution history of a patent, and related patents and applications, may limit the
interpretation of the claim, especially if the patentee disavowed or disclaimed any claim scope in
order to obtain allowance of the claim.

    39. I understand that the parties have agreed to construction of the term “weir” to mean “an
overflow structure or barrier that determines the level of liquid;” and of the term “plenum” to mean
“a structure for dispensing liquid.” 8 I have considered and used these constructions in my analysis
and opinions. In the absence of a claim construction, I have applied my understanding of how one
of ordinary skill in the art would interpret the term at the time of the purported invention.

   40. I further understand that in a prior patent infringement action, Midas Green Technologies,
LLC v. Immersion Systems LLC, No. 4:20-cv-00555-O (N.D. Tex. 2020), which concerned the

8
    Joint Stipulation on Claim Construction, ECF No. 50.

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Asserted Patents, the court issued a claim construction order and held that the terms “a weir . . .
adapted to facilitate substantially uniform recovery” and “a weir . . . having an overflow lip adapted
to facilitate substantially uniform recovery” are not indefinite, and construed those terms as having
their plain and ordinary meaning. 9 I understand that the court also understood the terms to have
the same meaning. 10 I have applied my understanding of how one of ordinary skill in the art would
interpret these terms at the time of the purported invention.

    41. In the second step of the anticipation analysis, one must perform a comparison of the
properly construed claims to the prior art on a limitation-by-limitation basis. I understand that, for
a reference to be anticipatory, it must expressly or inherently disclose every element of each
asserted claim and be arranged or combined in the same way as each asserted claim. If a prior art
reference does not expressly arrange or combine all of the limitations in the claimed invention, I
understand that the reference may still be anticipatory if a POSA, when reading the reference,
would know that the limitations would need to be arranged or combined in that way. Similarly, I
also understand that a feature is inherent in a prior art system where a POSA would know that the
feature is necessarily required in the system.

    42. I also understand that anticipation cannot be established by combining references unless
they are expressly incorporated by reference. However, I understand that other references may be
used to interpret an anticipating reference by, for example, indicating how a POSA would
understand the anticipating reference, or to demonstrate the inherency of certain disclosures within
the reference.

Obviousness

    43. I understand that obviousness is analyzed from the perspective of a POSA at the time of
the purported invention. I also understand that a POSA is presumed to have been aware of all
pertinent prior art at the time of the purported invention.

    44. I understand that an obviousness analysis involves comparing a claim to the prior art to
determine whether the claimed invention, as a whole, would have been obvious to a POSA in view
of the prior art and in light of the general knowledge in the art at the time of the purported invention.

    45. It is further my understanding that obviousness can be established by combining or
modifying the disclosures of prior art references to achieve the claimed invention. A claimed
invention is obvious where at the time of the claimed invention, a POSA would have been
motivated to combine the disclosures of the prior art references to achieve the claimed invention,
taking into account such factors as (1) whether the claimed invention was merely the predictable
result of using prior art elements according to their known function(s); (2) whether the claimed
invention provides an obvious solution to a known problem in the relevant field; (3) whether the
prior art teaches or suggests the desirability of combining elements claimed in the invention; (4)
whether the prior art teaches away from combining elements in the claimed invention; and (5)
whether it would have been obvious to try the combinations of elements, such as when there is a

9
  Claim Construction Order, Midas Green Technologies, LLC v. Immersion Systems LLC, No. 4:20-
cv-00555-O (N.D. Tex. Nov. 22, 2021), ECF No. 84.
10
   See id. at 7.

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design incentive or market pressure to solve a problem and there are a finite number of identified,
predictable solutions. It is also my understanding that, where there is a reason to modify or combine
the prior art to achieve the claimed invention, there must also be a reasonable expectation of
success in so doing to render the claimed invention obvious.

    46. I understand that the reason to combine prior art references can come from a variety of
sources, not just the prior art itself or the specific problem the patentee or author was trying to
solve. I also understand that the references themselves need not provide a specific hint or
suggestion of the alteration needed to arrive at the claimed invention; the analysis may include
recourse to logic, judgment, and common sense available to a POSA.

    47. I understand that, when considering the obviousness of an invention, one should also
consider whether there are any objective indicia that support the non-obviousness of the invention.
I further understand that objective indicia of non-obviousness include failure of others, copying,
unexpected results, information that “teaches away” from the claimed subject matter, perception
in the industry, commercial success, and long-felt but unmet need. I also understand that, in order
for objective indicia of non-obviousness to be applicable, the indicia must have some sort of nexus
to the subject matter in the claim that was not known in the art. I understand that this nexus includes
a factual connection between the patentable subject matter of the claim and the objective indicia
alleged. I also understand that an independently made invention that is made within a
comparatively short period of time is evidence that the claimed invention was the product of
ordinary skill.

Duty of Candor

    48. I understand that all patent applicants, their attorneys or agents, and everyone else involved
in the preparation or prosecution of a patent application must abide by a duty of candor. I
understand the duty of candor to require disclosure of all information known to the individual that
is material to patentability, including all known relevant prior art. I understand that information is
material when it is not cumulative to information already disclosed in the patent application, and
(1) it establishes, by itself or in combination with other information, unpatentability of a claim; or
(2) it refutes, or is inconsistent with, a position the applicant takes in: (i) opposing an argument of
unpatentability relied on by the PTO, or (ii) asserting an argument of patentability.

    49. I understand inequitable conduct is a defense to patent infringement that, if established,
renders a patent unenforceable. Inequitable conduct is established upon clear and convincing
evidence that a patent applicant knew of a prior art reference, knew that the reference was material,
and made a deliberate decision not to disclose the reference to the PTO. A reference is material if
the PTO would not have allowed a claim had it been aware of the undisclosed reference.

Presumption of Validity

    50. I understand that claims of an issued patent are presumed to be valid, meaning that it was
properly granted by the PTO. I also understand that this presumption of validity can be overcome
if clear and convincing evidence is presented that proves the patent is invalid. It is my
understanding that for evidence to be clear and convincing, it must produce in the mind of the
finder of fact an abiding conviction that the truth of the factual contentions is highly probable.



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SUMMARY OF OPINIONS AND CONCLUSIONS

   51. Where the Court or the parties have provided a construction for a claim term, I have
adopted that construction. For all other claim terms, I have analyzed the claim under my
understanding of the term and/or under the interpretation put forth by MGT in its infringement
contentions.

Summary of Opinions and Conclusion on Anticipation and Obviousness

    52. As explained more clearly below, it is my opinion that the Asserted Patents do not include
any new or novel material in any instance. In my opinion, the Asserted Claims of the ‘457 patent
are invalid on the following grounds:

   a. Best ‘463 alone or in combination with the general knowledge and common sense of those
      skilled in the art and/or the teachings of one or more of the Best Tank, the Best Publication,
      Best ‘914, Oktay ‘244, Krajewski ‘511, the Pfahnl Publication, Gryzhin ‘013, JP ‘758,
      Rolfson ‘298, Attlesey ‘419, and Quon ‘108;

   b. The Best Publication alone or in combination with the general knowledge and common
      sense of those skilled in the art and/or the teachings of one or more of the Best Tank, Best
      ‘463, Best ‘914, Oktay ‘244, Krajewski ‘511, the Pfahnl Publication, Gryzhin ‘013, JP
      ‘758, Rolfson ‘298, Attlesey ‘419, and Quon ‘108;

   c. The Best Tank alone or in combination with the general knowledge and common sense of
      those skilled in the art and/or the teachings of one or more of the Best Publication, Best
      ‘463, Best ‘914, Oktay ‘244, Krajewski ‘511, the Pfahnl Publication, Gryzhin ‘013, JP
      ‘758, Rolfson ‘298, Attlesey ‘419, and Quon ‘108;

   d. Krajewski ‘511 alone or in combination with the general knowledge and common sense of
      those skilled in the art and/or the teachings of one or more of the Best Tank, the Best
      Publication, Best ‘463, Best ‘914, Oktay ‘244, the Pfahnl Publication, Gryzhin ‘013, JP
      ‘758, Rolfson ‘298, Attlesey ‘419, and Quon ‘108;

   e. The Pfahnl Publication alone or in combination with the general knowledge and common
      sense of those skilled in the art and/or the teachings of one or more of the Best Tank, the
      Best Publication, Best ‘463, Best ‘914, Oktay ‘244, Krajewski ‘511, Gryzhin ‘013, JP ‘758,
      Rolfson ‘298, Attlesey ‘419, and Quon ‘108;

   f. Gryzhin ‘013 alone or in combination with the general knowledge and common sense of
      those skilled in the art and/or the teachings of one or more of the Best Tank, the Best
      Publication, Best ‘463, Best ‘914, Oktay ‘244, Krajewski ‘511, the Pfahnl Publication, JP
      ‘758, Rolfson ‘298, Attlesey ‘419, and Quon ‘108;

   g. Oktay ‘244 alone or in combination with the general knowledge and common sense of
      those skilled in the art and/or the teachings of one or more of the Best Tank, the Best
      Publication, Best ‘463, Best ‘914, Krajewski ‘511, the Pfahnl Publication, Gryzhin ‘013,
      JP ‘758, Rolfson ‘298, Attlesey ‘419, and Quon ‘108;



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   h. JP ‘758 alone or in combination with the general knowledge and common sense of those
      skilled in the art and/or the teachings of one or more of the Best Tank, the Best Publication,
      Best ‘463, Best ‘914, Oktay ‘244, Krajewski ‘511, the Pfahnl Publication, Gryzhin ‘013,
      Rolfson ‘298, Attlesey ‘419, and Quon ‘108; and

   i. Best ‘914 alone or in combination with the general knowledge and common sense of those
      skilled in the art and/or the teachings of one or more of the Best Tank, the Best Publication,
      Oktay ‘244, Krajewski ‘511, the Pfahnl Publication, Gryzhin ‘013, JP ‘758, Rolfson ‘298,
      Attlesey ‘419, and Quon ‘108.

   53. In addition, as explained more clearly below, in my opinion, the Asserted Claims of the
‘446 patent are also invalid on the following grounds:

   a. Best ‘463 alone or in combination with the general knowledge and common sense of those
      skilled in the art and/or the teachings of one or more of the Best Tank, the Best Publication,
      Best ‘914, Oktay ‘244, Krajewski ‘511, the Pfahnl Publication, Gryzhin ‘013, JP ‘758,
      Rolfson ‘298, Attlesey ‘419, and Quon ‘108;

   b. The Best Publication alone or in combination with the general knowledge and common
      sense of those skilled in the art and/or the teachings of one or more of the Best Tank, Best
      ‘463, Best ‘914, Oktay ‘244, Krajewski ‘511, the Pfahnl Publication, Gryzhin ‘013, JP
      ‘758, Rolfson ‘298, Attlesey ‘419, and Quon ‘108;

   c. The Best Tank alone or in combination with the general knowledge and common sense of
      those skilled in the art and/or the teachings of one or more of the Best Publication, Best
      ‘463, Best ‘914, Oktay ‘244, Krajewski ‘511, the Pfahnl Publication, Gryzhin ‘013, JP
      ‘758, Rolfson ‘298, Attlesey ‘419, and Quon ‘108;

   d. Krajewski ‘511 alone or in combination with the general knowledge and common sense of
      those skilled in the art and/or the teachings of one or more of the Best Tank, the Best
      Publication, Best ‘463, Best ‘914, Oktay ‘244, the Pfahnl Publication, Gryzhin ‘013, JP
      ‘758, Rolfson ‘298, Attlesey ‘419, and Quon ‘108;

   e. The Pfahnl Publication alone or in combination with the general knowledge and common
      sense of those skilled in the art and/or the teachings of one or more of the Best Tank, the
      Best Publication, Best ‘463, Best ‘914, Oktay ‘244, Krajewski ‘511, Gryzhin ‘013, JP ‘758,
      Rolfson ‘298, Attlesey ‘419, and Quon ‘108;

   f. Gryzhin ‘013 alone or in combination with the general knowledge and common sense of
      those skilled in the art and/or the teachings of one or more of the Best Tank, the Best
      Publication, Best ‘463, Best ‘914, Oktay ‘244, Krajewski ‘511, the Pfahnl Publication, JP
      ‘758, Rolfson ‘298, Attlesey ‘419, and Quon ‘108;

   g. Oktay ‘244 alone or in combination with the general knowledge and common sense of
      those skilled in the art and/or the teachings of one or more of the Best Tank, the Best
      Publication, Best ‘463, Best ‘914, Krajewski ‘511, the Pfahnl Publication, Gryzhin ‘013,
      JP ‘758, Rolfson ‘298, Attlesey ‘419, and Quon ‘108;



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   h. JP ‘758 alone or in combination with the general knowledge and common sense of those
      skilled in the art and/or the teachings of one or more of the Best Tank, the Best Publication,
      Best ‘463, Best ‘914, Oktay ‘244, Krajewski ‘511, the Pfahnl Publication, Gryzhin ‘013,
      Rolfson ‘298, Attlesey ‘419, and Quon ‘108; and

   i. Best ‘914 alone or in combination with the general knowledge and common sense of those
      skilled in the art and/or the teachings of one or more of the Best Tank, the Best Publication,
      Oktay ‘244, Krajewski ‘511, the Pfahnl Publication, Gryzhin ‘013, JP ‘758, Rolfson ‘298,
      Attlesey ‘419, and Quon ‘108.

    54. My detailed analysis of the Asserted Claims of the ‘457 patent is presented in claim charts
as identified in the table below.

                                           ‘457 PATENT
  Exhibit        Reference

                 Best ‘463 alone or in combination with the general knowledge and common sense
                 of those skilled in the art and/or the teachings of one or more of:

              Best Publication
              Best Tank
              Oktay ‘244
              JP ‘758
              Pfahnl Application
  Exhibit D-1
              Krajewski ‘511
              Gryzhin ‘013
              Best ‘914
              Rolfson ‘298
              Quon ‘108
              Attlesey ‘419

                 Anticipation and obviousness for all asserted claims.


                 Best Publication alone or in combination with the general knowledge and common
                 sense of those skilled in the art and/or the teachings of one or more of:

              Best ‘463
              Best Tank
              Oktay ‘244
  Exhibit D-2
              JP ‘758
              Pfahnl Application
              Krajewski ‘511
              Gryzhin ‘013
              Best ‘914
              Rolfson ‘298
              Quon ‘108


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              Attlesey ‘419

              Anticipation and obviousness for all asserted claims.


              Best Tank alone or in combination with the general knowledge and common sense
              of those skilled in the art and/or the teachings of one or more of:

            Best ‘463
            Best Publication
            Oktay ‘244
            JP ‘758
            Pfahnl Application
Exhibit D-3
            Krajewski ‘511
            Gryzhin ‘013
            Best ‘914
            Rolfson ‘298
            Quon ‘108
            Attlesey ‘419

              Anticipation and obviousness for all asserted claims.


              Oktay ‘244 in combination with the general knowledge and common sense of those
              skilled in the art and/or the teachings of one or more of:

            Best ‘463
            Best Publication
            Best Tank
            JP ‘758
            Pfahnl Application
Exhibit D-4
            Krajewski ‘511
            Gryzhin ‘013
            Best ‘914
            Rolfson ‘298
            Quon ‘108
            Attlesey ‘419

              Obviousness for all asserted claims.


              JP ‘758 in combination with the general knowledge and common sense of those
              skilled in the art and/or the teachings of one or more of:
Exhibit D-5
              Best ‘463
              Best Publication



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             Best Tank
             Oktay ‘244
             Pfahnl Application
             Krajewski ‘511
             Gryzhin ‘013
             Best ‘914
             Rolfson ‘298
             Quon ‘108
             Attlesey ‘419

             Obviousness for all asserted claims.


             Pfahnl Application in combination with the general knowledge and common sense
             of those skilled in the art and/or the teachings of one or more of:

            Best ‘463
            Best Publication
            Best Tank
            Oktay ‘244
Exhibit D-6 JP ‘758
            Krajewski ‘511
            Gryzhin ‘013
            Best ‘914
            Rolfson ‘298
            Quon ‘108
            Attlesey ‘419

             Obviousness for all asserted claims.

             Krajewski ‘511 in combination with the general knowledge and common sense of
             those skilled in the art and/or the teachings of one or more of:

            Best ‘463
            Best Publication
            Best Tank
            Oktay ‘244
Exhibit D-7 JP ‘758
            Pfahnl Application
            Gryzhin ‘013
            Best ‘914
            Rolfson ‘298
            Quon ‘108
            Attlesey ‘419

             Obviousness for all asserted claims.



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             Gryzhin ‘013 in combination with the general knowledge and common sense of
             those skilled in the art and/or the teachings of one or more of:

            Best ‘463
            Best Publication
            Best Tank
            Oktay ‘244
            JP ‘758
Exhibit D-8 Pfahnl Application
            Krajewski ‘511
            Best ‘914
            Rolfson ‘298
            Cray ‘538
            Quon ‘108
            Attlesey ‘419

             Obviousness for all asserted claims.


             Best ‘914 alone or in combination with the general knowledge and common sense
             of those skilled in the art and/or the teachings of one or more of:

            Best ‘463
            Best Publication
            Best Tank
            Oktay ‘244
            JP ‘758
Exhibit D-9 Pfahnl Application
            Krajewski ‘511
            Gryzhin ‘013
            Rolfson ‘298
            Cray ‘538
            Quon ‘108
            Attlesey ‘419

             Anticipation and obviousness for all asserted claims.




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    55. My detailed analysis of the Asserted Claims of the ‘446 patent is presented in claim charts
as identified in the table below.

                                            ‘446 PATENT
    Exhibit      Reference

                 Best ‘463 alone or in combination with the general knowledge and common sense
                 of those skilled in the art and/or the teachings of one or more of:

              Best Publication
              Best Tank
              Oktay ‘244
              JP ‘758
              Pfahnl Application
  Exhibit E-1
              Krajewski ‘511
              Gryzhin ‘013
              Best ‘914
              Rolfson ‘298
              Quon ‘108
              Attlesey ‘419

                 Anticipation and obviousness for all asserted claims.


                 Best Publication alone or in combination with the general knowledge and common
                 sense of those skilled in the art and/or the teachings of one or more of:

              Best ‘463
              Best Tank
              Oktay ‘244
              JP ‘758
              Pfahnl Application
  Exhibit E-2
              Krajewski ‘511
              Gryzhin ‘013
              Best ‘914
              Rolfson ‘298
              Quon ‘108
              Attlesey ‘419

                 Anticipation and obviousness for all asserted claims.




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             Best Tank alone or in combination with the general knowledge and common sense
             of those skilled in the art and/or the teachings of one or more of:

            Best ‘463
            Best Publication
            Oktay ‘244
            JP ‘758
            Pfahnl Application
Exhibit E-3 Krajewski ‘511
            Gryzhin ‘013
            Best ‘914
            Rolfson ‘298
            Quon ‘108
            Attlesey ‘419

             Anticipation and obviousness for all asserted claims.



             Oktay ‘244 in combination with the general knowledge and common sense of those
             skilled in the art and/or the teachings of one or more of:

            Best ‘463
            Best Publication
            Best Tank
            JP ‘758
            Pfahnl Application
Exhibit E-4
            Krajewski ‘511
            Gryzhin ‘013
            Best ‘914
            Rolfson ‘298
            Quon ‘108
            Attlesey ‘419

             Obviousness for all asserted claims.


             JP ‘758 in combination with the general knowledge and common sense of those
             skilled in the art and/or the teachings of one or more of:

Exhibit E-5 Best ‘463
            Best Publication
            Best Tank
            Oktay ‘244
            Pfahnl Application



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             Krajewski ‘511
             Gryzhin ‘013
             Best ‘914
             Rolfson ‘298
             Quon ‘108
             Attlesey ‘419

             Obviousness for all asserted claims.


             Pfahnl Application in combination with the general knowledge and common sense
             of those skilled in the art and/or the teachings of one or more of:

            Best ‘463
            Best Publication
            Best Tank
            Oktay ‘244
            JP ‘758
Exhibit E-6
            Krajewski ‘511
            Gryzhin ‘013
            Best ‘914
            Rolfson ‘298
            Quon ‘108
            Attlesey ‘419

             Obviousness for all asserted claims.


             Krajewski ‘511 in combination with the general knowledge and common sense of
             those skilled in the art and/or the teachings of one or more of:

            Best ‘463
            Best Publication
            Best Tank
            Oktay ‘244
            JP ‘758
Exhibit E-7
            Pfahnl Application
            Gryzhin ‘013
            Best ‘914
            Rolfson ‘298
            Quon ‘108
            Attlesey ‘419

             Obviousness for all asserted claims.




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                  Gryzhin ‘013 in combination with the general knowledge and common sense of
                  those skilled in the art and/or the teachings of one or more of:

                 Best ‘463
                 Best Publication
                 Best Tank
                 Oktay ‘244
                 JP ‘758
     Exhibit E-8 Pfahnl Application
                 Krajewski ‘511
                 Best ‘914
                 Rolfson ‘298
                 Cray ‘538
                 Quon ‘108
                 Attlesey ‘419

                  Obviousness for all asserted claims.


                  Best ‘914 alone or in combination with the general knowledge and common sense
                  of those skilled in the art and/or the teachings of one or more of:

                 Best ‘463
                 Best Publication
                 Best Tank
                 Oktay ‘244
                 JP ‘758
     Exhibit E-9 Pfahnl Application
                 Krajewski ‘511
                 Gryzhin ‘013
                 Rolfson ‘298
                 Cray ‘538
                 Quon ‘108
                 Attlesey ‘419

                  Anticipation and obviousness for all asserted claims.


Summary of Opinions and Conclusion on the Priority Date of the Asserted Patents

   56. As explained more clearly below, it is my opinion that that the provisional applications,
U.S. Provisional Patent Application No. 61/737,200, filed on December 14, 2012 (“2012
Provisional”) and U.S. Provisional Patent Application No. 61/832,211, filed on June 7, 2013
(“2013 Provisional”), 11 to which the Asserted Patents claim priority, do not describe the claimed
11
     2012 Provisional at MIDAS0004047; 2013 Provisional at MIDAS0004155.

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invention and the manner of making and using it such that a POSA would be able to make the
claimed invention without undue experimentation. In particular, the provisional applications do
not adequately teach or enable the following limitations of the Asserted Patents:

     a. “a weir, integrated horizontally into the long wall of the tank adjacent all appliance slots,
        having an overflow lip adapted to facilitate substantially uniform recovery of the dielectric
        fluid flowing through each appliance slot;” and

     b. “a plenum . . . adapted to dispense the dielectric fluid substantially uniformly upwardly
        through each appliance slot.”

    57. The 2013 Provisional does not describe or depict “a weir” or “a plenum.” 12 In addition, the
2012 Provisional does not identify a “plenum” or describe a “plenum . . . adapted to dispense the
dielectric fluid substantially uniformly upwardly through each appliance slot.” The 2012
Provisional describes horizontally-oriented 13 or radially-arranged 14 spray heads that share
dielectric fluid flowing in interconnected piping. It is my opinion that these spray heads would not
dispense dielectric fluid “substantially uniformly upwardly,” and instead would, as disclosed,
exhibit uneven flow rates. Moreover, the spray cooling system illustrated in the 2013 Provisional
is not an immersion cooling system; it uses fluids to cool the appliances by spraying them on the
surface.

    58. The 2012 Provisional also shows a drawing labeled “possible slotted outflow manifold
profile” that would presumably be a form of a coolant inlet. The 2012 Provisional describes that
the “slotted outflow manifold” is connected to a tube through which cold fluid flows into a tank. 15
The 2012 Provisional states that the size of the slots or holes of the manifold would need to be
progressively wider to account for loss of cold fluid pressure. This too fails to describe or teach
achieving flow of fluid “substantially uniformly upwardly” for two reasons. First, the 2012
Provisional gets the applicable principles exactly backwards. The holes should be wider near the
entrance because the pressure is lower near the entrance and the fluid velocity is higher. As the
flow slows across the length of the tube, one could then make holes smaller to increase the
pressure. Second, to achieve substantially uniform upward flow through each appliance slot, there
must be some way both to make the fluid flow turn upwards and to guarantee that it is uniform.
That is difficult to do, and the 2012 Provisional does not even comment on the problem, much less
propose a solution to it.

   59. Likewise, the 2012 Provisional does not describe “a weir, integrated horizontally into the
long wall of the tank adjacent all appliance slots, having an overflow lip adapted to facilitate
substantially uniform recovery of the dielectric fluid flowing through each appliance slot.” The
2012 Provisional describes “open return channel(s) (e.g., weirs) extending horizontally along the
long side(s) of the tank.” 16 However, the description does not teach or enable a structure that


12
   See generally 2013 Provisional at MIDAS0004155.
13
   2012 Provisional at MIDAS0004057.
14
   Id. at MIDAS0004057.
15
   Id. at MIDAS0004082.
16
   Id. at MIDAS0004055.

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“determines the level of liquid in a tank,” is “adjacent all appliance slots,” and facilitates
substantially uniform recovery of the dielectric fluid.

    60. It is thus my opinion that the provisional applications do not disclose all of the limitations
of the Asserted Claims of the Asserted Patents in a manner that satisfies the written description
and enablement requirements.

Summary of Opinions and Conclusion on Written Description and Enablement

   61. As explained more clearly below, it is my opinion that the Asserted Patents do not
adequately teach the following limitations:

    a. “a weir . . . adapted to facilitate substantially uniform recovery of the dielectric fluid
       through each appliance slot;”

    b. “a plenum . . . adapted to dispense the dielectric fluid substantially uniformly upwardly
       through each appliance slot.”

    62. The plenum as depicted and described in the Asserted Patents would not achieve the
purposes of a plenum, nor would it achieve the goal recited by the claims, namely, substantially
uniform upward flow through each appliance slot. In particular, the Asserted Patents do not teach
how to size or arrange the holes in the orifice plate of the plenum to achieve substantially uniform
upward flow through each appliance slot, and a POSA would not know how to achieve the claimed
substantially uniform upward flow without considerable additional work and experimentation.

    63. Similarly, the weir as depicted and described in the Asserted Patents would not facilitate
uniform recovery of the dielectric fluid because the level of the surface of the fluid, which is
established by the vertical position of the weir, appears to coincide with the top of the electrical
appliances. The details provided in the Asserted Patents about the outflow weir is limited such that
a POSA would not know how to achieve the claimed weir adapted to facilitate substantially
uniform recovery of the dielectric fluid without considerable additional work and experimentation.

   64. I reserve the right to amend my opinions based on arguments put forth by MGT and/or
constructions from the Court that bear on this issue. I further reserve the right to create illustrations
and demonstrations to support my conclusions at trial.

BACKGROUND OF TECHNOLOGY

Electronic Systems Packaging

    65. Electronic systems require electrical power in order to perform their intended electrical
function such as computing, processing of data, or lighting. Electronic systems that perform digital
computations, i.e. computing systems, require electrical power that increases proportionately to
the speed at which they compute, i.e. the processing speed. Every new generation of electronic
processors, such as Application Specific Integrated Circuits (ASICs), Central Processing Units
(CPUs), Programmable Gate Arrays (PGAs), and Graphics Processing Units (GPUs) are denser
and faster and therefore require more power. ASICs and PGAs are the primary type of processor
used to perform the mathematical computations required to support digital currency, i.e. bit coin


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mining, whereas CPUs and GPUs are primarily used in high speed on-line transactions, performing
complex mathematical computations such as in AI applications, and high speed data processing as
for example in graphics and video streaming.

    66. Most of the electrical power supplied to electronic processors eventually is dissipated as
heat, a phenomenon that has been experienced by anyone that owns a cellphone or laptop. The
faster and more intense the required computational processing, the higher the electrical power
required by the electronics performing the processing. And the higher the electrical power, the
higher is the rate at which heat is created. Just as humans must dissipate their generated heat during
intense exercise in order to stay “cool,” electronic systems must also dissipate their generated heat,
otherwise they will overheat and fail.

    67. The processors that are at the heart of all computing systems are composed of integrated
electronic circuits built on silicon substrates, commonly referred to as “silicon chips.” Electronic
computing systems may have many such chips connected to each other, and to other necessary
devices, such memory. In order to protect the fragile silicon integrated circuit, the silicon chips are
mounted onto chip carriers or “packages.” Figure 1 illustrates examples of different types of
electronic packages, sometimes referred to as “chip carriers.”




     Figure 1. Examples of electronic packages and components: (a) plastic encapsulated surface
     mount quad flat pack; 17 (b) plastic ball grid array (BGA); (c) ceramic flip chip BGA; (d) flip
                                            chip tape BGA. 18




17
   Bennett Joiner, Integrated-circuit-package-types-and-thermal-characteristics, Electronics
Cooling (Feb. 1, 2006), https://www.electronics-cooling.com/2006/02/integrated-circuit-
package-types-and-thermal-characteristics/#.
18
   Microcircuits, United States Navy Naval Sea Systems Command, http://www.navsea.navy.mil/
Home/Warfare-Centers/NSWC-Crane/Resources/SD-18/Products/Microcircuits/Packaging/.

                                                   28
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    68. Each of the electronic packages illustrated in Fig. 1 has a silicon chip or “die” that has the
electronic circuit that performs the computations for which it is designed. For example, in Bit-
Coin mining, the chip circuit is used to perform extremely fast calculations that use large numbers
and hence require massive amount of computational speed to do the “mining.” Performing those
computations requires electrical energy, i.e. power, to open and close the millions of switches on
the chip circuit that fundamentally perform the computation.

Thermal Management Systems

    69. The First Law of Thermodynamics 19 teaches that energy in equals energy out. In electronic
systems the “energy in” is electrical energy or power. The electrical power is delivered to the chip
circuit from a power source, like the electrical socket on a wall, through wiring and into the chip,
and the “energy out” is heat. This “conservation of energy” embodied in the First Law is
demonstrated in Figure 2 on a typical electronic package. The purpose of the thermal management
system is to efficiently remove the heat from the electronic components so as to maintain a targeted
temperature. The targeted temperature is generally the operating temperature of the chip as shown
in Figure 2.




Figure 2. Power delivered to the electronic chip circuit is converted to heat that flows out of the
                                 package and into the coolant.

     70. In an electronic package, such as that shown in Figure 2, the heat is generated within the
silicon chip at the integrated circuit. The generated heat causes the silicon chip temperature to
increase. This chip temperature is called the chip “junction temperature” and is given the symbol:
Tj. It is well-established that elevated chip junction temperatures may cause the integrated circuit
to immediately fail if it is extremely high, for example as what occurs in the case of an electrical
short. Just as importantly, elevated chip junction temperatures will shorten the useful life of the
electronic system by increasing the probability of failure. 20 As such, chip and package
manufacturers routinely establish recommended chip junction temperatures during operational use
in systems; typically, maximum junction temperatures are established between 80 to 100 C. A


19
   Michael Moran & Howard Shapiro, Fundamentals of Engineering Thermodynamics 52 (6th
ed. 2008).
20
   Allan Kraus & Avram Bar-Cohen, Thermal Analysis and Control of Electronic Equipment 34–
35 (1983).

                                                 29
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thermal management system capable of “cooling” the electronic system and maintaining adequate
chip junction temperatures is thus an essential requirement for all systems.

Air Cooling

    71. At the heart of all electronic processing assemblies are the electronic packages housing the
chip processors that perform the computational work. An electronic system is a hierarchical system
built from components that must receive electrical power, communicate with each other, and
transmit information to the outside world. The chip circuit is the first level in the hierarchy,
followed by the chip, then the chip package. The packages are themselves mounted onto the printed
circuit boards (“PCBs”) which are the fourth hierarchical level and are common building blocks
for assembling any modern electronic system. The PCB facilitates the electrical connections that
deliver power to the package and allow the chip to communicate with other devices such as
processors or memory chips. PCBs are connected to a common backplane which provides the
interface for passing information between the system and the outside world.

   72. Figure 3 shows an air-cooled electronic assembly consisting of packages mounted on PCBs
cooled by an air-cooling system. The PCB is the green-colored board that is familiar to anyone
who has looked inside any device that is powered by electricity. The printed circuit board is
mounted inside an enclosure that may contain multiple such boards, and other devices such as
power supplies. The grey structure called a “heat sink” is mounted on top of the package and is
used to increase the area in contact with the cooling air.




       Figure 3. An electronic package mounted inside an air-cooled electronic enclosure.

    73. The photograph in Figure 4 shows a modern air-cooled electronic server which is the type
of “computer” that is used to power the internet. Here one can observe the fans, the PCB, multiple
electronic components, and the heat sinks that are mounted on top of some of the electronic
packages to facilitate the heat transfer.

   It is important to point out here that the purpose of the cooling air is to keep the chip
   circuit temperature, commonly referred to as the junction temperature, Tj low enough so
   that the chip circuit does not fail and so that it has a long life. For heat to be transferred
   from the hot chip to the air, the air temperature, To, must be lower than the chip
   temperature.




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     Figure 4. A modern air-cooled electronic server used in data centers powering the internet.

Immersion Cooling

    74. The amount of heat generated in the processing of bit-coin data exceeds the limits that can
be cooled with air, as in the air-cooled server technology shown in Figure 4. Hence, it is necessary
to use liquid to cool the hot chips because liquid has a higher capacity for removing heat from
surfaces compared to gases such as air. Furthermore, basic physics shows that is more efficient to
place the electronic system directly into the liquid because then the liquid is in direct contact with
the hot electronic package surfaces, thus facilitating the transfer of heat. Figure 5 is a basic
illustration of how this is accomplished using what is referred to as “immersion cooling.”

    75. The illustration in Figure 5 is simplified to show the basic features of a direct immersion
cooling system. What is depicted is direct immersion cooling of an electronic enclosure containing
many heated electronic components such as chip packages. A bit-coin “miner” used in the
generation of digital currency is an example of such an enclosure. There are two types of
immersion cooling: (1) single phase immersion cooling, in which the liquid remains a liquid
throughout and the transfer of heat is accomplished by the “single phase convective heat transfer”
from the hot surfaces to the liquid; 21 (2) two-phase immersion cooling, in which the liquid changes
from liquid to vapor, i.e. it “boils” as it picks up heat from the hot components. This type of heat
transfer is called “pool boiling.” The Asserted Patents describe systems that use single-phase
immersion cooling. In the remainder of this report, the “cooling system” will refer to a single-
phase direct immersion cooling system.




21
 G. P. Peterson & Alfonso Ortega, Thermal Control of Electronic Equipment and Devices, in 20
ADVANCES IN HEAT TRANSFER 243-244 (J. P. Hartnett & T. F. Irvine, Jr. ed., 1990).

                                                 31
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Figure 5. Direct immersion liquid cooling of electronic enclosure; depicted is a single tank with
   a single electronic enclosure with many electronic printed circuit boards and components.

Mechanisms of Heat Transfer from the Chip Junction to the Coolant

   76. In an immersion cooling system as shown in Figure 5, there are two basic mechanisms
involved in the transfer of heat from the heated chip to the coolant liquid. Figure 6 is an exploded
view of one single electronic package, labeled for clarity.

Conduction

    77. Heat transfer through solids takes place by conduction heat transfer. Conduction occurs by
molecular mechanisms. 22 Energetic molecules can vibrate and collide with their neighbors—this
intermolecular collisional motion causes the transfer of energy at the molecular level from a higher
temperature to a lower temperature region. Solids such as metals are better at conducting heat than
liquids and gases. Metals, such as copper, are better thermal conductors than non-metallic solids,
such as plastic or the epoxy-fiberglass material used in printed circuit boards. In Figure 6, the
transfer of heat from the heated chip to the solid materials of the electronic package is by
conduction.

Convection

    78. Convection heat transfer occurs when the liquid is in contact with a surface that is at a
dissimilar temperature. 23 At the surface of a heated solid, heat is conducted from the surface to the
fluid. The heat conducted into the fluid is absorbed and swept away by the fluid motion. The
combined mechanisms of fluid conduction, absorption into the fluid, and fluid motion constitute


22
   Theodore L. Bergman & Adrienne S. Lavine, Fundamentals of Heat and Mass Transfer 18 (8th
ed. 2019).
23
   Id; Gordan N. Ellison, Thermal Computations for Electronics: Conductive, Radiative and
Convective Air Cooling 5 (2011).

                                                 32
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the mechanism of convection heat transfer. 24 As seen in Figure 6, the heated surfaces of the
electronic component transfer heat by convection to the upward moving coolant liquid.
Furthermore, since heat is being added to the coolant fluid, its temperature increases, as illustrated
in Figure 5.

Thermal Resistance

    79. One of the most well-known laws of Thermodynamics is the basic law of heat transfer
which states that heat can only flow in the direction from high temperature to low temperature. 25
Furthermore, as with electricity, heat always flows through the path of least resistance. Both of
these physical observations are captured by the simple principle of the thermal resistance, Rthermal . 26
In the presence of a temperature difference, ∆T= Thigh − Tlow , the rate at which heat is conducted
through a thermal pathway is given by:

                                                 ∆T
                                           Q=
                                                Rthermal                                  (1)
where Q is the heat transferred per unit time. Rthermal represents the resistance to heat flow
introduced by all of the materials and thermal mechanisms in the thermal pathway from Thigh to
Tlow.




     Figure 6. Transfer of heat from a chip at temperature Tj to a coolant liquid at temperature To
                            flowing over the electronic package surfaces.




24
   Robert Moffat & Alfonso Ortega, Direct Air Cooling of Electronic Components, in 1
ADVANCES IN THERMAL MODELING OF ELECTRONIC COMPONENTS AND SYSTEMS 129–132
(Avram Bar-Cohen & Allan Kraus ed., 1988).
25
   William C. Reynolds & Henry C. Perkins, Engineering Thermodynamics 203 (1977).
26
   See Bergman & Lavine, supra, at 18.



                                                   33
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   80. The relationship between heat flow and temperature difference given in Equation 1 is
commonly depicted in graphical form by noting the one-to-one relationship between Equation 1
and Ohm’s Law: 27

                                          𝑉𝑉 = 𝐼𝐼 × 𝑅𝑅                                                          (2)
where V is voltage, I is current, and R is resistance. Equation 1 can be re-written as:
                                     𝛥𝛥𝛥𝛥 = 𝑄𝑄 × 𝑅𝑅𝑡𝑡ℎ𝑒𝑒𝑒𝑒𝑒𝑒𝑒𝑒𝑒𝑒                                                (3)

    81. In this form it can be interpreted as a “thermal” Ohms law; temperature difference ΔT
corresponds to voltage drop V, heat flow Q corresponds to electrical current I, and thermal
resistance Rthermal corresponds to electrical resistance R. The thermal Ohm’s law can be shown
graphically as in Figure 7. 28 Here it is seen that the heat flow must pass through the thermal
resistance due to the combined effects of solid materials conduction and fluid convection and this
heat flow is caused by the difference between the high and low temperatures, i.e. ∆T.




 Figure 7. A simple thermal circuit showing that heat flow results from a high temperature to a
                        low temperature through a thermal resistance.

    82. For the immersion cooling scenario shown in Figs. 5 and 6, the high temperature is the
chip junction, Tj, and the low temperature is the liquid coolant, To. Clearly, the chip junction
temperature is not equal to the liquid coolant temperature. They are related by Equation 1 as:

                                           𝑇𝑇𝑗𝑗 = 𝑇𝑇𝑜𝑜 + 𝑄𝑄 × 𝑅𝑅𝑡𝑡ℎ𝑒𝑒𝑒𝑒𝑒𝑒𝑒𝑒𝑒𝑒                                   (4)

Conduction and Convection Thermal Resistance

    83. The thermal resistance is composed of the sum of the conduction thermal resistance due to
the solid materials and the convection resistance due to the finite properties and speed of the
coolant flow over the heated surfaces, i.e.:

                               𝑅𝑅𝑡𝑡ℎ𝑒𝑒𝑒𝑒𝑚𝑚𝑎𝑎𝑙𝑙 = 𝑅𝑅𝑐𝑐𝑐𝑐𝑐𝑐𝑐𝑐𝑐𝑐𝑐𝑐𝑐𝑐𝑐𝑐𝑐𝑐𝑐𝑐 + 𝑅𝑅𝑐𝑐𝑐𝑐𝑐𝑐𝑐𝑐𝑐𝑐𝑐𝑐𝑐𝑐𝑐𝑐𝑐𝑐𝑐𝑐               (5)




27
   Edward M. Purcell, Electricity and Magnetism: Berkeley Physics Course-Volume 2 114–115
(1963).
28
   See Bergman & Lavine, supra, at 18.

                                                            34
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    84. The convection resistance given in Equation 5 is strongly dependent on the interaction
between the liquid flowing over the heated surfaces. In particular, it is strongly proportional to the
velocity (speed) of the coolant. The type of flow exhibited by immersion cooling oil flowing in
tanks is called “laminar flow.” For laminar flow, it is well established that the convection thermal
resistance, Rconvection, is inversely proportional to the square of the flow velocity, i.e.:

                               𝑅𝑅𝑐𝑐𝑐𝑐𝑐𝑐𝑐𝑐𝑐𝑐𝑐𝑐𝑐𝑐𝑐𝑐𝑐𝑐𝑐𝑐 = 𝐶𝐶𝐶𝐶𝐶𝐶𝐶𝐶𝐶𝐶𝐶𝐶𝐶𝐶𝐶𝐶⁄𝑉𝑉 2                          (6)

    85. Equation 6 shows that the higher the flow velocity, the lower is the convection resistance.
Equations 4, 5, and 6 teach that in order to maintain the proper chip junction temperature, the
coolant flow must have sufficient velocity as it flows over the hot components to reduce the
convection resistance to a suitably low level. Equations 4, 5, and 6 establish the key requirements
of an effective cooling system. Given the total thermal load, i.e. the total amount of heat Q that
must be dissipated, the following must be met:

   a. The thermal management system must maintain the junction temperature Tj to its proper
      level.
   b. The coolant temperature To entering the system must be sufficiently low to absorb the
      thermal load.
   c. The overall thermal resistance Rthermal must be low enough to allow the transfer of the
      heat from the chip junction to the coolant over the temperature difference: ΔT=Tj – To.
   d. The coolant flow must be in contact over sufficient heated surface area with sufficient
      velocity in order for the convection resistance to be suitably low.
   In summary, the chip junction temperature Tj is related to the coolant temperature, but
   they are not the same. Their relationship depends on the amount of heat being
   transferred and the value of the overall thermal resistance connecting the chip junction
   to the liquid coolant. This thermal resistance is strongly dependent on the architecture
   of the electronic assembly, the properties of the solid materials (in particular the
   thermal conductivity and diffusivity), the properties of the coolant (in particular its
   thermal conductivity, diffusivity, and viscosity) and the velocity magnitude and
   distribution around the electronic assembly.

Flow Management

    86. The system shown in Figure 5 illustrates the general concepts utilized in cooling electronics
with single phase immersion cooling. As described in the previous section, not only is it necessary
to provide the liquid coolant at sufficient flow rate and low enough temperature to absorb the
thermal load from the electronics, we also require that the liquid flow be in intimate contact with
the surface area of the heated components and have sufficient velocity to drive the convective
resistance sufficiently low to meet the targeted overall thermal resistance. The purpose of flow
management is to ensure that flows behave in their intended manner in the system in question. In
liquid cooling systems, the task is to ensure that the fluid flow is distributed to where it needs to
flow with sufficient flow rate and velocity. Large liquid flow systems, be they home water systems



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or large, complex petro-chemical refineries, are generally constructed from piping networks that
convey the fluid from one component to another. Typical components in a liquid cooling system
include tanks, pumps, heat exchanger, valves, and the piping network consisting of straight
sections of pipe of different sizes, and many minor components such as Tees and Elbows. Elements
of the overall cooling system are described in a subsequent section. Here we focus on the flow
management for tanks which are integral to this type of electronics cooling system.

    87. The immersion tank of Figure 5 is connected on the inflow side to a pipe which delivers
the cold coolant from the heat exchanger back to the tank. If a flow enters a large environment
from a small opening, such as a pipe opening, it creates what is termed a “submerged free jet.”
Figure 8 shows an illustration of the free jet that forms when the flow enters the tank (a.) and
photographic details of the flow features in a free jet taken in a water tank (b.). If the goal is to
create a flow that fills the vessel with uniform flow, upward flow as seen in Figure 5, it is clear
that active measures need to be taken to allow the jet to transition to the tank flow either naturally
or with intervention.


Figure 8. (a.) Free jet created from flow in a circular pipe into a large fluid volume; 29 (b.) Details
                         of the complex structure of a submerged free jet. 30




29
   Kevin Dusling, Energy loss due to friction, https://kdusling.github.io/teaching/Applied-
Fluids/Notes/FrictionLosses.
30
   Edson Del Rio Vieira et al., Vortex Formation In Incompressible Axisymmetric Free Jets,
Energia Térmica, http://dx.doi.org/10.5380/reterm.v13i2.62100.

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    88. Methods for managing and controlling liquid flows such as this are well known. For
example, Owen and Peake 31 and Beckner and Curry 32 describe the flow management utilized in a
research quality water tunnel at NASA Ames-Dryden Research Center, Figure 9.




           Plenum




        Figure 9. Schematic of the NASA Ames water tunnel, circa 1985 (annotated). 33

     89. The purpose of this water tunnel is to create a uniform flow of water in the test section
shown on the right of the figure. Uniform flow means that the flow is all in one direction and has
the same velocity everywhere in the rectangular duct upstream of the test section. On the left side
of the image is a large rectangular volume where the water enters. In flow management systems,
this volume is called a “settling chamber” or “plenum.” The author has added the work “plenum”
to the figure pointing to this region of the figure. A plenum or settling chamber is a volume large
enough to allow the water flow to transition or settle from the inlet pipe flow to the duct flow in
the water tunnel. Note that the water passes through the pump and into the inlet pipe on the bottom
left of the plenum.


31
   F.K. Owen & D.J. Peake, Vortex breakdown and control experiments in the Ames-Dryden
Water Tunnel, NASA Technical Memorandum 89410 (Nov. 1986), https://ntrs.nasa.gov/api/
citations/19870003976/downloads/19870003976.pdf
32
   Christine Beckner & Robert E. Curry, Water Tunnel Flow Visualization Using a Laser, NASA
Technical Memorandum 86743, (Oct. 1985), https://ntrs.nasa.gov/api/citations/
19860001739/downloads/19860001739.pdf
33
   Owen & Peake, supra.

                                                37
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Perforated Pipe or Inlet Manifold

    90. In order to accelerate this transition and distribute the flow more uniformly, the flow is
made to enter through a perforated pipe at the bottom of the settling chamber instead of entering
the plenum as a single free jet. This is a pipe with many orifices or perforations. By forcing the
water to exit through these many orifices, the water issues into the settling chamber as many
smaller lower flow, lower momentum jets. The momentum of these smaller jets is more easily
dissipated, causing the jets to merge more rapidly into a more uniform upward flow. This transition
continues in the plenum. If properly designed, the perforated pipe should cause the velocity and
flow of each of the many jets issuing from it to be the same, thus promoting uniformity in the flow
as it enters the plenum.

    91. The perforated pipe is an example of what is more generally termed a “distribution
manifold.” A distribution manifold is used to force a single pipe with a large flow rate to distribute
into many smaller flows—this is accomplished by spacing smaller orifices or holes along the
length of the pipe. Figure 10 shows the basic configuration. The length of the arrows represents
the velocity of the flow and it shows various types of maldistribution of flow that can occur in the
manifold. The competing effects of fluid friction, which would tend to decrease the pressure, and
flow deceleration, which would tend to increase the pressure, will cause the flow leaving the
orifices to be non-uniform as in cases B, C, and D in the figure. A proper design to ensure uniform
flow must take into account many factors including the total flow rate, the size of the main pipe,
and the size and spacing of the secondary orifices. It is not necessary for the orifices to be the same
size, but introducing orifices of different sizes introduces further complexities. Minota 34 illustrates
the complex calculations needed in order to understand the coupled physics and to predict the flow
distribution.

Plenum

    92. In the context of flow management systems, a plenum is an open volume in a tank or duct
that is used to allow an unsettled flow to “relax” or “settle.” It is also called a “settling chamber,”
and consistent with this, the patent refers to its “plenum facility” as comprising an “orifice plate”
(the perforated plate atop the plenum) and a “plenum chamber.” 35 An unsettled flow may contain
turbulence or vortices generated from upstream components such as a distribution manifold. These
flow features dissipate by viscosity if given sufficient “time,” i.e. length of flow. Hence, the size
of the plenum or settling chamber is not arbitrary—it is designed with sufficient volume to allow
the inlet free jet structures to merge and disappear into a more uniform flow. The volume necessary
for this to happen is related to the distance required for the free jet momentum to dissipate. I
understand the Court has construed “plenum” to mean “a structure for dispensing liquid.” This
definition captures the plenum’s function in flow management of ensuring that flow emerging from
the plenum will be more uniform as a result of having been settled.



34
   Nitin Minocha & Jyeshtharaj B. Joshi, 3D CFD simulation of turbulent flow distribution and
pressure drop in a dividing manifold system using openfoam, Intl. J. Heat Mass Transfer (April
2020), https://doi.org/10.1016/j.ijheatmasstransfer.2020.119420.
35
   See ’457 patent at 4:12-15, Figs. 1, 8 and 9.

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     Figure 10. A distribution manifold showing a uniform flow leaving orifices (A) compared to
            cases with varying degrees of flow friction and flow deceleration (B, C, D). 36

Flow Straighteners

    93. In the water tunnel of Figure 9, as the flow exits the plenum and enters the upper horizontal
duct, one further measure is taken to force the flow to achieve uniformity, the inclusion of two
banks of honeycomb flow straighteners intercepting the duct. Honeycomb flow straighteners are
structures with many identical flow channels adjacent to each other. They can easily be imagined
as what would emerge if one created a bundle of drinking straws. The honeycomb “straightens
out” the flow, meaning it causes the flow to flow in one direction only—it removes any remnant
flow structures that may have survived from their birth in the free jets emanating from the
perforated pipe. Other types of structures can be used as flow straighteners including panels of
wire mesh or perforated plates. Because flow will distribute itself in order to find the path of “least
resistance,” the natural tendency for flows encountering flow straighteners or perforated plates or
other obstacles, is to flow equally through all of the openings, thus causing the flow to become
more uniform and with velocity or motion only in one direction. The presence of a flow
straightener of itself will not guarantee flow uniformity—it must be coupled with a sufficiently
well-designed upstream plenum that allows the flow to approach the flow straighteners with a good
degree of uniformity—the flow straightener or perforated plate or mesh finishes the job.




36
     Id.

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Secondary Flows Caused by Geometry

     94. Other types of troublesome secondary flow structures commonly emerge in the flow of
liquids in tanks and ducts. Any kind of abrupt change in the walls of a duct or vessel may cause
the emergence of secondary vortex structures. Figure 11 shows two common secondary flows. The
first (a.) is the recirculating flow structures that emerge in a sudden expansion in a duct or pipe.
The second (b.) occurs upon a sudden contraction in a duct or pipe. The reason for both of these
secondary vortex structures is that the flow cannot suddenly change directions—because of its own
momentum, the flow cannot “turn the corner,” thus causing the flow to generate these corner
vortices. Secondary vortex structures are difficult to wash away. They cause flows to be unsteady
and introduce non-uniformities in the flow velocities. In the design of well-managed flow system,
it is imperative to eliminate any sources of secondary flows including sharp corners, sudden
changes in flow area, or features that cause a sudden change in flow direction.




Figure 11. (a.) Secondary vortices in a pipe or duct with a sudden expansion (a.) and contraction
                                               (b.)

Overflow Weirs

    95. In naturally occurring vessels or channels that have a free surface, such as lakes, canals,
and rivers, the use of overflow dams is a common way to control the level of the surface. The level
of the water cannot exceed the level of the overflow dam for then the water pours over the dam.
The Oxford dictionary defines a weir as “a low dam built across a river to raise the level of water
upstream or regulate its flow.” Historical understanding of dams and weirs no doubt has influenced
the adoption of weirs in industrial applications where controlling the level and flow in a vessel or
tank is required. In industrial cleaning tanks for example, where it is necessary to immerse a
manufactured part in a vessel of cleaning fluid with an open top, overflow weirs have been adopted
to control the level of the tank fluid during continuous flow. Figure 10 illustrates an overflow tank
used in an industrial cleaning application. As shown in the figure, the weir plate holds back the
liquid in the tank and establishes its level. The overflow cascades over the weir and into a reservoir
adjacent to the tank where the flow is collected and delivered to the pump. The part is cleaned by
the continuously circulating fluid. There are various types of weirs used in industrial tanks. Figure
13 (a.) shows a plain weir which is a plate with a continuous “lip” on the top surface. One of the
problems encountered with plain weirs such as this is that perturbations in the liquid surface may
cause “rivulets” or disturbances along the lip which may cause flow non-uniformity. In order to
counter these effects, weirs have been developed which contain various types of cut-outs or
indentations on the weir lip. Figure 13(b.) shows a “saw-tooth” weir which has V-shaped cut-outs
on the lip. These evenly spaced saw-tooth cut-outs cause the flow to cascade in evenly spaced falls


                                                 40
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which assures uniformity. Figure 14 shows an industrial cleaning tank with sawtooth weirs along
its periphery. Note the use of an overflow reservoir on the sides of the main tank which catches the
overflow liquid, as illustrated in Figure 12.

    96. The illustrations in Figure 13 show a plane weir—a weir that spans a side of the tank. A
weir composed of a channel that does not span the entire side of the vessel could also be utilized
in the same manner as a plane weir. For example, Figure 15 illustrates a pipe or channel attached
to the tank wall such that the level of the free surface is established by the level of the overflow in
the pipe or channel. In this case the pipe or channel has a naturally formed lip over which the flow
cascades, as shown in the illustration.




                Figure 12. An overflow weir used in an industrial cleaning tank. 37




37
  John Fuchs, Maximizing Overflow Weirs for Skimming Applications, Cleaning Technologies
Group (Oct. 31, 2014), https://techblog.ctgclean.com/2014/10/making-overflow-weirs-work/.

                                                  41
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                        (a.)                                 (b.)
Figure 13. Types of overflow weirs used in an industrial cleaning tanks; (a.) plain overflow weir;
                      (b.) Saw-tooth weir used to assure uniform flow. 38




Figure 14. An industrial cleaning tank equipped with saw-tooth weirs on its perimeter; note that
           the liquid overflow cascades into a reservoir adjacent to the main tank. 39




38
  Id.
39
  Precision Cleaning Equipment, https://web.archive.org/web/20080820004735/http://www.
ultracleanequip.com/prec_clean.htm (archived August 20, 2008).

                                               42
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Figure 15. An overflow weir consisting of an open or closed pipe or channel with a free surface.


Overflow Weir used in Immersion Cooling Tanks

     97. In immersion cooling tanks for electronic equipment, overflow weirs have been developed
for designs that require a free surface for ease of placing or removing the electronic components
into the immersion tank. In a patent for an immersion cooling approach for electronic equipment,
Oktay ‘244 describes an embodiment in which electronics are immersed in a single phase liquid
tank, where the liquid in the tank has a free surface, and the level of the surface is established by
the use of an overflow weir. Furthermore, the overflow cascades into a reservoir adjacent to the
tank. In another patent, JP ‘758 also describe an immersion tank for electronics, where the liquid
has a free surface whose level is controlled by an overflow weir. In an immersion cooling system
where accessibility to the electronics immersed in the fluid is important, it is advantageous to
utilize a tank with a free, open upper surface. The use of an overflow weir is required in order to
create a useable flow management technology, as illustrated by the embodiments described in these
patents.

Temperature Measurement

    98. The measurement of temperature in thermal management systems is important for proper
control of the system. Since the ultimate objective of any the thermal management system is to
maintain the chip junction temperature at a desired level, formally called the thermal design point,
TDP, it is important to be able to monitor the junction temperature as well as important attributes
of the cooling system such as the flow rate and the coolant temperature. Thermal management
control systems can set alarms, reduce system power, or shut down a system if temperatures exceed
the TDP for an entire system or a sub-system.

Coolant Temperature

    99. Temperatures of flowing fluids such as air or liquid are commonly measured with
temperature sensors that are immersed into the flow. The most common type of sensor is a
thermocouple. A thermocouple is constructed from a pair of dissimilar metal wires. On one end,
the wires are joined to form a junction—that is the location that “measures” the temperature. On
the other end, the pair of wires are connected to a voltmeter. If a temperature difference exists


                                                 43
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between the junction end and the measurement end of a thermocouple, the thermocouple will self-
generate a voltage that is proportional to the temperature difference. In industrial systems,
thermocouples are placed inside metal tubes or sheaths to protect them from corrosion and other
damaging effects of the fluids. Figure 16(a.) shows a typical rugged industrial thermocouple probe
and 16(b.) shows a thermocouple probe inserted into a pipe with flow of a liquid.

    100. There are other types of sensors that are used for temperature measurements of liquids
including probes containing thermistors or resistance temperature devices (RTDs). These types of
sensors use sensor materials whose electrical resistance is highly sensitive to temperature, hence
measurement of the resistance of the sensor allows indirect measurement of temperature. More
recently strap-on, non-intrusive temperature measurements have been developed that measure the
temperature of the pipe that is in contact with the fluid. For measurement of the temperature of
fluids in vessels or pipes, insertion probes as shown in Figure 8 are the most common approach.




                             (a.)                                (b.)
Figure 16. (a.) Thermocouple probes for temperature measurement in liquids; (b.) Thermocouple
                                  probe inserted into a pipe. 40

Chip Junction Temperature

    101. Measurement of the temperature on the circuit of a silicon chip cannot be performed by
attaching a thermocouple or other such sensors to the physical circuit. The size of external sensors
and the errors introduced by the poor contact between the sensor and the target surface prohibit
their use. The common approach for chip junction temperature measurement is to use a
temperature sensitive device that is directly integrated into the integrated circuit on the chip. The
most common devices used for junction temperature measurement are diodes that are designed
and fabricated as part of the integrated circuit. 41 Siegal (2009) states that “at low values of forward
current (measurement or sense current), the junction temperature vs. forward voltage correlation

40
   Industrial Thermocouples with Protection Head, https://web.archive.org/web/2003013
1201627/http://www.omega.com/ppt/pptsc.asp?ref=NB1-ICIN_INDUST_TC&Nav=tema14
(archived January 3, 2003).
41
   Bernie Siegal, An Introduction to Diode Thermal Measurements, Thermal Engineering
Associates, Inc. (2009), https://thermengr.net/An_Introduction_to_Diode_
Thermal_Measurements6.pdf.

                                                  44
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is nearly linear to the second order. 42 Thus, a change in junction temperature produces a
corresponding change in junction forward voltage with a constant correlation factor of the form

                                        ∆𝑇𝑇𝑗𝑗 = 𝐾𝐾 × ∆𝑉𝑉𝑓𝑓                                     (7)
where K is called the K-factor and Vf is the forward bias voltage. When calibrated to obtain the
K-factor, the correlation can be used to infer the junction temperature Tj by measuring the diode
voltage. In modern electronic systems, it is common to design thermally sensitive devices such
as a thermal diodes into integrated circuits to allow the measurement of the circuit temperature
during operation. 43

Overall Cooling Systems

    102. Referring to Figure 5, a complete cooling system for the immersion tanks is required to
transport the heated immersion coolant out of the immersion tanks, cool the fluid by rejecting heat
to another medium, and returning the cool fluid back to the tanks. Figure 17. shows a schematic
diagram of a typical liquid cooling system used in liquid cooling systems, including immersion
cooling systems. In this cooling system, the secondary loop circulates the immersion cooling fluid,
typically an electrically insulating oil, through the immersion tanks as shown in Figure 5. The
system is designed to deliver the cooling fluid at a temperature that will keep the device junction
temperature at the thermal design point. In Figure 17, the cold immersion fluid is delivered to the
tanks through an inlet header that distributes the flow to the various tanks. As the fluid passes
through the tank, it absorbs the dissipated heat from the electronics and thus heated coolant exits
the various tanks through the outflow header. Closed loop systems such as this typically
incorporate a tank to serve as a buffer, i.e. volume of fluid that can increase or decrease to absorb
changes in the system while maintaining a constant flow rate. Leaving the buffer tank, the flow
enters the pump.

    103. The pump delivers the flow to a liquid-to-air heat exchanger which typically is a cooling
tower as shown. In the cooling tower, the coolant liquid is circulated through piping with fins or
extended surfaces to increase the surface area in contact with the air. Convection transfers heat
from the water to the pipe and fins. Heat conduction transfers the heat through the fins to their
surfaces. The air flow absorbs the heat from the fin surfaces by convection and then flows out of
the heat exchanger and mixes with the environment air. As can be seen, the overall system absorbs
heat from the electronic with the immersion tank coolant, and dissipates the heat to air.

   104. The water to air heat exchangers are generally of two types. In traditional wet cooling
towers, Figure 18(a.), water is used to absorb heat from the incoming air in order to pre-cool it

42
   Id.
43
   See generally, e.g., U.S. Patent No. 8,283,876B2; Bernie Siegal & Mark Berg, An Effective
Alternative for Marginal Thermal Improvements of Semiconductor Devices, Tenth IEEE Semi
Therm Synposium 1994; Thomas S. Tarter & Bernie Siegal, Application of thermal test chips to
stacked chip packages, 29th IEEE Semiconductor Thermal Measurement and Management
Symposium Year: 2013 pp. 13-22; Bernie Siegal, Practical Considerations in High Power LED
Junction Temperature Measurements, 2006 Thirty-First IEEE/CPMT International Electronics
Manufacturing Technology Symposium, Petaling Jaya, Malaysia, 62-66 (2006).

                                                 45
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before it is used to cool the primary water flowing through the finned piping. This is accomplished
by causing water to evaporate into the air entering the cooling tower. Fans at the top of the cooling
tower suck the air from the outside into the cooling tower. One method of evaporative cooling
involves the use of wetted cellulosic honeycomb pads. Before entering the main finned heat
exchanger section, the air is forced to flow through cellulosic honeycomb panels that are
continuously wetted with external water. When the air passes through the honeycomb panels, water
evaporates into the air and reduces its temperature. Evaporative cooling, also called adiabatic
cooling, is effective in dry environments when the outside air temperature is too high to cool the
primary water loop.

    105. In cases when the outside air temperature is low, there is no need for additional
evaporative cooling, and dry outside air is sucked into the cooling tower by the fans and it passes
directly through the finned heat exchanger which is carrying the hot primary fluid, in this case
water. These types of cooling towers are called “dry coolers,” Figure 18(b.). After passing through
the dry cooler, the cool water enters the heat exchanger used to absorb heat from the secondary
immersion cooling loop.




      Figure 17. Overall cooling system to reject heat from immersion tanks to outside air.




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                             (a.)                                               (b.)
           Figure 18. (a.) Wet cooling tower with evaporative cooling; (b.) Dry cooler.

DESCRIPTION OF THE ASSERTED PATENTS

The ‘457 Patent

Specification

    106. The ‘457 patent is titled “Appliance Immersion Cooling System.” 44 It was filed on
December 13, 2013 as an international application under the Patent Cooperation Treaty (“PCT”),
and claims the benefit of the filing dates of U.S. Provisional Patent Application No. 61/737,200,
filed on December 14, 2012, and U.S. Provisional Patent Application No. 61/832,211, filed on
June 7, 2013. 45

   107. The ‘457 patent names as inventors Christopher L. Boyd, James P. Koen, David
Christopher Laguna, Thomas R. Turner, Kenneth D. Swinden, Mario Conti Garcia, and John
Charles Tribou. 46 I understand that in March 2023, MGT submitted a Request for Correction of
Inventorship in Patent Pursuant to 37 C.F.R. § 1.324(a), requesting that Christopher L. Boyd be
named as the sole inventor of the ‘457 patent. 47 I further understand that the other named inventors
have executed statements agreeing to the requested change of inventorship. 48

   108. The ‘457 patent claims a tank module and an appliance immersion cooling system for
cooling electronic components submerged in a dielectric fluid. 49 It acknowledges that appliance
immersion cooling systems that use a dielectric fluid to cool submerged electronic components

44
   ‘457 patent at [54].
45
    Id. at [22], 1:6-16, [60]; 2012 Provisional at MIDAS0004047; 2013 Provisional at
MIDAS0004155.
46
   Id. at [72].
47
   Ex. 18 to J. Koen Dep., Dec. 5, 2023.
48
   Ex. 13 to M. Conti Dep., Sept. 14, 2023; Exs. 6, 8 to J. Tribou Dep., Sept. 13, 2023.
49
   Id. at 1:20-25, cls. 1, 6, 11.

                                                 47
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exist within the prior art. It identifies several such prior art references; however, it asserts that there
are problems with these prior art technologies. 50 For example, it identifies the advantages of the
inventions disclosed in Cray ‘538 and Krajewski ‘511, but states that the vertical-stack-type system
disclosed in these references necessitates draining the dielectric fluid whenever there is a need to
access the electronic components and that the chosen dielectric fluid, fluorocarbon liquids, is costly
and less effective at heat transfer than other dielectric fluids. 51

    109. It also acknowledges that there are prior art references that disclose solutions to these
problems, specifically a web-presentation entitled “Puget Custom Computer’s mineral-oil-cooled
PC” by Nilay Patel (“Puget”) and U.S. Patent Application Publication No. 2011/0132579, 52 the
publication of Best ‘463. 53 Puget, the ‘457 patent states, implemented a design by which electronic
components may be immersed vertically in a tank of dielectric mineral oil, thereby allowing
withdrawal of the electronic components from the tank while the tank is operating. 54 Puget,
however, did not include a secondary apparatus through which waste heat could be extracted from
the dielectric fluid. 55

    110. The ‘457 patent states that Best ‘463 discloses the advantages of the other prior art
references in addition to a secondary apparatus for extracting waste heat from the dielectric fluid,
but exhibits the following problems: “generally non-uniform flow patterns through the several
appliance slots within the tank, potentially resulting in uneven cooling across all slots; constricted
dielectric fluid supply and return ports resulting in unnecessarily high fluid flow velocities at the
respective points of connection to the tank; poor scalability; and inadequate attention to fail-soft
operation.” 56




50
   Id. at 1:33-2:37.
51
   Id. at 1:33-1:65, 2:15-22.
52
   I understand that U.S. Patent Application Publication No. 2011/0132579 is the patent application
that ultimately resulted in the issuance of U.S. Patent No. 10,123,463 to Best. I thus refer to both
U.S. Patent Application Publication No. 2011/0132579 and U.S. Patent No. 10,123,463 as Best
‘463.
53
   Id. at 1:33-2:37.
54
   Id. at 2:2-14.
55
   Id. at 2:12-14.
56
   Id. at 2:23-37.

                                                    48
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           Figure 1 (annotated) illustrates, in partial cut-away form, a front perspective of a tank
        module of an appliance immersion cooling system according to the Asserted Patents. 57

    111. The ‘457 patent describes its invention as consisting of “fully redundant” components
that are purportedly “adapted automatically to operate in a fail-soft mode”:

          A appliance immersion tank system comprising: a generally rectangular tank
          adapted to immerse in a dielectric fluid a plurality of appliances, each in a
          respective appliance slot distributed vertically along, and extending transverse to,
          the long axis of the tank; a primary circulation facility adapted to circulate the
          dielectric fluid through the tank; a secondary fluid circulation facility adapted to
          extract heat from the dielectric fluid circulating in the primary circulation facility,
          and to dissipate to the environment the heat so extracted; and a control facility
          adapted to coordinate the operation of the primary and secondary fluid circulation
          facilities as a function of the temperature of the dielectric fluid in the tank. A
          plenum, positioned adjacent the bottom of the tank, is adapted to dispense the
          dielectric fluid substantially uniformly upwardly through each appliance slot. A
          weir, integrated horizontally into a long wall of the tank, is adapted to facilitate
          substantially uniform recovery of the dielectric fluid flowing through each
          appliance slot. All active and most passive components of both the primary and
          secondary fluid circulation facilities, and the control facility are fully redundant,
          and are adapted automatically to operate in a fail-soft mode. 58


57
     Id. at Fig. 1.
58
     Id. at [57].

                                                    49
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    112. The ‘457 patent further describes the plenum, illustrated below, as comprising an orifice
plate (FIG. 8) and a plenum chamber (FIG. 9). The plenum plate comprises at least one row of
orifices vertically aligned with each appliance slot. The orifices purportedly ensure substantially
uniform flow of the dielectric fluid upwardly into each appliance slot. 59 As discussed in the
previous section on Flow Management, the presence of the perforated plate of itself does not ensure
substantially uniform upward flow. In fact the method by which flow is introduced into the plenum
chamber beneath the perforated plate, and the volume of the plenum chamber, are strongly coupled
to the perforated plate. All three play an integral role in ensuring uniform flow.




            Figures 7, 8, and 9 illustrate in perspective view and top plan view, the plenum facility
                  and the orifice plate and chamber portions of the plenum facility.

    113. The ‘457 patent further describes that to extract heat from the dielectric fluid circulating
in the primary circulation facility the secondary fluid circulation facility circulates a cooling fluid,
distinct from the dielectric fluid, through heat exchangers, shown as 32a and 32b in the below
illustration, as the dielectric fluid counter-circulates through the heat exchangers. The secondary
fluid circulation facility is also comprised of conventional cooling towers that include fan
facilities. 60


59
     Id. at 4:11-26.
60
     Id. at 4:66-5:9.

                                                   50
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              Figures 2, 3, and 4 (annotated) illustrate a rear perspective of the “tank module.” 61

    114. The ‘457 patent further describes a primary controller adapted to monitor and control the
operation of the primary circulation facility as a function of the temperature of the dielectric fluid
in the tank; a secondary controller adapted to monitor and control the operation of the secondary
fluid circulation as a function of the temperature of the dielectric fluid flowing through the heat
exchanger; and a master controller adapted to coordinate the activities of the primary controller
and secondary controller. 62

    115. The ‘457 patent describes the 2012 Provisional as “an alternate embodiment comprising
an appliance immersion tank facility wherein the function of the plenum facility [] is performed
by a manifold facility comprising a ladder-arrangement of tubular spray bars, each bar of which
61
     Id. at Figs. 2-4.
62
     Id. at 5:25-41.

                                                   51
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supplies dielectric fluid to a respective appliance slot.” 63 It states that the disclosure further
includes an enhancement, “temperature sensors per appliance slot, such that the flow rate through
each spray bar can be dynamically varied as a function of the temperature of the dielectric fluid
exiting the respective slot.” And it describes the 2013 Provisional as “another embodiment
comprising a more conventional, less-modularized instantiation with appropriate flow and control
facilities.” 64 Temperature sensors by each appliance slot further allow for control of the dielectric
liquid flow rate as a function of the temperature of the dielectric fluid exiting the appliance slot. 65

Prosecution History

    116. I understand that the ‘457 Patent issued from U.S. Application Ser. No. 14/355,533.
During prosecution, an examiner from the PTO issued the first of three office actions, a non-final
rejection, on November 4, 2016. 66 The then pending application consisted of ten claims. The
examiner rejected then pending dependent claim 2 and 7, which recited a “tightly co-located
module,” as indefinite. 67 The examiner also rejected all pending claims as anticipated by Best ‘463
or obvious over Best ‘463 in view of Pfahnl ‘292. The examiner explained that Best ‘463 teaches
every limitation of the then pending claims, as follows:

     a tank (e.g. 610, 710, 810) adapted to immerse (622, 722, 822) in a dielectric fluid (Para.
     [0025]) a plurality of electrical appliances (120), each in a respective appliance slot (Figs. 4,
     6, 11) distributed vertically along, and extending transverse to, a long wall of the tank (L; e.g.
     Figs. 3-4), the tank comprising:

     a weir, integrated horizontally into the long wall of the tank adjacent all appliance slots, adapted
     to facilitate substantially uniform recovery of the dielectric fluid flowing through each
     appliance slot (Para. [0102]; the “common manifold area” defined by the tops of the slots and
     the devices 120, 820); 68

     a primary circulation facility adapted to circulate the dielectric fluid through the tank (see
     440/450, 540/550, etc.), comprising:

     a plenum, positioned adjacent the bottom of the tank, adapted to dispense the dielectric fluid
     substantially uniformly upwardly through each appliance slot (Para. [0086]; Figs. 5-6; HL); 69

     a secondary fluid circulation facility adapted to extract heat from the dielectric fluid circulating
     in the primary circulation facility, and to dissipate to the environment the heat so extracted
     (150; 250; 350); and




63
   Id. at 6:37-42.
64
   Id. at 7:28-31.
65
   Id. at 6:49-53.
66
   ‘457 Patent Prosecution History, MIDAS0003334 at -3495-501.
67
   Id. at MIDAS0003497.
68
   Id. at MIDAS0003498.
69
   Id. at MIDAS0003498.

                                                   52
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     a control facility adapted to coordinate the operation of the primary and secondary fluid
     circulation facilities as a function of the temperature of the dielectric fluid in the tank (380,
     370; Fig. 2, “temp data”). 70

    117. The examiner further provided that to the extent Best ‘463 does not teach a weir and
plenum, Pfahnl ‘292 also teaches a plenum (inlet plenum) and a weir (outlet plenum). 71

    118. On January 31, 2017, the patent applicant traversed the examiner’s rejection. The
applicant amended the pending claims to describe the weir as “having an overflow lip.” 72 In
addition, it argued that the patent specification outlines that the purpose of the phrase “tightly co-
located” is “to characterize the essential components of the primary circulation facility as being
physically located sufficiently close to the tank” and “to “move the secondary fluid to the point of
heat exchange with the primary fluid, rather than to move the primary fluid to the point of exchange
with the secondary fluid.” 73

    119. The applicant also argued that Best ‘463 does not teach either a weir or a plenum because
in Best ‘463 these structures are only present when the tank is full of fluid, whereas the then
pending claims require that these structures be physically present even when the tank is empty of
fluid. 74 It further argued that the outlet plenum disclosed in Pfahnl ‘292 does not satisfy the claim
term weir:

                In contrast, in Pfahnl, each of the openings 122 into the plenum 112
                is disposed adjacent only to a respective single ONE of the appliance
                slots, and none is disposed adjacent to ALL of the appliance slots.
                Further, the rate of air flow through each of the openings 122 into
                the [outlet] plenum 112 is NOT substantially uniform since the
                outlet port 112a itself does not lie adjacent to each of the openings
                122. It follows, therefore, that the function performed by the set of
                openings 122 into the [outlet] plenum 112 is not equivalent to the
                function performed by Applicants’ weir. In an effort to further
                distinguish Applicants’ weir from the plenum structure in Pfanhl,
                Applicants have amended claims 1 and 6 to emphasize that it is the
                “overflow lip” of the weir that is “adapted to facilitate substantially
                uniform recovery of the dielectric fluid flowing through each
                appliance slot.” 75

   120. On May 17, 2017, the examiner issued a final rejection of the then pending claims as
obvious over Best ‘463 and Pfahnl ‘292, identifying the heated liquid coolant outlet and the bottom



70
   Id. at MIDAS0003500.
71
   Id. at MIDAS0003499.
72
   Id. at MIDAS0003483-3486.
73
   Id. at MIDAS0003487.
74
   Id. at MIDAS0003487.
75
   Id. at MIDAS0003487-3488 (emphasis in original).

                                                  53
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lip of the opening thereof (Fig. 14) disclosed by Best ‘463 as satisfying the weir and overflow lip
limitations. 76

    121. On August 24, 2017, the applicant amended the claims to recite, “a dielectric fluid
recovery reservoir positioned vertically beneath the overflow lip of the weir and adapted smoothly
to receive the dielectric fluid as it flows over the weir,” and added claims 11 to 16, which match
claims in European Patent Application No. 13870761.7 that were allowed by the European Patent
Office. 77 The applicant also traversed the examiner’s rejection, arguing that the physics of the then
pending claims and Pfahnl ‘292 are not the same. 78 The applicant further argued, quoting the EPO’s
reasoning for allowing claims 11 to 16, that in Best ‘463 because the supply of the cooling fluid is
on one side wall of the tank and the return is through a pipe on the same or the other side of the
tank, most of the cooling fluid flows in the most direct path between the inlet and the outlet risking
pockets of stagnant fluid off that path. 79

    122. On December 5, 2017, the examiner issued a notice of abandonment due to the applicant’s
failure to file a Notice of Appeal or Request for Continued Examination after the final rejection. 80
The applicant filed a Petition for Revival and Request for Continued Examination on January 7,
2018, which the PTO granted on May 9, 2018. 81

   123. On June 11, 2018, the examiner issued a non-final rejection. The examiner rejected claims
1-10 as indefinite due to the phrase, “adapted smoothly,” and claims 1-16 as obvious over Best
‘463 in view of JP 5956100 (“JP ‘100”). The examiner explained that Best ‘463 does not disclose
a weir with a recovery reservoir, but JP ‘100 teaches these elements. 82

    124. On September 14, 2018, the examiner issue a Notice of Allowance. 83 The notice included
an amendment by the examiner, who deleted the word, “smoothly’ from the claims based on a
voicemail from the applicant. 84 The examiner also noted as reasons for allowance that JP ‘100 does
not qualify as prior art as it was published after the effective filing date of the application. 85 The
‘457 patent issued on September 3, 2019. 86

Post Grant Proceedings

    125. On June 23, 2021, Immersion Systems LLC filed a petition for Inter Partes Review
(“IPR”) of claims 1, 5, 6, 10, 11, and 14 of the ‘457 patent on the following obviousness grounds:
(1) Best ‘463 in view of Krajewski ‘511 and/or Cray ‘538 (2) Best ‘463 in view of Oktay ‘244; (3)

76
   Id. at MIDAS0003473-3479.
77
   Id. at MIDAS0003434-3440.
78
   Id. at MIDAS0003440.
79
   Id. at MIDAS0003440-3441.
80
   Id. at MIDAS0003425-3426.
81
   Id. at MIDAS0003391-3392, -3394-3395, -3383-3386.
82
   Id. at MIDAS0003371-3381.
83
   Id. at MIDAS0003356-3363
84
   Id. at MIDAS0003362.
85
   Id. at MIDAS0003362.
86
   Id. at MIDAS0003334; ‘457 patent at [45].

                                                  54
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Best ‘463 in view of Gryzhin ‘013; and (4) Best ‘463 in combination with the knowledge of a
POSA. Immersion Systems also submitted a declaration by Dr. Issam Mudawar in support of the
petition. MGT filed a Patent Owner Preliminary Response to Petition on October 14, 2021.
Immersion Systems filed a Reply on November 19, 2021, to which MGT filed a Sur-Reply on
November 29, 2021. 87 I have reviewed this material, and have incorporated information from them
in my analysis.

    126. On January 6, 2022, the Patent Trial and Appeal Board, in its discretion, denied the
petition for review. 88

The ‘446 Patent

Specification

    127. The ‘446 patent is a continuation of, and has the same specification as, the ‘457 patent.89
It was filed on January 9, 2019, and claims the benefit of the filing date of the 2013 Provisional. 90
It names as inventors Christopher L. Boyd, James P. Koen, David Christopher Laguna, Thomas R.
Turner, Kenneth D. Swinden, Mario Conti Garcia, and John Charles Tribou. 91 However, I
understand that on March 21, 2023, MGT submitted a Request for Correction of Inventorship in
Patent Pursuant to 37 C.F.R. § 1.324(a), requesting that Christopher L. Boyd be named as the sole
inventor of the ‘446 patent. 92 I further understand that the other named inventors have executed
statements agreeing to the requested change of inventorship. 93

    128. The ‘446 patent claims a tank module and an appliance immersion cooling system for
cooling electronic components submerged in a dielectric fluid. 94 Unlike the ‘457 patent, the ‘446
patent does not claim “an overflow lip adapted to facilitate substantially uniform recovery of the
dielectric fluid flowing through each appliance slot” or “a dielectric fluid recovery reservoir
positioned vertically beneath the overflow lip of the weir and adapted to receive the dielectric fluid
as it flows over the weir.” 95




87
   Immersion Systems LLC v. Midas Green Technologies, LLC, No. IPR2021-01176 (P.T.A.B. June
23, 2021).
88
   Decision Denying Institution of Inter Partes Review, Immersion Systems LLC v. Midas Green
Technologies, LLC, No. IPR2021-01176 (P.T.A.B. January 6, 2021).
89
   ‘446 patent at [63].
90
   Id.
91
   Id. at [72].
92
   Exs. 5, 7 to J. Tribou Dep., Sept. 13, 2023.
93
   Exs. 6, 8 to J. Tribou Dep., Sept. 13, 2023.
94
   ‘446 patent at 1:20-25, cls. 1, 6.
95
   Id.

                                                 55
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Prosecution History

    129. The examiner issued a single rejection during prosecution of the ‘466 patent: a non-final
nonstatutory double patenting rejection on April 13,2020. 96 The examiner issued a notice of
allowance on April 16, 2020, 97 and the ‘446 patent issued on October 27, 2020. 98

    130. I understand that on October 11, 2021 and November 12, 2021, MGT filed requests for a
certificate of correction of the ‘446 patent’s “Related U.S. Application Data” section in order to
claim the benefit of the priority date of the 2012 Provisional. I understand that the PTO published
a certificate of correction on December 14, 2021, but then vacated the correction on December 24,
2021. As such, I understand that the claimed purported effective filing date of the ‘446 patent is
June 7, 2013, the filing date of the 2013 Provisional. 99

Post Grant Proceedings

    131. On July 26, 2021, Immersion Systems LLC filed a petition for Post Grant Review
(“PGR”) of claims 1, 5, 6, and 10 of the ‘446 patent on the following obviousness grounds: (1)
Best ‘463 in view of Krajewski ‘511 and/or Cray ‘538 (2) Best ‘463 in view of Oktay ‘244; (3)
Best ‘463 in view of Gryzhin ‘013; and (4) Best ‘463 in combination with the knowledge of a
POSA. Immersion Systems also submitted a declaration by Dr. Issam Mudawar in support of the
petition. MGT filed a Patent Owner Preliminary Response to Petition on November 3, 2021 and
November 12, 2021. Immersion Systems filed a Replies on November 23, 2021 and December 3,
2021, to which MGT filed Sur-Replies on November 29, 2021 and December 13, 2021. 100 I have
reviewed this material, and have incorporated information from them in my analysis.

    132. On January 31, 2022, the Patent Trial and Appeal Board, in its discretion, denied the
petition for review. 101

SUMMARY OF PRIOR ART

Best ‘463

     133. Best ‘463 is titled “Liquid Submerged, Horizontal Computer Server Rack and Systems
and Method of Cooling Such a Server Rack,” and “provides novel apparatus, systems, and methods
for efficiently cooling computing devices having heat-generating electronic components, such as,
for example, independently operable servers immersed in a dielectric liquid coolant in a tank.” 102
It teaches a system that includes (1) at least one tank, having a coolant inlet and a coolant outlet;


96
   ‘446 Patent Prosecution History, MIDAS0003913 at MIDAS0003937-3941.
97
   Id. at MIDAS0003926-3930.
98
   Id. at MIDAS0003913; ‘446 patent at [45].
99
   ‘446 patent at [63], [60].
100
    Immersion Systems LLC v. Midas Green Technologies, LLC, PGR2021-00104 (PTAB July 26,
2021).
101
    Decision Denying Institution of Post-Grant Review, Immersion Systems LLC v. Midas Green
Technologies, LLC, PGR2021-00104 (P.T.A.B. January 31, 2022).
102
    Best ‘463 at [54], 4:31-35.

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(2) one or more mounting members; (3) a dielectric liquid coolant; (4) a heat exchanger; (5) a
pump; and (6) a controller. 103




           Figure 3 (annotated) illustrates one embodiment of the system of Best ‘463.

    134. The tank contains in its interior volume the dielectric liquid coolant and the mounting
members. The mounting members are configured to receive each of a plurality of independently
operable servers. 104 Best ‘463 describes mounting the servers for cooling within the tank “wherein,
the mounting members are configured to hold each of at least two of the rack mountable servers
in the at least one row in a horizontally stacked relationship with one-another, with the rack
mountable servers in a vertical orientation.” 105 Best ‘463 identifies that the “vertical orientation”
of the servers “minimiz[es] the footprint of the servers relative to the ground” and facilitates “easy
installation and removal of a server without the need to remove or disturb any other server within
the tank 810.” 106 The “servers in a vertical orientation” is illustrated below:




103
    See id. at 4:36-6:2.
104
    Id. at 4:36-44; 5:3-7.
105
    Id. at cl. 1, 26:11-20.
106
    Id. at 18:65-19:4.

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              Figure 11 illustrates a perspective view of one embodiment of Best ‘463.

    135. The tank possesses a coolant inlet and a coolant outlet. Best ‘463 describes the tank to
“have an inlet pipe or line 440 from a piping system connected to a heat exchanger for the flow of
lower temperature or cooled liquid coolant into the tank 410 and an outlet pipe or line 450
connected to collection piping for flowing or pumping of heated coolant out of the tank to the
external heat exchanger.” 107 The inlet and outlet piping in Best ‘463 is illustrated below:




           Figure 6 (annotated) illustrates a side elevation view one embodiment of Best ‘463.

    136. “Similar to FIGS. 3 thru 6, the inlet piping may be located at one end of the rectangular
tank 810 near the bottom of the tank; whereas the outlet piping may be located nearer the top of
the tank. This configuration permits the liquid coolant heated by the heat generating components
in the servers to naturally rise through the servers and exit through the front panel of the servers.”


107
      Best ‘463 at 14:40-45.

                                                 58
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In an alternate embodiments “the outlet piping 650 is located nearer the opposite end of the same
longer side of the rectangular tank nearer the top of the tank.” 108




        Figures 8 and 9 illustrate a top plan view and an elevation view of one embodiment of
                                                Best ‘463.

    137. Best ‘463 identifies there to be uniform temperature of the fluid, as “the liquid coolant
may flow through each installed server and exit through the outlet pipe from the tank” and
“[b]ecause the flow is relatively low in comparison to the total volume of the container, the fluid
conducts to be relatively uniform temperature.” 109 Ultimately, Best ‘463 identifies that “a volume
of liquid coolant collects in a common manifold area above the server rack []to improve the
circulation of the liquid coolant through the plurality of servers, thereby enhancing the cooling of
each respective server.” 110

    138. Best ‘463 describes that the mounting members within the tank “may also be configured
to mount the servers in a server rack above the bottom of the tank to create a volume of liquid
coolant between each respective server and the bottom of the tank such that the flow of the
dielectric liquid coolant through the servers is improved.” 111 In its preferred embodiment, Best
‘463 identifies that “the mounting members are configured to mount the servers closely adjacent
to one another in the server rack to restrict flow of the dielectric liquid coolant between the
vertically-oriented servers, such that the flow of the dielectric liquid coolant through the servers is
enhanced.” 112

    139. Best ‘463 describes the configuration of the tank to “permit the liquid coolant heated by
the heat generating components in the servers to naturally rise through the servers and exit through

108
    Id. at 16:26-29.
109
    Id. at 19:36- 47.
110
    Id. at 14:61-64.
111
    Id. at 14:65-15:3.
112
    Id. at 15:3-8.

                                                  59
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the top or “front panel” of the servers.” 113 The naturally rising flow of Best ‘463 through the servers
can be seen in Figure 6 above.

   140. Best ‘463 describes multiple embodiments for cooling a plurality of servers. For example,
“FIG. 1A illustrates one embodiment of an exemplary system for efficiently cooling a plurality of
independently operable servers” and “FIG. 1B illustrates an alternative embodiment of an
exemplary system for efficiently cooling a plurality of independently operable servers.” 114




113
      Id. at 15:17-20.
114
      Id. at 7:26-32.

                                                  60
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                         Figures 1A and 1B illustrate embodiments of Best ‘463.

    141. Additionally, Best ‘463 describes an embodiment wherein “a secondary cooling system
having a cooling fluid flowing in a second fluid circuit wherein the secondary cooling system
rejects heat from the cooling fluid.” 115

    142. Best ‘463 describes controlling the operation and flow of the fluid within the system via
a controller. 116 Best ‘463 discloses a computer controller that may receive monitor signals of
various operational parameters from various components of the cooling system and may generate
control signals to control various components of the cooling system to maintain the heated liquid
coolant exiting the servers in the tank at a specific elevated temperature. Particularly, the controller
180 monitors the temperature of the liquid coolant at at least one location within the fluid circuit,
for example where the heated liquid circuit exits the plurality of servers. The controller 180 may
also monitor the temperature of the heat-generating electronic components in the servers in the
server racks by electrically connecting the controller 180 to the diagnostic output signals generated
by conventional rack-mountable servers. 117 The controller may also monitor the flow of the
dielectric liquid coolant. Based upon such information, the controller 180 may output signals to
the pump 130 and heat rejection or cooling apparatus 150 to adjust the flow of the liquid coolant
through the fluid circuit and the amount of the heat being rejected by the heat rejection or cooling
apparatus 150 for sufficiently cooling each respective server while maintaining the heated liquid




115
    Id. at 5:9-11.
116
    Id. at 4:56-58.
117
    Id. at 10:54-11:5.

                                                  61
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coolant exiting the servers at the elevated temperature to reduce the amount of energy consumed
to sufficiently cool each of the servers in the server rack. 118

    143. Finally, Best ‘463 contemplates being able to remotely control the system as “fluid valve
390 may be remotely controlled to connect the heated liquid coolant being pumped through the
collection piping from tank 310 to a controller-selected one of alternative remotely or distally
located heat exchangers.” 119 The controller and its software in Best ‘463 is illustrated below:




           Figure 17A illustrates the steps in the method of immersion cooling in Best ‘463.

   144. Best ‘463 was filed under the Patent Cooperation Treaty on August 10, 2009, and was
published on February 18, 2010. 120 I understand that Best ‘463 thus qualifies as prior art to the
Asserted Patents under at least 35 U.S.C. § 102(b) (pre-AIA) and 35 U.S.C. § 102(a)(1) (AIA).



118
    Id. at 10:44-54.
119
    Id. at 13:25-29.
120
    Id. at [22], [87].

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Best ‘914

   145. Best ‘914 is a continuation of Best ‘463, and was described in a printed publication on
February 18, 2010. 121 I understand that Best ‘914 therefore qualifies as prior art to the Asserted
Patents under at least 35 U.S.C. § 102(b) (pre-AIA) and 35 U.S.C. § 102(a)(1) (AIA).

Best Publication

    146. The Best Publication, titled Hard Drive Cooling For Fluid Submersion Cooling Systems,
discloses a system for cooling hard disk drives (“HDDs”) and computing systems by submerging
the computing systems in a tank of dielectric liquid coolant and by thermally coupling the HDDs
to a heat conductive extension that is partly submerged into the coolant and partly out of the
coolant. The HDDs are mounted to the part of the heat conductive extension that is out of the
coolant, and are cooled through conduction of the heat from the HDDs to the coolant via the heat
conductive extension. 122 The system may further use a heat exchanger to cool the dielectric liquid
coolant in the tank, 123 and a controller may be used to maintain the dielectric liquid coolant at
substantially a specific elevated temperature. 124




               Figure 6 (annotated) depicts an exemplary tank in Best Publication.

    147. The Best Publication teaches that in an embodiment, the tank includes a suction manifold
720 and a pressure manifold 710. The pressure manifold is attached to a coolant inlet 612 and the
suction manifold is attached to a coolant outlet 610. The coolant inlet and the coolant outlet may
be located on same or different sides of the tank. Both the suction manifold and the pressure
manifold have a plurality of nozzles distributed along their length. 125


121
    Best ‘463 at [87].
122
    Best Publication at [54], [57], [0018].
123
    Id. at [0019].
124
    Id. at [0021].
125
    Id. at [0068]-[0071].

                                                63
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        Figure 7C (annotated) is a left side view of the exemplary tank in Best Publication.

    148. The above illustration shows one possible flow direction of the dielectric liquid coolant
in the tank. Dielectric liquid coolant heated by the computing systems 230 and HDDs 240 is fluidly
coupled through suitable piping or lines to a pump 212. The pump 212 pumps the heated liquid
coolant through suitable piping or lines to a heat exchanger 216, which is associated with a heat-
rejection or cooling apparatus 218. 126 The Best Publication also teaches a secondary cooling
apparatus that contains a second cooling fluid and forms a second fluid circuit. The secondary
cooling apparatus 218 includes an associated heat exchanger that may be local or remote to the
system 200 to reject heat from the cooling fluid in the second fluid circuit through the second heat
exchanger. The heat rejected from the heated cooling fluid in the second fluid circuit may then be
selectively dissipated. 127

    149. The Best Publication also teaches a controller to maintain the heated liquid coolant exiting
the computing systems in the tank 210 at a specific temperature. The controller 270 monitors the
temperature of the liquid coolant at a location within the internal fluid circuit. The controller 270
may also monitor the temperature of the heat-generating electronic components in the computing
systems 230 and HDDs 240 by electrically connecting the controller to the diagnostic output
signals generated by conventional rack-mountable computing systems. 128

   150. I understand that Best Publication claims priority to Provisional Application No.
61/574,601, filed on August 5, 2011 (“Best Publication Provisional”). 129 The Best Publication

126
    Id. at [0053]-[0055].
127
    Id. at [0060].
128
    Id. at [0062].
129
    Id. at [60].

                                                 64
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Provisional is titled “Hard Drive Encasement and Heat Transfer for Fluid Submersion Systems.”
It incorporates by reference U.S. Patent Application No. 13/057,881, which became Best ‘463. 130
It describes a tank with side mounted ears that sit on a mounting manifold inside the tank. Heat
generating electronic components, including “Motherboard (and included components) and the
Power Supply, which are mounted to the frame, are submerged “beneath the coolant (liquid) line”
of the tank. The Best Publication Provisional also contains drawings that correspond to Figures 3,
5A, and 5B of the Best Publication. Because the Best Publication Provisional incorporates Best
‘463, it also discloses, among other things, “nozzles mounted on the end of a line from the cooling
inlet piping which may be directed toward the desired entry point of the liquid coolant into the
servers to enhance the fluid velocity of the liquid coolant through the servers,” “an outlet pipe or
line 450 connected to collection piping for the flowing or pumping of heated coolant out of the
tank to the external heat exchanger associated with one or more of the heat-rejection or cooling
systems,” and “a controller for monitoring the temperature of the dielectric liquid coolant.” 131 It is
thus my opinion that the Best Publication Provisional contains written description of and describes
how to make and use the invention claimed in the Best Publication.

   151. Best Publication was filed under the Patent Cooperation Treaty on August 4, 2012. I
understand that the Best Publication therefore qualifies as prior art to the ‘457 and ‘446 patents
under at least 35 U.S.C. § 102(e) (pre-AIA) and 35 U.S.C. § 102(a)(2) (AIA).

Best Tank

    152. The Green Revolution Cooling tank invented by Christiaan Best (the “Best Tank”) was
sold to MGT in 2010 and to Texas Advanced Computing Center in 2010. I understand that the Best
Tank embodies the Best Publication. 132




                         Depiction of Best Tank (CarnotJet 42U Rack). 133



130
    See U.S. Provisional Patent Application No. 61/574,601.
131
    See id.
132
    See Declaration of Christiaan Best (“Best Decl.”) ¶¶ 2, 6-9; Boyd Dep. 219:11-18; 220:14-
222:23, Dec. 7, 2023; Pl.’s Supp. Resp. to Defs.’ Interrog. No. 13, Mar. 15, 2023 at 5; see also Pl.’s
Supp. Resp. to Defs.’ Interrog. No. 13, Apr. 5, 2023 at 7; Pl.’s Resp. to Defs.’ Req. Admis. No. 3,
Aug. 31, 2022; TACC00000065; RHOD0000907; RHOD0000801; RHOD0000813.
133
    See, e.g., RHOD0001042.

                                                  65
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   153. I understand that the Best Tank therefore qualifies as prior art to the Asserted Patents
under at least 35 U.S.C. § 102(b) (pre-AIA) and 35 U.S.C. § 102(a)(1) (AIA).

Oktay ‘244

    154. Oktay ‘244, titled Multi-Liquid Heat Transfer, discloses a heat transfer apparatus for
cooling heat generating electronic devices by immersing the electronic devices in a dielectric liquid
that has a low temperature boiling point. 134 A second liquid that has a higher boiling point than the
dielectric liquid is superimposed on the free surface of the dielectric liquid. The second liquid is
maintained at a predetermined temperature using a heat exchanger. The dielectric liquid boils at
atmospheric pressure slightly above ambient room temperature. When the dielectric liquid is
heated, bubbles form and condense at the interface between the liquids. 135

   155. Oktay ‘244 describes certain difficulties which led to the claimed invention. For example,
Oktay ‘244 identifies that “electronic solid-state computer applications” may not be “desired to
operate with a high pressure cooling system since lead sealing, general leakage and non-
accessibility present problems and undesired arrangement.” 136




      Figure 1 (annotated) is a broken-away perspective view of an embodiment of Oktay ‘244.



134
    Oktay ’244, 1:10-23, 64-70.
135
    Id. at 1:71-2:15.
136
    Id. at 1:44-47.


                                                 66
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    156. Oktay ‘244 describes “[i]n FIG. 1 a liquid-tight container 11 has a slip-on cover 13 and a
memory array 15 located therein which is electrically connected through a wall 17 of the
container.” 137 A memory array (15) is immersed in a dielectric liquid inside the container. 138 Oktay
‘244 identifies that the “means for cooling the upper, condensing liquid 43 includes an outlet pipe
51 and an inlet pipe 52, both extending through a side wall of the container 11. The outlet pipe has
a make-up funnel 53 and connects to a storage tank 54.” 139 Further, “a pump 55 having motor 56
receives liquid from the tank and pumps it through a cooling coil 57, which has fan 58 for cooling,
to a thermostatically controlled valve 59.” 140

    157. The outlet pipe connects to a storage tank (54). A pump (55) receives liquid from the
storage tank and pumps it through a cooling coil (57) that has a fan (58) for cooling the liquid to a
thermostatically controlled valve (59). A temperature sensor (60) for the thermostatically
controlled valve is mounted near the top of the memory array. 141 The thermostatically controlled
valve connects to the inlet pipe, completing a fluid circuit between the inlet pipe and outlet pipe. 142

    158. Oktay ‘244 describes using a “first liquid 41 (such as [a] fluorocarbon)” and a “second
liquid 43 having a relatively higher-boiling point temperature” wherein the second liquid is
“superimposed on the free surface of the first liquid so that an interface 45 is formed.” 143 This
embodiment is intended to be used as a two-phase immersion cooling system because the lower
liquid, i.e. the first liquid, with a lower boiling point, is designed to remove heat from the
“electronic solid state computer components” as described in the invention by boiling on the
surfaces of the components. As described in the Background section of this report, this type of heat
removal is called “pool boiling” and involves the change in phase from the liquid to the vapor
phases as a result of absorbing the heat dissipated by the components.

    159. In another embodiment, depicted in Fig. 2, the apparatus may consist of an inner (73) and
an outer container (85). The inner container contains a cooling coil (87) to remove the heat from
the warm liquid. The inner container also has a plurality of overflow orifices (91) at the level of
the condensing liquid. Warm liquid continuously overflows and dribbles down the walls of the
inner rectangle container. The warm liquid pools within the outer container, and is maintained at a
predetermined level by a pump (97) that draws the liquid from the outer container through the
outlet pipe to a heat exchanger (99). The heat exchanger dissipates the heat of the warm liquid at
a remote location or has cooling liquid flowing through it. The pump 97 discharges the cooled
liquid to the inlet pipe (101) which distributes the cooled liquid in the inner container, thereby
completing a fluid circuit from the inlet pipe to the outlet pipe. 144 With the overflow arrangement,
the heat transfer rate of the entire system is increased and a more efficient system results. 145


137
    Id. at 2:31-33.
138
    Id. at 2:31-43.
139
    Id. at 2:64-68.
140
    Id. at 2:68-71.
141
    Id. at 2:64-72.
142
    Id. at 3:2-4.
143
    Id. at 2:44-50.
144
    Id. at 3:33-61.
145
    Id. at 3:74-2:1.

                                                  67
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    160. Oktay ‘244 identifies that the overflow “contributes to cooling the inner container and its
contents” and that “with the overflow arrangement, the heat transfer rate of the entire system is
increased and a more efficient system results.” 146 Below is an illustration of Oktay ‘244’s second
described embodiment:




      Figure 2 (annotated) is a partially-schematic, cross-sectional showing an embodiment of
                                             Oktay ‘244.

    161. Oktay ‘244’s second embodiment is intended to operate as a single-phase system. In this
system, the electronic components are in direct contact with the immersion coolant, but the coolant
does not experience pool boiling. Instead, the coolant removes heat from the components by
single-phase convection, as described in the Background section of this report and is the same
method utilized in the system described in the ‘457 patent.

    162. Oktay ‘244 issued on October 15, 1968. I understand that Oktay ‘244 therefore qualifies
as prior art to the ‘457 and ‘446 patents under at least 35 U.S.C. § 102(b) (pre-AIA) and 35 U.S.C.
§ 102(a)(1)(AIA).

JP ‘758

    163. JP ‘758, titled Liquid Cooling Bias Testing Device, discloses a cooling apparatus that
houses a liquid coolant of insulating oil and has a semiconductor and a sensor disposed in the
circulation path of the liquid coolant. 147 The apparatus allows for immersing a plurality of objects
(3) in the coolant. 148




146
    Id. at 3:69-4:1.
147
    JP ‘758 at [0005], [0008].
148
    Id. at [0008].

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        Figure 1 (annotated) is a longitudinal sectional view of an embodiment of JP ‘578.

    164. The apparatus has an inner tank (4) and an outer tank (5). 149 The coolant forms a
circulation path between the inner tank and the outer tank. A pump (7) is positioned in the outer
tank in the circulation path near the bottom of the inner tank. The liquid coolant is pumped into
the bottom of the inner tank (4). The liquid coolant then overflows from the inner tank (4) and is
cooled by a cooling pipe. A filter (8) that is upstream of the pump (7) in the circulation path
removes impurities mixed in the liquid coolant. 150

     165. A semiconductor device (10) is situated in the inner tank for temperature tests. 151 A sensor
is also disposed in the circulation path to detect the insulating resistance of the coolant and thereby
the concentration of the conductive impurities in the coolant. 152 The output signal of the sensor
(12) is sent to a control circuit (13). When the concentration of impurities in the apparatus exceeds
a threshold, the control circuit interrupts operation of the apparatus. 153

    166. JP ‘758 was published on October 20, 1992. I understand that JP ‘758 therefore qualifies
as prior art to the ‘457 and ‘446 patents under at least 35 U.S.C. § 102(b) (pre-AIA) and 35 U.S.C.
§ 102(a)(1) (AIA). JP ‘758 was not before the examiner during prosecution.

Pfahnl Application

    167. Pfahnl Application, titled Air Cooling Architecture for Orthogonal Board Architectures,
discloses a system, depicted below, that uses air for cooling orthogonally oriented arrays of parallel
circuit boards and is particularly well suited for data centers. 154 The system includes two distinct




149
    Id. at [0008].
150
    Id. at [0008].
151
    Id. at [0008].
152
    Id. at [0009]-[0011].
153
    Id. at [0009]-[0011].
154
    Pfahnl Application at Abstract, [0039].

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air cooling paths: a first cooling path for cooling the circuit boards and a second cooling path for
cooling the circuit boards. 155




                                        Figure 2 (annotated).

    168. The second cooling path includes an inlet plenum and an outlet plenum. An air inlet is
formed at the front of the inlet plenum, and air outlet is formed at the rear of the outlet plenum. 156
The inlet plenum and the outlet plenum both include apertures. The apertures direct air across and
between different circuit boards. 157 The inlet plenum or the outlet plenum may include fans. 158
During operation, air is drawn into the inlet plenum through the air inlet, passed through the
apertures of the inlet plenum, across the circuit boards, through the apertures of the outlet plenum
112, and out of the air outlet. 159 The air thus follows an S-shaped course, entering the system
through the lower front, passing upwardly between the circuit boards, and exiting the system from
the upper rear. 160

   169. Pfahnl Application was published on December June 15, 2006. I understand Pfahnl
Application therefore qualifies as prior art to the ‘457 and ‘446 patents under at least 35 U.S.C. §
102(b) (pre-AIA) and 35 U.S.C. § 102(a)(1) (AIA).




155
    Id. at [0026].
156
    Id. at [0027].
157
    Id. at [0028].
158
    Id. at [0029].
159
    Id. at [0030].
160
    Id. at [0037].

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Krajewski ‘511

    170. Krajewski ‘511, titled High Density Interconnect Apparatus”), describes cooling a
plurality of central processing (“CP”) boards that are stacked with a plurality of common memory
module (“CMM”) boards in a close configuration and immersing it in a cooling fluid. 161

   171. “In the preferred embodiment, the CP board stack 11 contains eight CP boards 12 and
each CMM board stack 13 contains four memory boards 14,” 162 as illustrated below:




                                               Figure 2.

    172. Krajewski ‘511 discloses that the package of electrical appliances, CP boards and CMM
boards, are immersed in dielectric fluid for cooling, stating “[t]he resulting preferred package of
stacked CP boards surrounded on two sides by CMM boards stacked in perpendicular planes is
submerged in a thermally conductive, electrically insulated bath to provide sufficient cooling of
the boards during operation.” 163

   173. Krajewski ‘511 discloses that the fluid comes up through the area below the boards into
a manifold which directs it through the CP board stack 11 from the rear to the front and also in an
upward direction through the CMM board stacks. 164 The fluid then flows out the top of the inner
wall of the board stack container and is returned down between the inner and outer walls of the




161
    Krajewski ‘511 at [57], 1:5-14, 4:59-62.
162
    Id. at 4:51-54.
163
    Id. at 2:41-45.
164
    Id. at 4:63-66.

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board stack container 4 and to the base. The fluid is returned to a reservoir and associated chiller. 165
An illustration of Krajewski ‘511’s fluid flow through the board stacks is illustrated below:




                                          Figure 1 (annotated).

    174. Krajewski ‘511 published on December 1, 1992. I understand that Krajewski ‘511
therefore qualifies as prior art to the ‘457 patent under at least 35 U.S.C. § 102(b) (pre-AIA) and
35 U.S.C.§ 102(a)(1) (AIA).

Cray ‘538

   175. Krajewski ‘511 incorporates by reference U.S. Pat. No. 4,590,538 to Cray, Jr. (“Cray
‘538”), issued May 20, 1986. 166 Cray ‘538, titled Immersion Cooled High Density Electronic
Assembly, discloses an immersion cooling system for high density electronic assemblies. 167


165
    Id. at 4:66-5:5.
166
    Id. at 4:59-5:10.
167
    Cray ‘538 at [57].

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Cray ‘538 is directed towards “a liquid immersion and circulation system to successfully handle
the very high heat load produced.” 168

    176. The system consists of coolant supply columns and coolant removal columns. The coolant
supply columns include distribution manifolds, which distribute incoming coolant. The coolant
flows over the electronic assemblies, causing the coolant to heat. The heated coolant rises in
coolant removal columns and flows over outlet standpipes. The coolant flows through holes in the
outlet standpipes and over the tops of the standpipes. 169 Pumps withdraw the coolant to a reservoir.
The pumps also circulates the coolant through an external heat exchanger, where the coolant is
cooled by tap water or other cooling medium before it is recirculated in the system. 170

    177. Cray ‘538 describes its preferred embodiment stating, “FIG. 12, which is a top view of
the tank in FIG. 1 with the cover removed, it will be seen that there are 16 stacks of circuit modules,
three of which have been given reference number 30a, 30b and 30c. These stacks consist of a
number of modules comprising a power supply or a plurality of horizontal circuit boards.” 171
Cray ‘538 continues stating “[e]ach stack of modules is supported by a pair of vertical support
frames 31, 32 which are adjacent the stack on either side” and that “[t]he module support frames
31 and 32 are vertically oriented planar shaped structure perforated with a large number of holes
to permit the coolant to flow through them.” 172 This module and support frame arrangement is
illustrated below:




168
    Id. at 2:36-38.
169
    Id. at 6:47–55.
170
    Id. at [57], cl. 12, 6:15–17.
171
    Id. at 4:64-5:2.
172
    Id. at 5:10- 14.

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                                      Figure 12 (annotated).

    178. Cray describes that the “adjacent module stacks are formed sector or triangular shaped
areas, indicated by reference numbers 33 and 34, which form vertical coolant flow columns.” 173
Cray further identifies that “inlet columns are indicated by reference 33, and these alternate around
the computer with outlet columns 34” and that the “outlet columns 34 have standpipes positioned
therein” which are “triangular shaped, but are smaller than columns 34 to provide spaces 36
between standpipe 35 and the adjacent module supports 31, 32 to allow coolant [] rising to the top
to flow over the top of the standpipe and flow down the center thereof.” 174 An illustration of the
inlet and outlet columns, and the coolant flow path is depicted below:




173
      Id. at 5:20-23.
174
      Id. at 5:23-31.

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                                       Figure 14 (annotated).

    179. Cray further describes the flow path in that “coolant enters the tank in the vertical coolant
flow columns 33, then travels horizontally through multiple paths . . . across and between all
modules and all horizontal circuit boards that make up the modules . . . pick[ing] up the heat
generated by their circuit boards” 175 Then, the coolant “flows vertically upward in zones 36 in
columns 34 outside the standpipes, then flows over the tops of the stand-pipes 35 down through
them for recirculation through the heat exchanger.” 176 Cray identifies that “the effect of inlet
columns 33 is to provide fresh, equally cool coolant to all modules, both high and low in the
stack.” 177

    180. Cray describes that a “pair of circulation pumps 40, 41 and corresponding heat exchangers
42, 43 are provided for circulating the liquid coolant through the computer immersed within the
tank.” 178 In order to cool the heated coolant, Cray identifies that “[p]ump 40 circulates coolant
through heat exchanger 42, where it is cooled by tap water or other cooling medium circulated
through the heat exchanger.” 179 Following this cooling process, “[t]he cooled coolant flows
through line 44, which branches to supply coolant to the left and right supply columns 33 of




175
    Id. at 6:30-36.
176
    Id. at 6:38-41.
177
    Id. at 6:41-43.
178
    Id. at 6:12-15.
179
    Id. at 6:15-18.

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FIG. 2.” 180 Figure 2 depicts an additional illustration of the system’s coolant flow path, omitting
the logic and memory module stacks normally positioned between the module support frames:




                                      Figure 2 (annotated).

    181. In certain instances, such as maintenance of a server, “the coolant pump up/pump down
system, rather than the coolant circulation system” activates and “supply/drain hole 23 connects
by a line 55, which branches to an inlet of the pump down pump 56” which returns the coolant to
“reservoir 50”. 181




180
      Id. at 6:18-20.
181
      Id. at 6:58-7:11.

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                                             Figure 3.

Gryzhin ‘013

    182. Gryzhin ‘013 is titled “Liquid-Cooling System for Electronic Devices,” and, similar to
the ‘457 patent, is directed towards a “system for cooling equipment by immersion in a liquid
means placing electronic components heated in the process of operation in individual sealed
containers.” 182

    183. Gryzhin ‘013 identifies certain known difficulties within the field that its system seeks to
address, namely that “[t]he higher the temperature of a working electronic component, the higher
the likelihood of its failure.” 183

     184. Gryzhin ‘013 describes four embodiments of its cooling system. In each embodiment,
“heat-generating components of which are cooled by immersion method, enclosed in a sealed
container equipped with a disconnect inlet fitting, disconnected at the initial stage of removing the
unit from the support, and a hole or pipes for draining the coolant.” 184 Gryzhin ‘013 describes that
“compartment 14 is intended for horizontal placement of power supplies for the entire chassis and
is located at the bottom of it and the manifold 16. Containers with equipment 12, 13 and blocks
located in the compartment 14 are filled with dielectric coolant, which is in direct contact with all
components located inside them. The liquid cools them while contacting the heat-generating
elements.” 185




182
    Gryzhin ‘013 at [54], 5:21-22.
183
    Id. at 5:5-6.
184
    Id. at 6:30-33.
185
    Id. at 8:28- 31.

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   185. The illustration below depicts “a chassis with cooled containers of different types, the
body 11 with container 12 and containers of type 13 for electronics.” 186




                                       Figure 1 (annotated).

    186. Gryzhin ‘013 describes that each container is equipped with “common pipe 17 for feeding
cooled liquid with quick disconnect valves 34” and “cooling system inlet fitting with disconnect
valve 29.” 187 Additionally, when the container is in operation, as opposed to maintenance, “plug
40, rigidly fixed to the base 39, closes the drain hole 36” which allows coolant to “enter[] the
container from the fitting 29 and, depending on the implementation of the selected method of liquid
cooling, spreads inside the working are.” 188

     187. Gryzhin ‘013 describes that the “working area” of the container is sealed from below, and
it “gradually fills up to the upper edge of partition 37 and begins to overflow into the drain channel
35 of the container, and from there into the common “hot” liquid collector 16.” 189

   188. Figure 5 below depicts the “universal support without containers,” and Figure 4 below
depicts an “image of the supply unit and the proposed coolant drainage unit.




186
    Id. at 8:17-18.
187
    Id. at 9:5-6.
188
    Id. at 9:11-14.
189
    Id. at 9:14-16.

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                                     Figure 5 (annotated).




                                     Figure 4 (annotated).

   189. Gryzhin ‘013 depicts four embodiments of the claimed invention. In the first, “the liquid
coolant is fed through the pipe to strongly heated elements with further forced draining of the




                                               79
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liquid into the drainage system and at the same time the container is filled with coolant, thus
cooling the rest of the elements (Fig. 6, 7).” 190




                                      Figure 6 (annotated).




                                      Figure 7 (annotated).

    190. In the second embodiment, “the liquid coolant is fed through the pipe to strongly heated
elements with the further discharge of liquid into the container space and at the same time filling
the container with coolant and, thus, cooling the remaining elements (Fig. 8).” 191




190
      Id. at 5:33-35.
191
      Id. at 6:1-4.

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                                      Figure 8 (annotated).

   191. In the third embodiment, “the liquid coolant is supplied through a pipe to strongly heat[ed]
elements with the further forced discharge of liquid into the drainage system (Fig. 9).” 192




                                      Figure 9 (annotated).

192
      Id. at 6:5-6.

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   192. In the fourth embodiment, “the container is filled with liquid coolant, which cools all the
elements (Fig. 10).” 193




                                            Figure 10.

    193. In at least the embodiments depicted by Figures 7, 8, and 10 above, the container
“becomes almost completely filled with liquid” as the “liquid level is determined by the flat
clearance of drain device 35”. 194 Gryzhin ‘013 describes further that “[w]hen the liquid reaches
the level of the upper edge of the drain device 35, the subsequent liquid entering from the bottom
displaces the upper layers, which flow into the manifold 16.” 195

    194. Gryzhin ‘013 describes that a “heat exchanger 56” can be used for cooling the heated
liquid, and that “heat exchanger 56 can be made, for example, on the basis of a radiator with
electric fans.” 196

    195. Gryzhin ‘013 was filed on March 19, 2012. I understand that Gryzhin ‘013 qualifies as
prior art to the ‘457 and ‘446 patents under at least 35 U.S.C. § 102(b) (pre-AIA) and 35 U.S.C. §
102(a)(1) (AIA).

Quon ‘108

    196. Quon ‘108, titled Cooling of Semiconductor Power Modules by Flushing with Dielectric
Liquid, discloses a system for cooling an electronic power module that consists of semiconductor
dies mounted on a printed wiring board by flushing the electronic power module with dielectric
liquid coolant. 197




193
    Id. at 6:7.
194
    Id. at 10: 31-32.
195
    Id. at 10: 33-35.
196
    Id. at 11:3-5.
197
    Quon ‘108 at Abstract, 1:6-12, cl. 1.

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                                      Figure 1 (annotated).

    197. The electronic power module is contained in a housing. 198 The semiconductor dies and
printed wiring board are in a vertical orientation within the housing. 199 The bottom of the housing
is formed by a plenum that has a group of nozzle holes. 200 The nozzles direct the dielectric liquid
coolant upward over the semiconductor dies and printed wiring board. 201 The nozzle hole groups
are directed to increase the velocity of the flowing dielectric liquid across the dies for improved
heat transfer directly between the dies and the fluid. 202 An outlet connection near the top of the
housing permits the dielectric liquid to pass from the housing. 203

    198. Quon ‘108 issued on September 5, 1995. I understand that Quon ‘108 therefore qualifies
as prior art to the ‘457 and ‘446 patents under at least 35 U.S.C. § 102(b) (pre-AIA) and 35 U.S.C.
§ 102(a)(1) (AIA).

Rolfson ‘298

    199. Rolfson ‘298, titled Method and Apparatus for Uniformly Baking Substrates Such as
Photomasks, discloses a method and apparatus for maintaining a liquid bath at a constant and
uniform temperature for semiconductor fabrication. 204 The system may be utilized for cooling or
quenching of a substrate or other similar work piece. 205



198
    Id. at 2:10-13.
199
    Id. at 1:60-64.
200
    Id. at cl. 1, 2:10-23.
201
    Id. at 1:60-64, 2:31-38.
202
    Id. at 2:49-52.
203
    Id. at 2:21-24.
204
    Rolfson ‘298 at [57], 1:9-10.
205
    Id. at 7:53-63.

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                                        Figure 1 (annotated).

     200. The apparatus includes a first tank for containing the liquid bath. The first tank may be
disposed inside a second tank to help facilitate re-circulation of the liquid bath. 206 The second tank
is, in actuality, a continuous overflow located around the periphery of the first tank. 207 In an
alternate embodiment, the system does not consist of a second tank. Instead, the first tank has a
drain or overflow that is connected to a pump system. 208 The second tank has a return line that
accommodates any excessive liquid bath that flows over the wall of the first tank. The return line
is coupled to a circulating device such as a pump. A supply line is coupled to the pump and carries
the liquid bath back to the first tank 12. A temperature control unit, such as a heat exchanger, is
disposed adjacent the supply line. The temperature control unit may have a broad temperature
range, such as 80° to 200° C., with a preferred operating range of 100° to 120° C., and precise
temperature control such as ±0.05 to 0.1. 209

    201. A baffle or series of baffles are used to control the flow of the liquid bath and to properly
disperse it as it enters the first tank. 210 The flow of the liquid bath, as generally shown by fluid
flow lines, is upward and radially outward from the center of the first tank. The wall of the first
tank serves as a weir, or a simple fluid level control, allowing excess fluid to spill over in the
second tank, and thereby completing the fluid circuit. 211 The apparatus offers a more uniform and
efficient heat transfer process. 212



206
    Id. at 3:61-4:3.
207
    Id. at 7:49-52.
208
    Id. at 7:39-43.
209
    Id. at 4:64-5:10.
210
    Id. at 5:13-30; 7:21-24.
211
    Id. at 5:13-30
212
    Id. at 5:42-46.

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    202. Rolfson ‘298 issued on April 29, 2003. I understand that Rolfson ‘298 therefore qualifies
as prior art to the ‘457 and ‘446 Patents under at least 35 U.S.C. § 102(b) (pre-AIA) and 35 U.S.C.
§ 102(a)(1) (AIA).

Attlesey ‘419

    203. Attlesey ‘419, titled Liquid Submersion Cooling System, discloses a portable, self-
contained system for cooling electronic devices by submersion in a dielectric liquid. 213 The heat-
generating components of the electronic device are submerged in the dielectric cooling liquid in a
tank. A pump transports warm dielectric cooling liquid from the top of the tank to outside of the
tank into a heat exchangers. The pump can be submerged in the cooling liquid within the interior
space or can be disposed outside the interior space. 214 The electronic device may rely on
convection of the dielectric cooling liquid, thereby eliminating the need for a pump. 215




       Figure 20 illustrates a perspective view of an embodiment of Attlesey ‘419 and Figure 27
                            illustrates a pair of plates from Attlesey ‘419.

    204. The heat exchanger includes a cooling liquid inlet, a cooling liquid outlet, and a flow path
for the cooling liquid from the cooling liquid inlet to the cooling liquid outlet. 216 The heat
exchanger may be comprised of a plurality of identical plates with holes defined by bosses that are
connected together to form plenums that receive the dielectric liquid. 217An air-moving device, such
as a fan, can also be used to move air past the heat exchanger. 218

    205. In use, the liquid to be cooled flows into the inlet and the plenum at the top of the heat
exchanger. The liquid flows downward past the bosses of the holes and transfers heat to the bosses.
At the same time, air flows into the bosses of the holes for additional heat exchange. The cooled

213
    Attlesey ‘419 at [57], 4:13-24.
214
    Id. at 4:50-53, 5:52-6:9.
215
    Id. at 2:6-37.
216
    Id. at 2:6-37.
217
    Id. at 11:1-17.
218
    Id. at 2:6-37.

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liquid collects in the plenum, and is pumped through the outlet of the heat exchanger and back into
the tank. 219

    206. Nozzles may be incorporated to direct the flow of the liquid at specific, high-temperature
areas. 220 In areas where there is significant heat, a spray bar assembly may be connected to the
inlet of the tank. The spray bar assembly has a central passageway extending vertically and a
plurality of branches or vents that horizontally within the tank. The branches include holes to direct
cooled liquid upwardly onto the heat-generating components. 221

   207. Attlesey ‘419 was issued on August 30, 2011. I understand Attlesey ‘419 therefore
qualifies as prior art to the ‘457 and ‘446 patents under at least 35 U.S.C. § 102(b) (pre-AIA) and
35 U.S.C. § 102(a)(1) (AIA).

    208. Attlesey ‘419 has the same disclosure as U.S. Patent No. 7,403,392 and U.S. Patent
Application Publication No. US 2008/0017355 to Attlesey, which issued or published on July 22,
2008 and January 24, 2008, respectively. I therefore understand that these references also qualify
as prior art to the ‘457 and ‘446 patents under at least 35 U.S.C. § 102(b) (pre-AIA) and 35 U.S.C.
§ 102(a)(1) (AIA).

PRIORITY DATE OF THE ASSERTED PATENTS

    209. I have examined whether the provisional applications, U.S. Provisional Patent
Application No. 61/737,200, filed on December 14, 2012 and U.S. Provisional Patent Application
No. 61/832,211, filed on June 7, 2013, 222 to which the Asserted Patents claim priority, describe the
claimed invention and the manner of making and using it such that a POSA would be able to make
the claimed invention without undue experimentation.

    210. Based on my review, it is my opinion that neither the 2012 nor the 2013 Provisional
discloses or teaches a POSA how to make the following limitations of the Asserted Patents:

      (a) “a weir, integrated horizontally into the long wall of the tank adjacent all appliance slots,
      having an overflow lip adapted to facilitate substantially uniform recovery of the dielectric
      fluid flowing through each appliance slot;” and

      (b) “a plenum . . . adapted to dispense the dielectric fluid substantially uniformly upwardly
      through each appliance slot.”

The 2012 Provisional

   211. The 2012 Provisional lists as inventors, John H. Miller Jr.; James P. Koen; John C. Tribou;
Mike Rainone; Talbot Presley; Jeffrey Van Myers; Christopher L. Boyd; Kenneth D. Tooke; and



219
    Id. at 11:42-53.
220
    Id. at 5:4-10.
221
    Id. at 12: 1-14.
222
    2012 Provisional at MIDAS0004047; 2013 Provisional at MIDAS0003334.

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D. Christopher T. Laguna. 223 It describes a cooling system that houses spray bars that each have a
number of spray heads. 224




   212. The spray bars and spray heads serve as structures for dispensing liquid. The 2012
Provisional identifies as a goal “substantially constant pressure at all Spray Heads (a bottom of
Tank).” 225




    213. The 2012 Provisional explains that “the spray bars are spaced such that [a] server may be
suspended in each inter-spray bar gap, thus forming respective ‘flow slots,’ the flow patterns of
which project upward from the spray heads, through the inter-server gaps, and ultimately into open
fluid return channel(s) (e.g., weirs) extending horizontally along the long side(s) of the tank.” 226
In addition to, or as a supplement to, the weir, the system may consist of active fluid extraction by
suction. 227



223
    2012 Provisional at MIDAS0004047.
224
    Id. at MIDAS0004058.
225
    Id. at MIDAS0004055.
226
    Id. at MIDAS0004055.
227
    Id. at MIDAS0004058.

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    214. The 2012 Provisional discloses two arrangements of spray bars and spray heads. Fig. 1
(above) depicts an inlet tube (labeled a “Supply Manifold”) that feeds liquid into top and bottom
header manifolds labeled as “Header Manifold #1” and “Header Manifold #2.” 228 The top and
bottom header manifolds supply liquid to a parallel arrangement of spray bars which extend
transverse to the long wall of the tank, parallel to the appliance slots. Liquid appears to be supplied
from both ends of each spray bar from the header manifolds. 229




    215. Figure 2 (above) depicts a different arrangement. In Figure 2, only two spray bars are
present, each of which is supplied by a manifold on a single end of the spray bar. Contrary to the
spray bars in Figure 1, the spray bars in Figure 2 run transverse to the shorter walls of the tank,
perpendicular to each appliance slot. 230




   216. Figure 3 (above) depicts a longitudinal spray bar with spray heads distributed radially.231
The 2012 Provisional further provides the following disclosure: 232




228
    Id. at MIDAS0004055-4056.
229
    Id. at MIDAS0004055-4056.
230
    Id. at Fig. 1.
231
    Id. at MIDAS0004057.
232
    Id. at MIDAS0004057.

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    217. Each spray bar also has shutoff valves at each end. The shutoff valves may be partially
closed to compensate for any reduced heat being conducted into flow slots. 233 Each pair of shutoff
valve may be controlled by a single valve controller in response to temperature sensor(s)
suspended in the respective flow-slot. These sensors are positioned to measure the temperature of
the fluid exiting the respective flow-slot more accurately. A smart master controller may monitor
a selected set of the flow slot temperature sensors, and coordinates the activities of all active flow-
slot valve controllers. 234 The 2012 Provisional also discloses attaching a solid-state temperature
sensor on or adjacent to each supplemental spray head to provide closed-loop control of the valves
supplying the spray head. 235

    218. In addition to other concepts, the 2012 Provisional also discloses a system with forced
fluid convection. In operation, cold fluid flows into a tank via a tube connected to a slotted

233
    Id. at MIDAS0004055-4056.
234
    Id. at MIDAS0004055-4056.
235
    Id. at MIDAS0004058.

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manifold. The slots in the manifold may be holes. The cold fluid displaces warm fluid as it flows
into the tank. The warm fluid overflows from U-shaped tubes on both sides of the tank wall. The
U-shaped tubes drain warm fluid into a closed sump container for recirculation through a heat
exchanger. 236 The 2012 Provisional explains that to prevent loss of pressure the slots or holes of
the slotted outflow manifold may be progressively wider. 237 As discussed in the Background of
Technology, a manifold is a common component in a flow distribution system. A person skilled in
the art of flow management, as used for example in HVAC systems, would know that achieving
uniform flow leaving the supply manifold through the slots or orifices requires skill in selection of
the relative size of the main manifold cross-sectional area, and the cross-sectional area of the
orifices. The 2012 Provisional is misleading because increasing the size of the orifice or slot to
make it progressively larger may in fact make flow uniformity worse.

    219. The 2012 Provisional further discloses an air containment system for cooling equipment
that cannot be immersed in liquid coolant. The system is depicted below: 238




236
    Id. at MIDAS0004082.
237
    Id. at MIDAS0004082.
238
    Id. at MIDAS0004088-90.

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“a plenum, positioned adjacent the bottom of the tank, adapted to dispense the dielectric fluid
substantially uniformly upwardly through each appliance slot.”

  220. Based on my review, it is my opinion that the 2012 Provisional does not disclose to a
POSA the existence of the following limitation of the Asserted Patents:

               “a plenum, positioned adjacent the bottom of the tank, adapted to
               dispense the dielectric fluid substantially uniformly upwardly
               through each appliance slot.”

    221. In particular, the 2012 Provisional does not disclose a structure for dispensing liquid or
plenum that is adapted to dispense dielectric fluid “substantially uniformly upwardly.” The 2012
Provisional describes that the spray head(s) are distributed in a radial arrangement so the flow of
dielectric fluid resembles a fan. 239 It further identifies that supplemental spray bars may be added
and oriented vertically with “horizontally-oriented” spray head(s). 240 These horizontally-oriented
and radially-arranged spray heads would not dispense dielectric fluid in “substantially uniformly
upwardly” as recited in the Asserted Claims. As such, the 2012 Provisional does not disclose to a
POSA a plenum or structure for dispensing liquid that is adapted to dispense dielectric fluid
substantially uniformly upwardly.

    222. In addition, it is my opinion that the 2012 Provisional’s disclosed arrangement of spray
heads does not teach this limitation such that a POSA could practice the purported invention of the
Asserted Patents without undue experimentation. Specifically, the 2012 Provisional teaches that
multiple spray bars and spray heads share dielectric fluid flowing in interconnected piping. This
causes the flow rate of one spray head to impact (i.e., reduce or increase) the flow rate of another
spray head. Consequently, setting the flow rate of each spray head to be equal would cause spray
heads closest to the supply of dielectric fluid to have substantially increased flow rates compared
to spray heads further away from the supply of dielectric fluid.

    223. Furthermore, although the 2012 Provisional teaches that spray heads can have fixed flow
rate or variable flow rate, 241 the disclosure does not teach the goal of uniform upward flow or how
to achieve it. It does not teach how to fix or vary the flow rate of spray heads in order to dispense
the dielectric fluid “substantially uniformly upwardly.” As such, a POSA would be forced to
undertake unguided attempts of trial and error with an exceedingly large number of variables in an
attempt to achieve “substantially uniformly upwardly” dispensing of the dielectric fluid. 242 As a
result, a POSA would not be able to achieve dispensing dielectric fluid “substantially uniformly
upwardly” without undue experimentation.

   224. The 2012 Provisional also mentions in handwritten notes and diagrams “slotted outflow
manifold[s]” with gaps between the manifolds. 243 To the extent the slotted outflow manifold could
constitute a plenum, it fails to describe or teach a POSA how to accomplish “substantially

239
    Id. at MIDAS0004057.
240
    Id. at MIDAS0004057.
241
    Id. at MIDAS0004057-4058.
242
    See Sickmiller Dep. 241:21-247:1, Nov. 29, 2023.
243
    2012 Provisional at MIDAS0004082.

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uniformly upwardly” of dielectric fluid. Achieving uniform flow requires precise selection of the
relative size of the slots of the outflow manifold. Indeed, the 2012 Provisional gets the applicable
principles exactly backwards when it states that the holes of the manifold should be narrow closest
to where the coolant enters and should get progressively wider to account for pressure getting
lower as coolant flows down the tube. 244 The holes should be wider near the entrance because the
pressure is lower near the entrance and the fluid velocity is higher. As the flow slows across the
length of the tube, one could then make holes smaller to increase the pressure. But even so, to
achieve substantially uniform upward flow through each appliance slot, there must be some way
both to make the fluid flow turn upwards and to guarantee that it is uniform. That is difficult to do,
and the 2012 Provisional does not even comment on the problem, much less propose a solution to
it. The plenum (or settling chamber) would have to be designed carefully to achieve substantially
uniform upward flow—among other things, it would have to have adequate volume to allow the
fluid to distribute itself and settle—that is, to lose the velocity with which it entered the plenum so
that uniform upward flow would then be possible. The 2012 Provisional says nothing at all about
the proposed design of any plenum, nor about the vertical placement of the slotted outflow
manifold within the tank. As a result, a POSA would not be able to achieve dispensing dielectric
fluid “substantially uniformly upwardly” without undue experimentation.

    225. Underlining the lack of any supporting disclosure, the plenum structure depicted in the
‘457 and ‘446 patents is entirely absent from the 2012 Provisional, and the 2012 Provisional does
not use the word plenum. The plenum as taught in the ‘457 and ‘446 patents is not disclosed in the
2012 Provisional such that it is evident the inventors did possess this element of the invention as
of the 2012 Provisional.

    226. I understand that Christopher Boyd, one of the named inventors on the Asserted Patents,
testified that he believed it was obvious to place the plenum at the bottom and center of the tank
to produce even flow across the bottom. 245 I agree that that placement would have been obvious,
and that the claim limitations reciting a plenum positioned adjacent the bottom of the tank and
adapted to dispense the dielectric fluid substantially uniformly upwardly through each appliance
slot were obvious in view of the prior art (and in particular in view of the Best Tank, which Mr.
Boyd used and worked with for more than a year before he began to develop his alleged invention,
and which contained a plenum positioned adjacent the bottom of the tank and adapted to dispense
the dielectric fluid substantially uniformly upwardly through each appliance slot at least to the
same extent disclosed in the patent—which again, does not teach how to achieve substantially
uniform upward flow through each appliance slot).

    227. Therefore, it is my opinion that the 2012 Provisional fails to teach a structure for
dispensing liquid or plenum that dispenses the dielectric fluid “substantially uniformly upwardly”
such that a POSA could practice the purported invention without undue experimentation.




244
      Id.
245
      See, e.g., Boyd Dep. 229:16-235:8, Dec. 7, 2023.

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“a weir, integrated horizontally into the long wall of the tank adjacent all appliance slots, having
an overflow lip adapted to facilitate substantially uniform recovery of the dielectric fluid flowing
through each appliance slot.”

  228. Based on my review, it is also my opinion that 2012 Provisional does not disclose to a
POSA the existence of the following limitation of the Asserted Patents:

                 “a weir, integrated horizontally into the long wall of the tank
                 adjacent all appliance slots, having an overflow lip adapted to
                 facilitate substantially uniform recovery of the dielectric fluid
                 flowing through each appliance slot.”

      229. The 2012 Provisional describes a weir as follows: 246




    230. I understand that MGT has asserted and maintained that the Asserted Claims require a
weir that is “adjacent all appliance slots.” 247 The only portion of the 2012 Provisional that discusses
the location of the weir in relation to the appliance slots (i.e., “flow slots”), states that once the
fluid in the tank exits the inter-server gaps, it flows “into open return channel(s) (e.g., weirs)
extending horizontally along the long side(s) of the tank.”

    231. This statement does not disclose that the weir must be “adjacent all appliance slots” or
extend[] substantially the entire length of the tank. To the contrary, it only discloses that the weir
is on the long wall of the tank—a criticism that MGT has asserted with respect to the prior art. 248
In addition, the phrase “open return channel(s) (e.g., weirs)” implies that there is not a single weir
that is “adjacent all appliance slots.”

   232. The 2012 Provisional also mentions in handwritten notes and diagrams “slotted outflow
manifold[s]” with gaps between the manifolds, as described below. 249




246
    2012 Provisional at MIDAS0004055.
247
    See, e.g., January 31, 2017 Office Action Response, MIDAS0003334 at MIDAS0003483-3488;
Patent Owner’s Preliminary Response at 4 (“The weir (22) extends to substantially the entire length
of the tank, adjacent all the appliance slots.”).
248
    Id.
249
    2012 Provisional at MIDAS0004082.

                                                  93
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    233. The notes, however, do not mention the location of appliance slots in the tank, and so
also do not mention the location of the slotted outflow manifold in relation to the appliance slots.
Rather, the notes appear to disclose that there could be multiple slotted outflow manifolds or
progressively larger holes, and therefore no single weir that is “adjacent all appliance slots.” 250

   234. In any event, the slotted outflow manifold is described in relation to cold coolant input
and as such does not describe the structure or function of a weir, as discussed above.




   235. It is therefore my opinion that the 2012 Provisional does not disclose to a POSA a weir
“adjacent all appliance slots” as recited in the Asserted Claims or how to make such a weir without
undue experimentation.


250
      Id. at MIDAS0004082.

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The 2013 Provisional

    236. The 2013 Provisional lists as inventors, John H. Miller Jr.; James P. Koen; John C. Tribou;
Mike Rainone; Talbot Presley; Jeffrey Van Myers; Christopher L. Boyd; Kenneth D. Tooke; and
D. Christopher T. Laguna. 251 It discloses various proportional control piping and instrumentation
diagrams drafted by Deaton Engineering.




    237. The diagrams provide that the disclosed tank’s pump and cooling tower fan speed are
controlled by a variable frequency drive (“VFD”). The tank oil temperature and discharge oil
temperature are also monitored. In particular, the temperature of the oil in a tank is based on a
feedforward algorithm that accounts for power used by servers in the tank, the tank’s temperature,
the effect of heat exchangers, the temperature of cooling water entering the heat exchangers, and
the requirements of all 4 tanks. The output of the algorithm controls the pump’s speed. 252

    238. These diagrams do not describe or depict a weir, or more particularly, “a weir, integrated
horizontally into the long wall of the tank adjacent all appliance slots, [having an overflow lip]
adapted to facilitate substantially uniform recovery of the dielectric fluid flowing through each
appliance slot,” “a dielectric fluid recovery reservoir positioned vertically beneath the overflow lip
of the weir,” or “a plenum, positioned adjacent the bottom of the tank, adapted to dispense the
dielectric fluid substantially uniformly upwardly through each appliance slot.” It is thus my
opinion that the 2013 Provisional does not disclose to a POSA all of the limitations of the Asserted
Claims.

    239. It is therefore my opinion that the 2012 Provisional and the 2013 Provisional do not
disclose to a POSA all of the limitations of the Asserted Claims of the Asserted Patents.



251
      2013 Provisional at MIDAS0004155.
252
       Id. at MIDAS0004163-4176.

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ANTICIPATION

Opinions Regarding the ‘457 Patent

    240. I have read and analyzed the ‘457 patent against the prior art. Based on my review of the
prior art, and in light of the parties’ Joint Stipulation on Claim Construction as well as MGT’s
interpretation of the Asserted Claims in its Final Infringement Contentions, it is my opinion that
every limitation recited in the Asserted Claims of the ‘457 Patent is included, either explicitly or
inherently, in Best ‘463, Best Publication, Best Tank, and Best ‘914 (collectively, the “Best
References”). My full analysis of these prior art references is presented in the claim charts attached
hereto as Exhibits D-1 through D-9. Below is a summary of my analysis. My analysis with regard
to Best ‘463 also applies to Best ‘914, as these references share a common disclosure. 253 Similarly,
my analysis of Best Publication applies equally to the Best Tank, as the Best Tank is an
embodiment of the Best Publication. 254

Independent Claims

Claim 1

Limitation 1.P: “An appliance immersion cooling system comprising:”

    241. I have not been asked to consider whether the preamble of claim 1 is limiting. To the
extent the preamble is limiting, it is my opinion that the Best References each teach an appliance
immersion cooling system.

   242. As aforementioned, immersion cooling systems are well known in the prior art. The
‘457 patent specifically identifies Best ‘463 as one such system. 255 The Best Publication, Best
Tank, and Best ‘914 are similarly directed to or embody apparatus, systems, and methods for
cooling computing devices immersed or submerged in a dielectric liquid coolant. 256

    243. It is thus my opinion that, to the extent the preamble is limiting, its limitations are
disclosed or embodied in the Best References.

Limitation 1.1: “a tank adapted to immerse in a dielectric fluid a plurality of electrical
appliances, each in a respective appliance slot distributed vertically along, and extending
transverse to, a long wall of the tank, the tank comprising:”

    244. It is my opinion that the Best References each teach a tank as recited in limitation 1.1 of
the ‘457 patent.



253
    See Best ‘914 at [63].
254
    Best Decl.¶¶ 6-9; Pl.’s Supp. Resp. to Defs.’ Interrog. No. 13, Mar. 15, 2023 at 5; Boyd Dep.
219:11-18; 220:14-222:23, Dec. 7, 2023.
255
    ‘457 patent at 2:23-29.
256
    See, e.g., Best ‘463 at [57], 4:31-35, Fig. 11; Best ‘914 at [57], 4:29-33, Fig. 11; Best Publication
at [57], [0003], [0016]-[0017], Fig. 6; RHOD0000907; TACC00000065 at slide 4.

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        Best ‘463/Best ‘914

    245. Best ‘463 and Best ‘914 each teach or embody a tank adapted to immerse in a dielectric
fluid a plurality of electrical appliances. 257 Best ‘463 and Best ‘914 teach “novel apparatus,
systems, and methods for efficiently cooling computing devices having heat-generating electronic
components, such as, for example, independently operable servers immersed in a dielectric liquid
coolant in a tank.”

    246. The interior of the tank consists of mounting members “positioned within the interior
volume” that correspond to appliance slots. 258 The mounting members are “configured to
mountably receive a plurality of independently operable servers” and “are configured to mountably
receive the plurality of servers in a vertical orientation.” 259

    247. Best ‘463 and Best ‘914 each further disclose that the servers are in slots distributed
vertically along, and extending transverse to, a long wall of the tank, the tank. Specifically,
Best ‘463 and Best ‘914 teach that the mounting members may be attached along the length (L) of
each longer side of the tank to support the rack ears of a standard rack-mountable server” and
illustrate that the mounting members extend transverse to a long wall of the tank. For example,
Figures 4, 6, and 11 of Best ‘463 and Best ‘914 illustrate a top and side view of the racks of the
disclosed tank. As depicted in Figure 6, below, a plurality of servers (120) mounted in mounting
members are vertically distributed along the length (L) of the tank. 260




                                         Figure 6 (annotated).




257
    See, e.g., Best ‘463 at 5:3–11, 10: 11–25; Best ‘914 at 5:1–9, 10:7–22.
258
    See, e.g., Best ‘463 at 6:29–35, 18:1–11; Best Publication at cl. 1, [0041], [0068], Fig. 6; Best
‘914 at 6:27–33, 7:64–18:19; RHOD0000899.
259
     See, e.g., Best ‘463 at 18:35–38; Best Publication at Fig. 3; Best ‘914 at 8:33–36;
RHOD0000805, RHOD0000899.
260
    See, e.g., Best ‘463 at Figs. 4, 6, 7:37-43, 14:21-38, 14:48-57; Best ‘914 at Figs. 4, 6, 7:35-40,
14:18-36, 14:44-54.

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    248. It is my understanding that during prosecution of the application for the ‘457 patent, the
examiner also relied on Figures 6 and 11 for concluding that Best ‘463 discloses appliance slots, 261
and Figures 3 and 4, particularly citing to “L” within the Figures in relation to servers 120, to
identify the slots in Best ‘463 as distributed vertically along and extending transverse to the long
wall of the tank. 262 I understand that MGT did not traverse the examiner’s rejection with respect
to these conclusions or otherwise distinguish the appliance slots in the Asserted Claims from the
appliance slots in Best ‘463. MGT similarly did not distinguish the appliance slots in the Asserted
Claims from the appliance slots in Best ‘463 during the IPR and PGR proceedings. 263

        Best Publication/Best Tank

    249. Best Publication and Best Tank each teach or embody a tank adapted to immerse in a
dielectric fluid a plurality of electrical appliances. 264 Best Publication teaches an “apparatus,
system, and method of cooling one or more hard disk drives [(“HDD”)] of one or more computing
systems.” “The apparatus, system, and method use a dielectric liquid coolant in a tank that has an
interior volume” and “mounting members may be configured to allow the one or more computing
systems to be at least partially submerged within the dielectric liquid coolant when the dielectric
liquid coolant is in the interior volume for sufficiently cooling the one or more computing
systems.” 265 Best Tank consists of a tank that “fully submerges [servers] in GreenDEF non-
conductive coolant,” 266 a type of dielectric fluid.

    250. Best Publication and Best Tank each further disclose and depict that the servers are in a
respective appliance slot distributed vertically along, and extending transverse to, a long wall of
the tank.




261
    ‘457 Patent Prosecution History at MIDAS0003497-99.
262
    Id.
263
    See generally, Immersion Systems LLC v. Midas Green Technologies, LLC, No. IPR2021-01176
(P.T.A.B. June 23, 2021); Immersion Systems LLC v. Midas Green Technologies, LLC, PGR2021-
00104 (PTAB July 26, 2021).
264
     See, e.g., Best ‘463 at 5:3–11, 10: 11–25; Best Publication at [0042]; RHOD0000907;
TACC00000065 at slide 4; Best ‘914 at 5:1–9, 10:7–22.
265
    Best Publication at [0017].
266
    Design - Green Revolution Cooling at RHOD0000899.

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                                      Figure 6 (annotated)

    251. Best Publication explains that “[b]oth the computing systems and HDDs may be arranged
in one or more racks.” 267 “A rack is a frame or enclosure that contains multiple mounting slots
called bays, each designed to hold a hardware unit secured in place with fastening devices such as
screws.” 268 “The interior volume of the tank 600 includes a rack system 614 for holding the
computing systems 230 and HDDs 240.” 269




267
    Best Publication at [0041].
268
    Id.
269
    Id. at [0068].

                                               99
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                                          Figure 3 (annotated).


    252. Figure 6 of the Best Publication depicts “a rack system 614 for holding the computing
systems 230 and HDDs 240” in which servers are positioned vertically along the length of the
tank, as further depicted in Figure 3. 270 “Computing system 230 which may include motherboard,
power supply and other components may be fastened to the part of the mounting plate 300 that is




270
      See, e.g., Best Publication at [0029], [0044], Fig. 6.

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submerged in the dielectric liquid coolant using any of various methods (e.g., screws, slots, rails
etc.).” 271




                               Presentation Depicting CarnotJet System 272

    253. Best Tank “accepts servers vertically rather than horizontally.” As depicted above, the
vertically mounted servers are slotted along the interior of the tank’s length, extending transverse
to the long walls of the tank. 273

      254. It is thus my opinion that the Best References each disclose or embody limitation 1.1.




271
    Id. at [0044].
272
    See, e.g., RHOD0001042.
273
    See also RHOD0000907; RHOD0000801; RHOD0000813; TACC00000065 at slide 4.

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Limitation 1.2: “a weir, integrated horizontally into the long wall of the tank adjacent all
appliance slots, having an overflow lip adapted to facilitate substantially uniform recovery of
the dielectric fluid flowing through each appliance slot;”

   255. It is my understanding that the parties have agreed to a claim construction of the term
“weir” as follows: “an overflow structure or barrier that determines the level of liquid.” 274 I have
considered and used this construction in my analysis and opinions.

   256. I also understand that during prosecution of the application for the ‘457 patent, MGT
sought to differentiate the Pfahnl Application by asserting that “in Pfahnl, each of the openings
122 into the [outlet] plenum 112 is disposed adjacent only to a respective single ONE of the
appliance slots, and none is disposed adjacent to ALL of the appliance slots.” 275 It is thus my
understanding that MGT has argued that the weir itself must be “adjacent all appliance slots”—
and not merely “integrated horizontally into the long wall of the tank” that is “adjacent all
appliance slots”— in order to obtain allowance of the Asserted Claims.

    257. I further understand that in its infringement contentions, MGT has identified openings or
“holes” in the accused products as meeting the elements of limitation 1.2. 276 I do not agree with
MGT’s analysis, and will provide my reasoning at a later time. Nevertheless, under MGT’s
interpretation of the claim scope as reflected in its Final Infringement Contentions, it is my opinion
that the Best References each teach or embody the elements recited in limitation 1.2.

         Best ‘463/Best ‘914

    258. Best ‘463 and Best ‘914 each teach “a weir, integrated horizontally into the long wall of
the tank adjacent all appliance slots, having an overflow lip adapted to facilitate substantially
uniform recovery of the dielectric fluid flowing through each appliance slot.”

    259. Best ‘463 and Best ‘914 describe an “outlet pipe or line 450 connected to collection
piping for flowing or pumping of heated coolant out of the tank to the external heat exchanger.” 277
As depicted in Figure 3 of Best ‘463 and Best ‘914 the outlet pipe serves as an overflow structure
that determines the level of the liquid as it is a pipe or line (i.e. a structure) integrated into a wall
of the tank. As discussed in the Background of Technology, specifically in reference to Figure 15,
an outlet pipe may establish the level of the free surface at appropriate rates of flow. The outlet
pipe determines the level of the tank liquid because the pipe serves as an overflow device, as shown
in Figure 15, wherein the liquid level is at the same level as the outflow pipe. It is thus my opinion
that this outlet pipe meets the agreed to construction of the term “weir.”




274
    Joint Stipulation on Claim Construction, ECF No. 50.
275
    ‘457 Patent Prosecution History at MIDAS0003487-3488 (emphasis in original).
276
    Final Infringement Contentions at 6-7.
277
    Best ‘463 at 14:40-45.

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                                          Figure 3 (annotated).

    260. In one embodiment, Best ‘463 and Best ‘914 disclose that the outlet piping is integrated
horizontally into the long wall of the tank adjacent all appliance slots. Best ‘463 and Best ‘914
identify a configuration wherein “the outlet piping 650 is located nearer the opposite end of the
same longer side of the rectangular tank nearer the top of the tank.” 278 Best ‘463 and Best ‘914
further teach that the outlet piping has an overflow lip adapted to facilitate substantially uniform
recovery of the dielectric fluid flowing through each appliance slot. As discussed above, the outlet
piping of Best ‘463 and Best ‘914, in my opinion, constitutes a weir and thus also meets the
construction of a weir having an overflow lip. In addition, the bottom of the outlet pipe constitutes
an “overflow lip.”

    261. The arrangement of the plenum in Best ‘463 and Best ‘914 (as will be discussed below),
with the appliance slots and outlet piping in Best ‘463 facilitates substantially uniform recovery of
dielectric fluid flowing through each slot. For example, Best ‘463 and Best ‘914 identify
substantially uniform flow throughout the tank as they state:

                 The mounting members may also be configured to mount the servers
                 such that the top level 460 of liquid coolant completely submerges
                 the top level 472 of the server rack [] formed by the multiple servers
                 120. As a consequence, a volume of liquid coolant collects in a
                 common manifold area above the server rack [] to improve the
                 circulation of the liquid coolant through the plurality of servers,
                 thereby enhancing the cooling of each respective server. The
                 mounting members may also be configured to mount the servers in
                 server rack [] above the bottom of the tank to create a volume of
                 liquid coolant between each respective server and the bottom of the
                 tank such that the flow of the dielectric liquid coolant through the
                 servers is improved. Preferably, the mounting members are
                 configured to mount the servers closely adjacent to one another in
                 the server rack to restrict the flow of the dielectric liquid coolant


278
      Id. at 16:26-29 (emphasis added).

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               between the vertically-oriented servers, such that the flow of the
               dielectric liquid coolant through the servers is enhanced. 279

    262. Best ‘463 and Best ‘914 further describe that there is substantially uniform recovery of
the fluid as it exits the tank because “the liquid coolant may flow through each installed server and
exit through the outlet pipe from the tank” and “[b]ecause the flow is relatively low in comparison
to the total volume of the container, the fluid conducts to be relatively uniform temperature.” 280

    263. In my opinion, relatively uniform temperature would not be possible without substantially
uniform recovery of dielectric fluid flowing through each appliance slot. Best ‘463 and Best ‘914
describe how substantially uniform flow and substantially uniform recovery is achieved due to the
(a) volume of liquid coolant between each server and the bottom of the tank, (b) the mounting of
servers closely adjacent to restrict the flow of dielectric liquid coolant, (c) the volume of liquid
collected in the common manifold in the area above the servers rack, (d) an outlet pipe that may
be integrated into the long wall adjacent the appliance slots recovering the volume of liquid in the
common manifold in the area above the servers, and (e) the relatively low flow in comparison to
total volume of the tank. 281

    264. Best ‘463 and Best ‘914 thus disclose a system with substantially uniform recovery,
including by virtue of the arrangement of its plenum, appliance slots, flow rate, and inclusion of a
space above the appliance slots before the weir to create a layer of hot dielectric fluid to mix as it
exits the appliance slots.

         Best Publication/Best Tank

    265. Under MGT’s interpretation of the claim scope as reflected in its Final Infringement
Contentions, the Best Publication and Best Tank teach or embody “a weir, integrated horizontally
into the long wall of the tank adjacent all appliance slots, having an overflow lip adapted to
facilitate substantially uniform recovery of the dielectric fluid flowing through each appliance
slot.”




279
    Best ‘463 at 14:58-15:8 (emphasis added).
280
    Id. at 19:36-47.
281
    Id. at 14:58-15:8; 19:36-47; Figs. 3, 6, 11.

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                                         Figure 7A (annotated).

    266. Best Publication teaches the use of an “overflow structure or barrier that determines the
level of the liquid.” It describes a plurality of nozzles distributed along the length of a suction
manifold to facilitate the flow of warmer dielectric liquid out of the interior volume of the tank. 282
The nozzles have an area, which would form holes in the suction manifold, 283 and thus allow
dielectric fluid to flow into the suction manifold. 284 The nozzles of the suction manifold thus serves
as a weir or “an overflow structure or barrier that determines the level of liquid.”




282
    Best Publication at [0023], [0069], cls. 8, 16, 26.
283
    Id. at [0069].
284
    Id. at [0070].

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                                       Figure 6 (annotated).

    267. The Best Publication further teaches that the nozzles of the suction manifold are
integrated horizontally into the long wall of the tank adjacent all appliance slots. 285 For example,
Figure 6 depicts an exemplary tank as taught by the Best Publication. In the embodiment, the
suction manifold runs horizontally along the entire length of the tank, 286 and is integrated into the
tank wall by a rack system. 287 The nozzles are distributed along the entire length of the suction
manifold, 288 and thus are also adjacent all the vertical mounting slots, discussed above. 289

    268. The Best Publication further teaches that the nozzles of the suction manifold have an
overflow lip adapted to facilitate substantially uniform recovery of the dielectric fluid flowing
through each mounting slot. As aforementioned, the nozzles have an area. 290 The edges of the area

285
    Id. at [0041].
286
    Id. at [0070].
287
    Id. at [0068]-[0069].
288
    Id. at [0069].
289
    Id. at Fig. 6.
290
    See id. at [0069].

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of the nozzles constitute an overflow lip as it allows dielectric fluid to flow into the suction
manifold. 291 The Best Publication explains that because the area of the nozzles is much smaller
than the area of the suction manifold, suction through the nozzles of the suction manifold is
approximately equal along the entire length of the tank. 292 The equal suction along the length of
the tank would facilitate substantially uniform recovery of the dielectric fluid through each
mounting slot.

   269. Therefore, it is my opinion that the nozzles of the suction manifold described in the Best
Publication satisfy limitation 1.2 of the ‘457 patent.

    270. I understand that the Best Tank also includes a suction manifold with holes through which
the warm dielectric fluid leaves the tank, as described above with respect to the Best Publication. 293

     271. It is thus my opinion that, under MGT’s interpretation of the claim scope as reflected in
its Final Infringement Contentions, the Best References each disclose or embody limitation 1.2.

Limitation 1.3: “a dielectric fluid recovery reservoir positioned vertically beneath the overflow
lip of the weir and adapted to receive the dielectric fluid as it flows over the weir;”

     272. Under MGT’s interpretation of the claim scope as reflected in its Final Infringement
Contentions, it is my opinion that the Best References each teach or embody the elements recited
in limitation 1.3.

         Best ‘463/Best ‘914

    273. Best ‘463 and Best ‘914 disclose “a dielectric fluid recovery reservoir positioned
vertically beneath the overflow lip of the weir and adapted to receive the dielectric fluid as it flows
over the weir” as recited in limitation 1.3.

    274. In particular, Best ‘463 and Best ‘914 describe “a heat exchanger fluidly coupled to the
coolant outlet of the at least one tank,” 294 and “[t]he tank may be fabricated to have … an outlet
pipe or line connected to collection piping for the flowing or pumping of heated coolant out of the
tank to the distally located heat exchanger as shown in FIG. 3.” 295

    275. Figure 3 of Best ‘463 and Best ‘914 further indicates that the outlet piping extends at a
downward angle or turn utilizing gravity to remove the warm dielectric from the tank into the heat
exchanger. Therefore, the heat exchanger is “positioned vertically beneath the overflow lip of the
weir.” As such, the heat exchanger in Best ‘463 and Best ‘914 is a reservoir to collect the heated
dielectric fluid, and therefore is a “dielectric fluid recovery reservoir … adapted to receive the
dielectric fluid as it flows over the weir.”


291
    Id. at [0070].
292
    Id. at [0070].
293
    Best Decl. ¶¶ 8-9; Pl.’s Supp. Resp. to Defs.’ Interrog. No. 13, Mar. 15, 2023 at 5; Boyd Dep.
219:11-18; 220:14-222:23, Dec. 7, 2023.
294
    Best ‘463 at 4:45-46.
295
    Id. at 18:23-29.

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    276. It is thus my opinion that the heat exchanger in Best ‘463 and Best ‘914 is a reservoir to
collect the heated dielectric fluid, and therefore is a “dielectric fluid recovery reservoir … adapted
to receive the dielectric fluid as it flows over the weir.”

         Best Publication/Best Tank

    277. The Best Publication discloses “a dielectric fluid recovery reservoir positioned vertically
beneath the overflow lip of the weir.” As aforementioned, the Best Publication discloses nozzles
of a suction manifold that meet the construed meaning of a weir. 296 The edges of the area of the
nozzles constitute an overflow lip as it allows dielectric fluid to flow into the suction manifold. 297
The suction manifold serves as a dielectric fluid recovery reservoir and receives the dielectric fluid
as it flows over the nozzles. 298 As depicted in Figures 7A and 6, the nozzles are distributed along
the length of the top of the suction manifold. 299 The suction manifold is attached to a fluid outlet
to facilitate the flow of warmer dielectric liquid out of the interior volume, 300 and “a pump may be
used to pump warmer dielectric liquid coolant from the interior volume of the tank.” 301

   278. Therefore, it is my opinion that the nozzles and suction manifold described in the Best
Publication satisfy limitation 1.3 of the ‘457 patent.

    279. As aforementioned, I understand that the Best Tank also includes a suction manifold with
holes through which the warm dielectric fluid leaves the tank. 302 For the reasons described above
with respect to the Best Publication, the Best Tank’s suction manifold and holes also satisfies
limitation 1.3.

     280. It is thus my opinion that under MGT’s interpretation of the claim scope as reflected in
its Final Infringement Contentions the Best References each disclose or embody limitation 1.3.

Limitation 1.4: “a primary circulation facility adapted to circulate the dielectric fluid through
the tank, comprising:”

    281. It is my opinion that the Best References each teach or embody the elements recited in
limitation 1.4.

         Best ‘463/Best ‘914

    282. Best ‘463 and Best ‘914 disclose the use of additional structures as part of a primary
circulation facility, such as pumps, to assist in circulating the dielectric through the tank and
system. Best ‘463 and Best ‘914 state “[a] pump, such as pump 330 in FIG. 2, may pump liquid


296
    See Best Publication at [0069].
297
    Id. at [0070].
298
    Id. at [0070].
299
    Id. at Figs. 6, 7A, [0069].
300
    Id. at [0069].
301
    Id. at [57], [0023], [0053], cls. 7-8, 16-17, 25-26.
302
    See Best Decl. ¶¶ 8-9; Pl.’s Supp. Resp. to Defs.’ Interrog. No. 13, Mar. 15, 2023 at 5; Boyd
Dep. 219:11-18; 220:14-222:23, Dec. 7, 2023.

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coolant from the external heat exchanger through the piping system into the tank 410 to maintain
coolant fluid circulation within the tank.” 303 The figures, including Figures 1A, 1B, and 2, also
depict the flow path of the dielectric fluid within the primary circulation facility of Best ‘463 and
Best ‘914.

         Best Publication/ Best Tank

    283. The Best Publication discloses “a primary circulation facility adapted to circulate the
dielectric fluid through the tank,” specifically a pump for pumping cooler dielectric liquid coolant
into the interior volume of the tank. 304 Therefore, it is my opinion that the pump described in the
Best Publication satisfies limitation 1.4 of the ‘457 patent.

   284. I understand that the flow of the dielectric fluid in the Best Tank is described in paragraphs
[0069] through [0073] of the Best Publication. 305 Furthermore, the Best Tank is described as
consisting of a pump module responsible for cooling and recirculating coolant through the tank. 306

      285. It is thus my opinion that the Best References each disclose or embody limitation 1.4.

Limitation 1.5: “a plenum, positioned adjacent the bottom of the tank, adapted to dispense the
dielectric fluid substantially uniformly upwardly through each appliance slot.”

    286. Under MGT’s interpretation of the claim scope as reflected in its Final Infringement
Contentions, which I disagree with, it is my opinion that the Best References each teach or embody
the elements recited in limitation 1.5.

    287. It is my understanding that the parties have agreed to a claim construction of the term
“plenum” as follows: “a structure for dispensing liquid.” 307 I have considered and used this
construction in my below analysis.

    288. However, in my below summary analysis, I have applied MGT’s interpretation of the
claim term “dispense the dielectric fluid substantially uniformly upwardly through each appliance
slot,” as applied in its Final Infringement Contentions.

         Best ‘463/Best ‘914

    289. Best ‘463 and Best ‘914 disclose an inlet pipe (e.g. 440, 540, 640, 740) that, in my
opinion, under MGT’s interpretation of the claim scope, constitutes a plenum or “a structure for
dispensing liquid.” 308 Best ‘463 and Best ‘914 teach that “[t]he system may include at least one
tank defining an interior volume and having a coolant inlet for receive a dielectric liquid coolant

303
    Best ‘463 at 15:9-12.
304
    Best Publication at [57], [0023], cls. 7, 16, 25.
305
    Best Decl. ¶ 8; see also Pl.’s Supp. Resp. to Defs.’ Interrog. No. 13, Mar. 15, 2023 at 5; Boyd
Dep. 219:11-18; 220:14-222:23, Dec. 7, 2023.
306
     Design - Green Revolution Cooling, RHOD0000899 at RHOD0000900; see also
RHOD0000796 (showing circulation of fluid through the tank).
307
    Joint Stipulation on Claim Construction, ECF No. 50.
308
    See, e.g., Best ‘463 at Figures 3-10.

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within the interior volume.” 309 “The inlet piping 540 is located near one end of one of the longer
sides of the rectangular tank near the bottom of the tank.” 310

    290. Under MGT’s interpretation of the claim scope as reflected in its Final Infringement
Contentions, the inlet piping, by virtue of the placement at the bottom of the tank, creates
substantially uniform pressure in the fluid layer below the electronic appliances and in turn would
facilitate substantially uniformly upward flow, if the fluid layer or volume is sufficiently large. I
also note that the Asserted Patents do not disclose or teach how to achieve a plenum adapted to
dispense the dielectric fluid substantially uniformly upwardly, as discussed further in the Written
Description and Enablement section below.

    291. Best ‘463 and Best ‘914 describe that the mounting members within the tank “may also
be configured to mount the servers in a server rack 470 above the bottom of the tank to create a
volume of liquid coolant between each respective server and the bottom of the tank such that the
flow of the dielectric liquid coolant through the servers is improved.” 311 In its preferred
embodiment, Best ‘463 and Best ‘914 identify that “the mounting members are configured to
mount the servers closely adjacent to one another in the server rack to restrict flow of the dielectric
liquid coolant between the vertically-oriented servers, such that the flow of the dielectric liquid
coolant through the servers is enhanced.” 312 Best ‘463 and Best ‘914 also describe the
configuration of the tank to “permit the liquid coolant heated by the heat generating components
in the servers to naturally rise through the servers and exit through the top or ‘front panel’ of the
servers.” 313 Thus, Best ‘463 and Best ‘914 each disclose that its plenum has been adapted to
dispense the dielectric fluid substantially uniformly upwardly through each appliance slot.

    292. It is also my understanding that during the prosecution history, the examiner indicated
that limitation 1.5 is taught by Best ‘463, citing to the “HL” portion in Figures 5-6 below. 314 I
understand that MGT did not traverse the examiner’s rejection with respect to these conclusions
or otherwise distinguish the plenum in the Asserted Claims from the plenum in Best ‘463.




309
    Best ‘463 at 4:36-37.
310
    Id. at 15:63-65.
311
    Id. at 14:65-15:3 (emphasis added).
312
    Id. at 15:3-8 (emphasis added).
313
    Id. at 15:17-20.
314
    ‘457 Patent Prosecution History at MIDAS0003497-99.

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                                        Figures 5-6 (annotated).

    293. I also understand that MGT did not attempt to distinguish the plenum as recited in
limitation 1.5 from the plenum disclosed in Best ‘463 in the IPR or PGR. 315

         Best Publication/Best Tank

    294. The Best Publication discloses “a structure for dispensing liquid.” It teaches a pressure
manifold, a structure for dispensing dielectric liquid coolant into the interior volume of a tank. The
pressure manifold is fluidly coupled to a coolant inlet. 316 The Best Publication provides that
“although the coolant inlet 612 and the coolant outlet 610 are on one side of the tank 600, the
invention is not thus restricted. The coolant inlet 612 and the coolant outlet 610 may be located on
any of the sides of the tank 600 as well as may each be located on a different side of the tank
600.” 317 A POSA would understand that it could modify the pressure manifold of the Best
Publication by positioning it at the bottom of the tank as a trivial design choice because doing so
would be simple, straightforward, and would provide little additional benefit.

    295. The pressure manifold has a plurality of flow augmentation devices for enhancing and
directing the flow of the dielectric liquid coolant inside the interior volume. 318 The Best
Publication explains that coolant flow is approximately equal along the length of the entire tank
because the “area A2 of the velocity augmentation devices along the length of the pressure manifold



315
    See generally, Immersion Systems LLC v. Midas Green Technologies, LLC, No. IPR2021-01176
(P.T.A.B. June 23, 2021); Immersion Systems LLC v. Midas Green Technologies, LLC, PGR2021-
00104 (PTAB July 26, 2021).
316
    Best Publication at [57], [0023], cls. 8, 17, 26.
317
    Id. at [0068].
318
    Id. at [57], [0023].

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is much smaller than the area A1 of the pressure manifold.” 319 As the dielectric liquid coolant
comes out of the velocity augmentation devices along the length of the pressure manifold it goes
around the outside of the computing systems, accelerates around the velocity augmentation
devices, flowing downward and then flows upward through the computing systems in the




mounting slots. 320



   296. I understand that the manifold of the Best Tank is approximately as described in Figures
7A and 7B of the Best Publication. 321

    297. Furthermore, the chamber below the server and adjacent the bottom of the Best Tank is a
plenum when it contains a volume of fluid. As illustrated above, the four arrows indicate a plenum
dispensing fluid in a uniform upward flow toward the servers. 322

    298. I further understand that MGT has admitted that “the Best Tank contains a ‘plenum’ as
recited in Claims 1, 6, and 11 of the ‘457 Patent” and “the Best Tank contains a ‘plenum’ as recited
in Claims 1 and 6 of the ’446 Patent.” 323

   299. Therefore, it is my opinion that the pressure manifold described in the Best Publication
and/or the chamber below the servers in the Best Tank satisfy limitation 1.5 of the ‘457 patent
under MGT’s interpretation of the claim scope as applied in its Final Infringement Contentions.

   300. It is thus my opinion that the Best References each disclose or embody limitation 1.5
under MGT’s interpretation of the claim scope as described in its Final Infringement Contentions.



319
    Id. at [0070].
320
    Id. at [0071]-[0072].
321
    Best Decl. ¶ 9; see also Pl.’s Supp. Resp. to Defs.’ Interrog. No. 13, Mar. 15, 2023 at 5; Boyd
Dep. 219:11-18; 220:14-222:23, Dec. 7, 2023.
322
    TACC00000065 at 4; Boyd Dep. 203:19-23; 295:4-10, Dec. 7, 2023.
323
    Pl.’s Resp. to Defs.’ Req. Admis. Nos. 18 & 19, Aug. 31, 2022.

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Limitation 1.6: “a secondary fluid circulation facility adapted to extract heat from the dielectric
fluid circulating in the primary circulation facility, and to dissipate to the environment the heat
so extracted;”

    301. It is my opinion that the Best References each teach or embody the elements recited in
limitation 1.6.

         Best ‘463/Best ‘914

   302. Best ‘463 and Best ‘914 disclose “a secondary fluid circulation facility adapted to extract
heat from the dielectric fluid circulating in the primary circulation facility, and to dissipate to the
environment the heat so extracted” as recited in limitation 1.6.

    303. The ‘457 patent identifies Best ‘463 as prior art that discloses secondary circulation
facilities, by stating “[s]imilarly, practitioners in the art will readily recognize that other, known
secondary circulation facilities may be employed effectively, including forced air, vapor
compression systems, earth-water sink loops, waste heat recovery and recycling systems and the
like (see, e.g., the several alternatives discussed in Best).” 324

    304. Best ‘463 and Best ‘914 disclose multiple embodiments which teach limitation 1.6. For
example, “FIG. 1A illustrates one embodiment of an exemplary system for efficiently cooling a
plurality of independently operable servers” and “FIG. 1B illustrates an alternative embodiment
of an exemplary system for efficient cooling a plurality of independently operable servers.” 325

   305. Additionally, Best ‘463 and Best ‘914 describe an alternate embodiment: “a secondary
cooling system having a cooling fluid flowing in a second fluid circuit wherein the secondary
cooling system rejects heat from the cooling fluid.” 326

    306. During examination of the ‘457 patent, the examiner concluded that Best ‘463 teaches
this limitation. I understand that MGT did not traverse the examiner’s rejection with respect to this
limitation. 327 I also understand that MGT did not argue that Best ‘463 does not disclose this
limitation in either the IPR or PGR.

      307. As such, it is my opinion that Best ‘463 and Best ‘914 each disclose limitation 1.6.

         Best Publication/Best Tank

    308. The Best Publication discloses “a secondary fluid circulation facility.” It teaches a
secondary cooling apparatus that rejects the heat from the dielectric liquid coolant in the tank and
dissipates it. 328 The secondary cooling apparatus contains a second cooling fluid and forms a



324
    ‘457 patent at 9:14-20; ‘446 patent at 9:17-23 (emphasis added).
325
    Best ‘463 at 7:26-32.
326
    Best ‘463 at 5:9-11.
327
    ‘457 Patent Prosecution History at MIDAS0003497-500.
328
    Best Publication at [57], [0019], [0053]-[0054], [0060].

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second fluid circuit. 329 Therefore, it is my opinion that the secondary cooling apparatus described
in the Best Publication satisfies limitation 1.6 of the ‘457 patent.




   309. I understand that that the Best Tank is an embodiment of the Best Publication. 330
Furthermore, the Best Tank is described as consisting of a pump module that draw heated coolant
from the and expels the excess heat through a specified heat-exchange method, and of final heat
exchanger that one of multiple options to reject heat from the coolant to the outside air. 331

      310. It is thus my opinion that the Best References each disclose or embody limitation 1.6.

Limitation 1.7: “a control facility adapted to coordinate the operation of the primary and
secondary fluid circulation facilities as a function of the temperature of the dielectric fluid in
the tank.”

     311. Under MGT’s interpretation of the claim scope as reflected in its Final Infringement
Contentions, it is my opinion that the Best References each teach or embody the elements recited
in limitation 1.7.

   312. I understand that MGT has not accused sensors that measure junction temperature as
meeting any claim limitation (nor do such sensors meet any claim limitation). 332 In the Background

329
    Id. at [0060].
330
    Best Decl. ¶¶ 6-9.
331
    Design - Green Revolution Cooling, RHOD0000899 at RHOD0000901.
332
    See generally, e.g., U.S. Patent No. 8,283,876B2; Bernie Siegal & Mark Berg, An Effective
Alternative for Marginal Thermal Improvements of Semiconductor Devices, Tenth IEEE Semi
Therm Synposium (1994); Thomas S. Tarter & Bernie Siegal, Application of thermal test chips to
stacked chip packages, 29th IEEE Semiconductor Thermal Measurement and Management
Symposium Year: 2013 13-22; Bernie Siegal, Practical Considerations in High Power LED
Junction Temperature Measurements, 2006 Thirty-First IEEE/CPMT International Electronics
Manufacturing Technology Symposium, Petaling Jaya, Malaysia, 62-66 (2006).

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of Technology, I discussed general methods of measuring temperature, in particular the
temperature of a liquid and the junction temperature of an electronic chip. I further pointed out
that although the chip junction temperature is dependent on the liquid coolant temperature, they
are distinct. In order to know the temperature of the fluid, directly, it is necessary to insert a
temperature measuring device, e.g. a sensor such as that shown in Figure 16 directly into the fluid
in the tank. A submerged insertion sensor of this type will be in intimate contact with the fluid and
will reach thermal equilibrium with the fluid, i.e. it will reach the same temperature. Hence, it will
measure the true fluid temperature. To the extent MGT does accuse such sensors of meeting any
claim limitation, I reserve right to amend my opinions.

         Best ‘463/Best ‘914

    313. In my opinion, under MGT’s interpretation of the claim scope, Best ‘463 discloses “a
control facility adapted to coordinate the operation of the primary and secondary fluid circulation
facilities as a function of temperature of the dielectric fluid in the tank” as recited in limitation 1.7.

    314. Best ‘463 and Best ‘914 describe controlling the operation and flow of the fluid within
the system via “a controller for monitoring the temperature of the dielectric liquid at least one
location within the fluid circuit and for adjusting the flow of the dielectric liquid coolant.” 333

    315. Furthermore, Best ‘463 and Best ‘914 disclose that “the system 100 includes a computer
controller 180 of conventional design with suitable novel applications software for implementing
the methods of the present invention” and that “the controller 180 may receive monitor signals of
various operational parameters from various components of the cooling system 100 and the
environment and may generate control signals to control various components of the cooling
system” in order to “maintain the heated liquid coolant exiting the servers in the tank at a specific
elevated temperature in order to sufficiently cool each of the servers.” 334

    316. Best ‘463 and Best ‘914 state: “[t]he controller 270 may also monitor the temperature of
the heat-generating electronic components in the servers in the server racks by electrically
connecting the controller to the diagnostic output signals generated by conventional rack
mountable servers. The controller may also monitor the flow and temperature of the cooling fluid
91 in the external fluid circuit 290.” 335

    317. Additionally, Best ‘463 and Best ‘914 state: “the controller 180 may output signals to the
heat rejection or cooling apparatus 250 to adjust the flow of the cooling liquid through the external
fluid circuit and the amount of heat being rejected by the heat rejection or cooling apparatus 250
for sufficiently cooling each respective server while maintaining the heated liquid coolant exiting
the servers at the elevated temperature to reduce the amount of energy consumed to sufficiently
cool each of the servers.” 336



333
    Best ‘463 at 4:56-58.
334
    Id. at 10:44-54.
335
    Id. at 11:61-67.
336
    Id. at 12:1-9.

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    318. Figure 17A identifies by the dashed-lines, which depict information being passed from
sensors in the primary and secondary circulation facilities and signals coming from the controller
(see Figures 1A, 1B, 2 and 15 which identify dashed-lines), that the controller performs the
functions controlling the operations of the primary and secondary circulation facilities and
coordinating their operation. The dashed-lines indicate the controller performing the following
functions: (a) “operationally enhancing fluid velocity of dielectric fluid through the servers;” (b)
“monitoring the temperature of the dielectric liquid and server electronic components and flow
rate of the dielectric liquid;” (c) “selecting the more efficient secondary cooling system to
minimize energy;” and (d) “adjusting the fluid flow of the secondary cooling apparatus.” 337




                                       Figure 17A (annotated).


337
      Id. at Fig.17A.

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    319. The function of “optionally enhancing fluid velocity of dielectric fluid through the
servers” relates to the dispensing of cool dielectric fluid within the tank, and therefore relates to
the primary circulation facility. The function of “monitoring the temperature of the dielectric liquid
and server electronic components and flow rate of the dielectric liquid” relates to flow of fluid
throughout the tank, and therefore relates to the primary circulation facility. The function of
“selecting the more efficient secondary cooling system to minimize energy usage” relates to
cooling the warm dielectric fluid after passing through the tank, and therefore relates to the
secondary circulation facility. The function of “adjusting the fluid flow of the secondary cooling
apparatus” relates to flow of dielectric fluid as it passes through the cooling apparatus, and
therefore relates to the secondary cooling facility.

    320. During examination of the ‘457 patent, the examiner concluded that Best ‘463 teaches
this limitation. I understand that MGT did not traverse the examiner’s rejection with respect to this
limitation. I also understand that MGT did not argue that Best ‘463 does not disclose this limitation
in either the IPR or PGR. 338

      321. Therefore, it is my opinion that Best ‘463 and Best ‘914 each disclose limitation 1.7.

         Best Publication/Best Tank

     322. The Best Publication discloses “a control facility” in the form of a controller. Specifically,
it teaches a controller to maintain the dielectric liquid at a specific temperature. 339 The controller
monitors the temperature of the dielectric liquid at least at one location within the fluid circuit, and
may also monitor the temperature of the heat generating electronic components in the computing
systems. Based on this information, the controller outputs signals to adjust the flow through the
primary fluid circuit of dielectric liquid as well as the amount of heat being rejected by the
secondary cooling apparatus. 340

   323. I understand that that the Best Tank is an embodiment of the Best Publication. 341
Furthermore, the Best Tank is described as consisting of a control module. The control module
manages coolant flow and heat-exchanger fan speed (of the secondary circulation facility or final
heat exchanger) or pump speed (of the primary circulation facility or pump module) using a closed-
loop temperature-control algorithm. 342

   324. Therefore, it is my opinion that the controller described in the Best Publication and Best
Tank satisfy limitation 1.7 of the ‘457 patent.



338
     See ‘457 Patent Prosecution History at MIDAS0003497-500, MIDAS0003483-3486; see
generally, Immersion Systems LLC v. Midas Green Technologies, LLC, No. IPR2021-01176
(P.T.A.B. June 23, 2021); Immersion Systems LLC v. Midas Green Technologies, LLC, PGR2021-
00104 (PTAB July 26, 2021).
339
    Best Publication at [0022].
340
    Id. at [0056], [0061]-[0063], cls. 5-6, 14-15, 23-224.
341
    Best Decl. ¶¶ 6-9.
342
    Design - Green Revolution Cooling, RHOD0000899 at RHOD0000901.

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    325. Accordingly, it is my opinion that the Best References each teach or embody the elements
recited in limitation 1.7.

Comparison of Claims 1, 6, and 11

    326. Claims 6 and 11 of the ‘457 patent repeat the limitations recited in claim 1, except with
the following differences:

      a. Claims 6 and 11 are directed to a “tank module” or “tank module (10)” adapted for use in
         an appliance immersion cooling system, rather than an appliance immersion cooling
         system. Claims 6 and 11 thus are directed to a subset of the elements recited in claim 1.
      b. In particular, claim 11 omits the words “overflow lip” in limitation 1.3, instead reciting “a
         weir 22, integrated horizontally into the long wall of the tank (10) adjacent all appliance
         slots (18), adapted to facilitate substantially uniform recovery of the dielectric fluid flowing
         through each appliance slot (18).”
      c. Claim 11 also does not recite limitation 1.4, “a dielectric fluid recovery reservoir positioned
         vertically beneath the overflow lip of the weir and adapted to receive the dielectric fluid as
         it flows over the weir.”
      d. Furthermore, claims 6 and 11 both omit limitation “secondary fluid circulation facility
         adapted to extract heat from the dielectric fluid circulating in the primary circulation
         facility, and to dissipate to the environment the heat so extracted” that is recited in
         limitation 1.6.
      e. Claims 6 and 11 further rephrase the “control facility” limitation 1.7 to remove the
         “secondary fluid circulation facility” element. Specifically, claims 6 and 11 recite “a
         secondary fluid circulation facility adapted to control the operation of the primary fluid
         circulation facility as a function of temperature of the dielectric fluid in the tank” and “a
         control facility (58) adapted to control the operation of the primary fluid circulation facility
         (28) as a function of the temperature of the dielectric fluid in the tank (10).” 343

Claim 6 and 11

    327. It is my opinion that despite these differences, the Best References disclose all the
limitations of claims 6 and 11. The below chart lists the limitations of claim 1 and the
corresponding limitations of claims 6 and 11. My above summary of my analysis of the limitations
of claim 1 apply equally to the corresponding limitations of claims 6 and 11, and I incorporate by
reference that analysis herein for claims 6 and 11. My full analysis is presented in the claim charts
attached hereto as Exhibits D-1 through D-9.


                   Claim 1                Claim 6                 Claim 11
                   Limitations            Limitations             Limitations
                   1.P                    6.P                     11.P
                   1.1                    6.1                     11.1
                   1.2                    6.2                     11.2
                   1.3                    6.3                     N/A

343
      Compare ‘457 patent at cl. 1 with id. at cls. 6, 11.

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                1.4                     6.4                     11.3
                1.5                     6.5                     11.4
                1.6                     N/A                     N/A
                1.7                     6.6                     11.5

Limitation 6.P/Limitation 11.P: “A tank module adapted for use in an appliance immersion
cooling system, the tank module comprising:”/A tank module (10) adapted for use in an
appliance immersion cooling system, the tank module comprising:

    328. To the extent, the preamble is limiting, a POSA would understand that the phrases “tank
module adapted for use in an appliance immersion cooling system” and “tank module (10) adapted
for use in an appliance immersion cooling system” have no unique meaning that would
differentiate it from the preamble in claim 1. It is thus my opinion that even if the preamble of
claims 6 and 11 were to be limiting, it would be found in the same disclosures identified as meeting
the elements of limitation 1.P. of claim 1.

Limitation 6.6/Limitation 11.6: “a control facility adapted to control the operation of the
primary fluid circulation facility as a function of the temperature of the dielectric fluid in the
tank.”/ “a control facility (58) adapted to control the operation of the primary fluid circulation
facility (28) as a function of the temperature of the dielectric fluid in the tank (10).”

    329. A POSA would understand that the language of claim 1 encompasses the language of
claims 6 and 11. Limitations 6.6 and 11.5 require a control facility that controls the operation only
of a primary fluid circulation facility as a function of the temperature. The control facility of
limitation 1.7 also coordinates the operation of the primary fluid circulation facility, in addition to
coordinating the operation of a secondary fluid circulation facility as a function of the temperature.
The control facility of claim 1 thus recites the elements of the control facility of claims 6 and 11.
In addition, a POSA would understand that “coordinate” to be synonymous with “control” in the
context of the language of the claims of the ‘457 patent, and thus the same analysis with respect to
the control facility of limitation 1.7 would also apply to the control facility of limitations 6.6 and
11.5.

    330. Because there are no additional limitations to claims 6 and 11 that were not already
discussed in claim 1, for at least the above reasons, it is my opinion that a POSA at the relevant
time would have understood the limitations of claims 6 and 11 to be disclosed, taught, or suggested
by each of the Best References.

Dependent Claims

Claim 2/Claim 7: “The system of claim 1 wherein the tank and primary circulation facility
comprise a highly-integrated module.”/ The module of claim 6 wherein the tank and primary
circulation facility comprise a highly-integrated module.”

    331. In my opinion, the Best References each disclose that “the tank and primary circulation
facility comprise a highly-integrated module” as recited in claims 2 and 7.

   332. I incorporate by reference my above analysis with respect to claim 1 herein.


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    333. Furthermore, as discussed above for limitations 1.1, 1.4, and 1.5, each of the Best
References discloses a tank and a primary circulation facility. Thus, for the reasons discussed for
limitations 1.1, 1.4, and 1.5, the Best References each satisfy the limitations of claims 2 and 7.

Claim 5/Claim 10/Claim 14: “The system of claim 1 wherein the control facility further comprises
a communication facility adapted to facilitate monitoring and control of the control facility from
a remote location.”/ “The module of claim 6 wherein the control facility further comprises a
communication facility adapted to facilitate monitoring and control of the control facility from a
remote location.”/“The module of claim 11 wherein the control facility further comprises a
communication facility (62, 64) adapted to facilitate monitoring and control of the control facility
from a remote location.”

   334. In my opinion, the Best References each disclose “[t]he system of claim 1 wherein the
control facility further comprises a communication facility adapted to facilitate monitoring and
control of the control facility from a remote location,” as recited in claims 5, 10, and 14.

      I incorporate by reference my above analysis with respect to claim 1 herein.

          Best ‘463/Best ‘914

    335. In addition to the above analysis, Best ‘463 and Best ‘914 disclose that “the system 100
includes a computer controller 180 of conventional design with suitable novel applications
software for implementing the methods of the present invention” and that “the controller 180 may
receive monitor signals of various operational parameters from various components of the cooling
system 100 and the environment and may generate control signals to control various components
of the cooling system.” 344

    336. Furthermore, Best ‘463 and Best ‘914 state: “[t]he controller 270 may also monitor the
temperature 94 of the heat-generating electronic components in the servers in the server racks by
electrically connecting the controller to the diagnostic output signals generated by conventional
rack mountable servers. The controller may also monitor the flow and temperature of the cooling
fluid in the external fluid circuit 290.” 345

   337. The monitoring and controlling functions and associated structures in Best ‘463 and
Best ‘914 are depicted in Figure 17A, indicated for example by items 30, 32, 40, and 44.




344
      Best ‘463 at 10:44-54 (emphasis added).
345
      Id. at 11:61-67 (emphasis added).

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                                          Figure 17A (annotated).

    338. Best ‘463 and Best ‘914 disclose a communication facility for monitoring in describing
that “the controller 180 may receive monitor signals of various operational parameters from
various components of the cooling system 100 and the environment and may generate control
signals to control various components of the cooling system” 346

    339. Best ‘463 and Best ‘914 likewise contemplate being able to remotely communicate with
the control the system as “fluid valve 390 may be remotely controlled to connect the heated liquid
95 coolant being pumped through the collection piping from tank 310 to a controller-selected one
of alternative remotely or distally located heat exchangers.” 347

   340. It is my opinion that Best ‘463 and Best ‘914 disclose that the controller was adapted to
communicate with the cooling system in Best ‘463, thereby controlling it from a remote location.

    341. The controller of Best ‘463 and Best ‘914 could be placed in any location thus comprising
a communication facility adapted to facilitate monitoring and control of the control facility from a
remote location. The Asserted Patents identify that the communication facility may use “a
conventional data communication hardware module 64, e.g., an ethernet card implementing the
TCP/IP protocol, a modern web browser can be adapted to provide a graphical user interface
(“GUI”) with sufficient functionality to facilitate monitoring and control of an entire installation




346
      Id. at 10:44-54.
347
      Id. at 13:25-29 (emphasis added).

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from a remote location. Such a GUI may be implemented using any of a number of programming
paradigms, e.g., PHP, .NET and the like.” 348

    342. The use of ethernet cards to communicate with the controller of immersion systems as
well as the creation of a graphical user interface to assist in monitoring and communicating control
signals to the immersion system was well known within the art of cooling electronic appliances,
including immersion cooling, such as presented in Best ‘463 and Best ‘914. This technology is
remote control, as used in claim 5.

    343. Best ‘463 and Best ‘914 state that Figure 13 “may have cable trays 840 mounted along
two sides of the tank 810 paralleling the sides of the server racks 830 and 832 to organize the signal
and control network cabling 842 from the servers to the controller and other computers in the data
center and beyond.” 349 Figure 13 of Best ‘463 and Best ‘914 specifically identifies the use of
ethernet or fiber connection for providing such communication capabilities.




                                             Figure 13.

    344. I understand that the examiner also agreed that Best ‘463 disclosed such a remote
communication system, rejecting claim 5 in office actions consistently from November 4, 2016
until June 11, 2018, and that MGT did not traverse the examiner rejection with respect to this
claim. 350 I also understand that MGT did not argue that Best ‘463 does not disclose this limitation
in either the IPR or PGR. 351




348
    ‘457 patent at 6:14-21; ‘446 Patent, 6:16-23.
349
    Best ‘463 at 18:52-57.
350
    See, e.g., ‘457 Patent Prosecution History at MIDAS0003499-500.
351
    See generally, Immersion Systems LLC v. Midas Green Technologies, LLC, No. IPR2021-01176
(P.T.A.B. June 23, 2021); Immersion Systems LLC v. Midas Green Technologies, LLC, PGR2021-
00104 (PTAB July 26, 2021).

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    345. Therefore, in my opinion, Best ‘463 and Best ‘914 disclose the limitations of claims 5,
10, and 14.

         Best Publication/Best Tank

    346. In addition to the above analysis with respect to limitation 1.7, the Best Publication
discloses a controller that “receive[s] monitor signals of various operational parameters from
various components of the cooling system 200 and the environment and may generate control
signals to control various components of the cooling system 200 to maintain the heated liquid
coolant exiting the servers in the tank at a specific elevated temperature,” and “output[s] signals
to the pump 212 and heat rejection or cooling apparatus 218 to adjust the flow of the liquid coolant
through the fluid circuit and the amount of the heat being rejected by the heat rejection or cooling
apparatus.” 352In my opinion, the signals disclosed in Best the Publication constitute a
communication facility as recited in claims.

    347. The Best Tank also discloses a control module described as being capable of smart
monitoring and diagnostics. The control module also provides email and Simple Network
Management Protocol (“SMNP”) diagnostic alerts about the status and condition of the Best
Tank. 353 In my opinion, these alerts and emails constitute and require a communication facility and
allow for remote monitoring of the outputs of the control module.

    348. According, in my opinion, the Best References each disclose the limitations of claims 5,
10, and 14.

Claim 15: “An appliance immersion cooling system comprising a tank module according to any
one of the preceding claims 11 through 14.”

    349. In my opinion, the Best References each disclose an appliance immersion cooling system
as recited in claim 15. Specifically, I incorporate by reference my above analysis with respect to
claims 11 and 14 herein.

Opinions Regarding the ‘446 Patent

    350. I have read and analyzed the ‘446 patent against the prior art. Based on my review of the
prior art, and in light of the parties’ Joint Stipulation on Claim Construction, it is my opinion that
every limitation recited in the Asserted Claims of the ‘446 patent is included, either explicitly or
inherently, in the Best References. My full analysis of these prior art references is presented in the
claim charts attached hereto as Exhibits E-1 through E-9. Below is a summary of the attached
claim charts.




352
      Best Publication at [0056], [0061], [0063].
353
      Design - Green Revolution Cooling, RHOD0000899 at RHOD0000901.

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Independent Claims

Claim 1

   351. Claim 1 of the ‘446 patent replicates claim 1 of the ‘457 patent, except that it:

   a. Omits the words “overflow lip” from limitation 1.2, reciting instead, “a weir, integrated
      horizontally into the long wall of the tank adjacent all appliance slots, adapted to facilitate
      substantially uniform recovery of the dielectric fluid flowing through each appliance slot.”

   b. Omits limitation 1.3, “a dielectric fluid recovery reservoir positioned vertically beneath the
      overflow lip of the weir and adapted to receive the dielectric fluid as it flows over the weir.”

    352. I therefore incorporate by reference that analysis from claim 1 of the ‘457 patent herein
for claim 1 of the ‘446 patent. Because there are no additional limitations to claim 1 of the ‘446
patent that were not already discussed in claim 1 of the ‘457 patent, it is my opinion that for at
least these reasons the limitations of claim 1 of the ‘446 patent are expressly disclosed by the each
of the Best References.

Claim 6

   353. Claims 6 of the ‘446 patent repeat the limitations recited in claim 1 of the ‘457 patent,
except with the following differences:

   a. Omits the words “overflow lip” from limitation 1.2, thus reciting, “a weir, integrated
      horizontally into the long wall of the tank adjacent all appliance slots, adapted to facilitate
      substantially uniform recovery of the dielectric fluid flowing through each appliance slot.”

   b. Omits limitation 1.3, “a dielectric fluid recovery reservoir positioned vertically beneath the
      overflow lip of the weir and adapted to receive the dielectric fluid as it flows over the weir.”

   c. Omits limitation 1.6, “a secondary fluid circulation facility adapted to extract heat from the
      dielectric fluid circulating in the primary circulation facility, and to dissipate to the
      environment the heat so extracted.”

    354. My analysis of claim of the ‘457 patent thus applies equally to the limitations of claim 6
of the ‘446 patent. Because the phrase “tank module adapted for use in an appliance immersion
cooling system” has no unique meaning that would differentiate it from the preamble in claim 1 of
the ‘446 patent, even if the preamble of this claim were to be limiting, it would be found in the
same features identified in the Best References with respect to an “appliance immersion cooling
system” found in claim 1 of the ‘457 and ‘446 patents.

    355. Additionally, because “coordinate” is synonymous with “control” in the context of the
language of the claims of the ‘446 patent, the same analysis with respect to the control facility (i.e.
limitation 1.7) would also apply here to disclose the limitation in this claim. Even if the language
were not synonymous, limitation 1.7 discloses that the primary circulation facility and the
temperature of the fluid therein is controlled by the control facility.



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    356. Because there are no additional limitations to claim 6 of the ‘446 patent that were not
already discussed in claim 1 of the ‘457 patent, it is my opinion that for at least these reasons the
limitations of claim 6 of the ‘446 patent are disclosed by each of the Best References.

Dependent Claims

Claim 2/Claim 7: “The system of claim 1 wherein the tank and primary circulation facility
comprise a tightly co-located module.”/“The module of claim 6 wherein the tank and primary
circulation facility comprise a tightly co-located module.”

    357. Claims 2 and 7 of the ‘446 patent replicate claims 2 and 7 of the ‘457 patent, respectively.
My analysis of these claims with respect to the ‘457 patent applies equally to the respective claims
of the ‘446 patent, and I incorporate it by reference here. It is thus my opinion that the Best
References each teach the elements of the asserted dependent claims of the ‘446 patent.

Claim 5/Claim 10: “The system of claim 1 wherein the control facility further comprises a
communication facility adapted to facilitate monitoring and control of the control facility from a
remote location.”/“The module of claim 6 wherein the control facility further comprises a
communication facility adapted to facilitate monitoring and control of the control facility from a
remote location.”

    358. Claims 5 and 10 of the ‘446 patent replicate claims 5 and 10 of the ‘457 patent,
respectively. My analysis of these claims with respect to the ‘457 patent applies equally to the
respective claims of the ‘446 patent, and I incorporate it by reference here. It is thus my opinion
that the Best References disclose each element of claims 5 and 10 of the ‘446 patent.

OBVIOUSNESS

Motivation to Combine

   359. In my opinion, it would have been obvious to a POSA to combine the teachings of two or
more of Best ‘463, the Best Publication, the Best Tank, Oktay ‘244, JP ‘758, the Pfahnl Publication,
Krajewski ‘511, Gryzhin ‘013, Best ‘914, Rolfson ‘298, Attlesey ‘419, and Quon ‘108.

    360. First, the references are analogous art, generally directed to liquid cooling systems for
electronic computing components. The Asserted Patents identify Krajewski ‘511, Cray’ 538, and
Best ‘463 as electronic computing components cooling systems, and more specifically, as
immersion cooling systems for cooling electronic components during normal operation. Krajewski
‘511 discloses “stacked CP boards surrounded on two sides by CMM boards stacked in
perpendicular planes [] submerged in a thermally conductive, electrically insulated bath to provide
sufficient cooling of the boards during operation.” Cray’ 538, which Krajewski ‘511 incorporates
by reference, 354 describes “[a]n immersion cooling system for high density electronic assemblies
such as computers includ[ing] a container holding an inlet cooling liquid, and stacks of circuit
modules arranged in a generally radial pattern within the container.” The Best References are

354
   To the extent that the incorporation by reference into Krajewski ‘511 of Cray ‘538 does not
render them available as a single reference, then the explicit reference by Krajewski ‘511 to
Cray ‘538 would offer a clear and express suggestion to combine the references to a POSA.

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similarly directed to or embody apparatus, systems, and methods for cooling computing
components immersed or submerged in a dielectric liquid coolant.

     361. Oktay ‘244, Gryzhin ‘013, and Attlesey ‘419 are also each directed to liquid submersion
or immersion cooling systems. 355 Rolfson ‘298, JP ‘758, and Quon ‘108 disclose immersion
cooling systems for specific applications. Rolfson ‘298 teaches a liquid bath apparatus for use in
semiconductor fabrication, wherein a surface of a substrate that ultimately forms electrical devices
and paths is exposed to a circulating liquid bath. 356 JP ‘758 teaches an apparatus for cooling an
electronic circuit component, such as a semiconductor device, immersed in a liquid coolant and
performing a bias test. 357 Quon ‘108 is directed to a system for cooling an electronic semiconductor
power module consisting of a dielectric liquid coolant flowing over the module. 358 The Pfahnl
Application teaches a system for air cooling orthogonally oriented arrays of parallel circuit boards.
While it does not teach a liquid immersion cooling system specifically, it acknowledges that prior
art liquid cooling systems may be used in conjunction with air cooling systems. 359 Furthermore it
teaches the use of inflow and outflow plenums in the flow management system.

    362. Second, the combinations of the references represent the selection of known techniques
to known devices to arrive at a predictable solution. In particular, the combinations of the
references solve the problems identified in the Asserted Patents. The Asserted Patents identify the
following problems with the prior art: (1) use of vertical-stack-type system; (2) conserving floor
space; (3) non-uniform flow patterns; (4) constricted dielectric fluid supply and return ports; (5)
poor scalability; and (6) inadequate attention to fail-soft operation. 360

    363. The Asserted Patents acknowledge that solutions to the identified problems already
existed in the prior art. For example, the Asserted Patents state that a solution to the problem
associated with the use of vertical-stack-type systems is to “immerse circuit assemblies vertically
into a tank containing the cooling fluid such that each of the various assemblies can be withdrawn
independently from the tank for servicing, replacement, upgrade, etc.” 361 The Asserted Patents
identify Puget as disclosing an example of this solution, but under MGT’s interpretation of the
claim scope as described in its Final Infringement Contentions, the Best References, Okay ‘244,
Gryzhin ‘013, Quon ‘108, and JP ‘758 each disclose immersing electronic computing appliances
vertically into dielectric coolant. The vertical servers are shown, for example, in Figures 10
through 14 of Best ‘463 and Best ‘914, Figures 3 and 6 of the Best Publication, Figure 1 of
Okay ‘244, 362 Figure 1 of JP ‘758, 363 Figure 1 of Quon ‘108, 364 Figures 3A, 8A, and 9 of

355
    See, e.g., Oktay ‘244 at 1:10-24, Fig. 2; Gryzhin ‘013 at 8:3-5, Figs. 1, 2; Attlesey ‘419 at [57],
Figs. 13A and 13B.
356
    See, e.g., Rolfson ‘298 at 3:50-62, Fig. 1.
357
    See, e.g., JP ‘758 at [0001], [0008], Fig. 1.
358
    See, e.g., Quon ‘108 at cl. 1, [57], 1:6-12, Fig. 1.
359
    Pfahnl Application at [57], [0010]-[0011].
360
    Id. at 2:23-37.
361
    ‘457 patent at 2:3-6; ‘446 patent at 5-9.
362
    Okay ‘244 at Fig. 1 (31).
363
    JP ‘758 at Fig. 1 (10).
364
    Quon ‘538 at Fig. 1 (30), 1:60-64 (“It is another purpose and advantage of this invention to
position the die and its substrate in a vertical orientation.”)

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Attlesey ‘419, 365 and in the Best Tank. 366 The combination of one or more of the Best References,
Quon ‘108, Oktay ‘244, and JP ‘758 with one or more of Pfahnl Publication, Gryzhin ‘013,
Rolfson ‘298, and Krajewski ‘511, incorporating Cray ‘538, to achieve the claimed invention of
the Asserted Patents represents applying known techniques to known devices to arrive at a
predictable solution. A POSA would have been capable of applying the use of vertical servers to
these references to yield results predictable to a POSA.

    364. The Asserted Patents identify “floor space” as being a concern dictating a “modular
configuration.” 367 The Asserted Patents identify placing a fluid recovery reservoir directly beneath
a weir as a solution. 368 Under MGT’s interpretation of the claim scope as described in its Final
Infringement Contentions, the Best References, Oktay ‘244, JP ‘758, Krajewski ‘511, and Rolfson
‘298 each discloses a fluid recovery reservoir directly beneath a weir. As discussed above, the Best
References each disclose a fluid recovery reservoir directly beneath a weir. 369 Oktay ‘244, JP ‘758,
Krajewski ‘511, and Rolfson ‘298 also implements designs with a reservoir beneath a weir or
overflow orifice. This design is depicted in, for example, Figure 1 of Krajewski ‘511 and Figures
2, 3, 12, and 14 of Cray ‘538, Figure 1 of JP ‘758, and Figures 1 and 5 of Rolfson ‘298. In addition,
Oktay ‘244 implemented a design exploiting gravity and a vertically arranged reservoir to maintain
a compact footprint. As Oktay ‘244 states, “[a] pool of liquid 93 collects, above the bottom wall
of enclosure 85. This pool 93 is maintained level by a suitably-controlled pump 97 which draws
the liquid through heat exchanger 99.” 370 The combination of one or more of Best ‘463, Best ‘914,
the Best Publication, the Best Tank, Oktay ‘244, JP ‘758, Krajewski ‘511, and Rolfson ‘298 with
one or more of the Pfahnl Publication, Gryzhin ‘013, Attlesey ‘419, and Quon ‘108 represents
applying known techniques to known devices to arrive at a predictable solution. A POSA would
have been capable of applying the use of a fluid recovery reservoir directly beneath a weir to these
references to yield results predictable to a POSA.

    365. The Asserted Patents identify Best ‘463 as suffering from non-uniform flow patterns;
constricted dielectric fluid supply and return ports; poor scalability; and inadequate attention to
fail-soft operation. 371 The solutions offered by the Asserted Patents had already been identified in
the art for application to immersion cooling. For example, Oktay ‘244, Gryzhin ‘013, Rolfson
‘298, and JP ‘758 describe an overflow weir. And “dribbling down” the walls as described in Oktay
‘244 and taught in Gryzhin ‘013, Rolfson ‘298, and JP ‘758 would assure a POSA that no excessive
velocity issues were encountered.

    366. The “system-wide redundancy” discussed by the Asserted Patents appears to be a
reference to little more than common concepts of design redundancy, which, in any event, are not
claimed.


365
    Attlesey ‘419 at Figs. 3A, 8A , 9 (30).
366
    Design - Green Revolution Cooling at RHOD0000899 (describing a rack system that accepts
servers vertically rather than horizontally.
367
    ‘457 patent at 8:65-66; ‘446 patent at 9:1-3.
368
    ‘457 patent at 4:27-36; ‘446 patent at 4:29-38.
369
    Best ‘463 at 4:45-46; 18:23-29; Best Publication at Figs. 6, 7A, [0069]-[0070].
370
    Oktay ‘511 at 3:50-57 (emphasis added).
371
    ‘457 patent at 3:32-33; ‘446 patent at 3:35-37.

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    367. The Asserted Patents appears to draw its claim for modular scalability from the vertical
weir/reservoir arrangement. This weir/reservoir arrangement was well-known. In fact, this
achievement is in fact a significant innovation of the Cray-2 design, which the Asserted Patents
points out corresponds to Cray ‘538. 372 The inclusion of a reservoir is a common and obvious
choice in systems, including the immersion cooling systems disclosed in Best Tank, Best
Publication, Oktay ‘244, Gryzhin ‘013, Rolfson ‘298, and JP ‘758, and provides the benefit of both
a reserve of fluid (as is the nature of a reservoir) and maintaining sufficient head pressure to enable
pumping of the fluid to a heat exchanger or back through the apparatus. The placement of a
reservoir vertically below a weir is an obvious exploitation of gravity, which permits collection of
fluid at the base of the weir without substantial additional configuration.

    368. The existence of a rationale to combine references (with respect to all grounds presented)
is supported by the file history in this case. The examiner identified Best ‘463 in combination with
other immersion cooling apparatuses in the November 4, 2016 and May 17, 2017 rejections (Best
‘463 in combination with Pfahnl Application), and the June 11, 2018 rejection (Best ‘463 with JP
‘100). In the applicant’s January 31, 2017 and August 24, 2017 responses, and the notes of any
interviews, to my knowledge, the applicant never argued that a POSA would not combine any of
Best ‘463, Pfahnl Application, or JP ‘100. The Best Publication, the Best Tank, Oktay ‘244, JP
‘758, Krajewski ‘511, Gryzhin ‘013, Best ‘914, Rolfson ‘298, Attlesey ‘419, and Quon ‘108 are
analogous art to Best ‘463.

    369. Third, a POSA would have a strong expectation of success in the identified combinations,
which would be obvious to try. To the extent, the Best ‘463 does not implement the weir/reservoir
and/or plenum arrangement as claimed in the Asserted Patents, this is simply an issue of design
consideration. The prior art demonstrates that when such a design consideration is present, the
weir/reservoir arrangement solution offered by the Best Publication, the Best Tank, Oktay ‘244, JP
‘758, Krajewski ‘511, and Rolfson ‘298 would have been an obvious option for a POSA to try with
a reasonable expectation of success. Likewise, the plenum arrangement solution offered by the
Best Publication, the Best Tank, Krajewski ‘511, Gryzhin ‘013, Rolfson ‘298, Quon ‘108, and
Attlesey ‘419 would have been an obvious option for a POSA to try with a reasonable expectation
of success.

    370. Furthermore, the abundance of other skilled artisans arriving at the very same weir and
reservoir and/or plenum arrangement as the Asserted Patents, including the Best Publication, the
Best Tank, Oktay ‘244, JP ‘758, the Pfahnl Publication, Krajewski ‘511, Gryzhin ‘013, 373 Rolfson
‘298, Attlesey ‘419, and Quon ‘108, demonstrate that a POSA would find such a design approach
obvious.

   371. At least for the above reasons, a POSA have been motivated to combine two or more of
Best ‘463, the Best Publication, the Best Tank, Oktay ‘244, JP ‘758, the Pfahnl Publication,
Krajewski ‘511, Gryzhin ‘013, Best ‘914, Rolfson ‘298, Attlesey ‘419, and Quon ‘108. For

372
   Cray ‘538 at 1:33-53.
373
   To the extent Gryzhin ‘013 is not prior art, it exemplifies the capability of other artisans.
Gryzhin ‘013 demonstrates use of a modular configuration using vertically slotted electrical
appliances immersed in dielectric fluid, flowing over a weir and into a reservoir vertically beneath
was known in the art, reinforcing that such a design approach would be obvious.

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example, it would have been obvious to a POSA to combine Best ‘463 or the Best Publication with
JP ‘758 or Oktay ‘244 and Quon ‘108 because the references are analogous art; the combination
of the references represent the selection of known techniques to known devices to arrive at a
predictable solution; and the combination of the references would be obvious to try with a
reasonable expectation of success.

    372. In addition, in view of the state of the art at the time, a POSA would have had a reasonable
expectation of success in modifying Best ‘463, Best Publication, Best Tank, Krajewski ‘511, Oktay
‘244, Gryzhin ‘013, Oktay ‘244, JP ‘758, Pfahnl Application, or Best ‘914 with the teachings of
one or more of Best ‘463, the Best Publication, the Best Tank, Krajewski ‘511, Oktay ‘244,
Gryzhin ‘013, Oktay ‘244, JP ‘758, the Pfahnl Application, Best ‘914, Rolfson ‘298, Attlesey ‘419,
or Quon ‘108 for the following reasons.

    373. A POSA would have been motivated to combine the teachings of these references given
that the use of liquid cooling versus air cooling is known to better cool electronic computing
components, and would lead to more efficient and effective cooling. This would be seen as a benefit
to a POSA working within the framework of Best ‘463, the Best Publication, the Best Tank,
Krajewski ‘511, Oktay ‘244, Gryzhin ‘013, Oktay ‘244, JP ‘758, the Pfahnl Application, or Best
‘914.

    374. A POSA would have been motivated to combine the teachings of Krajewski ‘511 or the
Pfahnl Application with the teachings of one or more of Best ‘463, the Best Publication, the Best
Tank, Gryzhin ‘013, Oktay ‘244, JP ‘758, or Best ‘914 because placing all the immersed electronic
computing devices in the same orientation (e.g. transverse to the long wall of the tank), would lead
to more consistent, and more effective, cooling. This would be seen as a benefit to a POSA in view
of the teachings of Krajewski ‘511 or the Pfahnl Application.

    375. A POSA would have been motivated to combine the teachings of Best ‘463, Best
Publication, Best Tank, Krajewski ‘511, Gryzhin ‘013, Oktay ‘244, JP ‘758, Pfahnl Application,
or Best ‘914 with the teachings of one or more of Best ‘463, the Best Publication, the Best Tank,
Krajewski ‘511, Gryzhin, JP ‘758, or Best ‘914 because allowing for multiple appliance slots would
increase the number of appliances that can be cooled in one tank, thereby decreasing the number
of tanks required to cool a plurality of appliances. This would be seen as a benefit to a POSA
working within the framework of Best ‘463, the Best Publication, the Best Tank, Krajewski ‘511,
Gryzhin ‘013, Oktay ‘244, JP ‘758, the Pfahnl Application, or Best ‘914.

    376. A POSA would have been motivated to combine the teachings of Best ‘463, the Best
Publication, the Best Tank, Krajewski ‘511, Gryzhin ‘013, Oktay ‘244, JP ‘758, the Pfahnl
Application, or Best ‘914 with the teachings of one or more of Best ‘463, the Best Publication, the
Best Tank, Gryzhin ‘013, Oktay ‘244, JP ‘758, the Pfahnl Application, Best ‘914, or Rolfson ‘298
because the use of a weir, or overflow lip, adapted to facilitate substantially uniform flow of air, or
dielectric fluid, would increase efficiency in the overall flow of air, or dielectric fluid in the tank,
thereby promoting more efficient cooling and higher processing speeds. This would be seen as a
benefit to a POSA in view of the teachings of Best ‘463, the Best Publication, the Best Tank,
Krajewski ‘511, Gryzhin ‘013, Oktay ‘244, JP ‘758, the Pfahnl Application, or Best ‘914.




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    377. A POSA would have been motivated to combine the teachings of Best ‘463, Best
Publication, Best Tank, Krajewski ‘511, Gryzhin ‘013, Oktay ‘244, JP ‘758, Pfahnl Application,
or Best ‘914 with the teachings of Attlesey ‘419 because the use of a hot liquid coolant outlet
positioned at the top of the tank for passage into a heat exchanger, adapted to facilitate substantially
uniform flow, and recovery, of dielectric fluid would increase efficiency in the overall flow of
dielectric fluid in the tank, thereby promoting more efficient cooling and higher processing speeds.
This would be seen as a benefit to a POSA in view of the teachings of Best ‘463, the Best
Publication, the Best Tank, Krajewski ‘511, Gryzhin ‘013, Oktay ‘244, JP ‘758, the Pfahnl
Application, or Best ‘914.

    378. A POSA would have been motivated to combine the teachings of Best ‘463, the Best
Publication, the Best Tank, Krajewski ‘511, Gryzhin ‘013, Oktay ‘244, JP ‘758, the Pfahnl
Application, or Best ‘914 with the teachings of Best ‘463, the Best Publication, the Best Tank,
Krajewski ‘511, Gryzhin ‘013, Oktay ‘244, JP ‘758, or Best ‘914 because a separate heated coolant
recovery reservoir and recirculation of liquid coolant outside of the primary cooling circuit would
ensure that the dielectric fluid passing through the electronic computing components would stay
sufficiently cool, and therefore promote more efficient and effective cooling and higher processing
speeds of the electronic computer components. Such a modification would also improve the flow
of the dielectric fluid evenly through the plurality of electronic components, allowing for
consistent cooling throughout the tank. This would be seen as a benefit to a POSA in view of the
teachings of Best ‘463, the Best Publication, the Best Tank, Krajewski ‘511, Gryzhin ‘013, Oktay
‘244, JP ‘758, the Pfahnl Application, or Best ‘914.

    379. A POSA would have been motivated to combine the teachings of Best ‘463, the Best
Publication, the Best Tank, Krajewski ‘511, Gryzhin ‘013, Oktay ‘244, JP ‘758, the Pfahnl
Application, or Best ‘914 with the teachings of one or more of Best ‘463, the Best Publication, the
Best Tank, Krajewski ‘511, the Pfahnl Application, Gryzhin ‘013, Best ‘914, Rolfson ‘298,
Attlesey ‘419, or Quon ‘108 because the use of fans or a plenum to circulate air or dielectric fluid
would serve to increase the flow of the cooling material such that it would overflow the tank and
cool the electronic devices therein. In addition, such a modification would increase the mixing of
the dielectric liquid coolant within the tank and improve the flow of the fluid through the plurality
of electronic components. This would have been seen as a benefit to a POSA working within the
framework of Best ‘463, the Best Publication, the Best Tank, Krajewski ‘511, Gryzhin ‘013, Oktay
‘244, JP ‘758, the Pfahnl Application, or Best ‘914.

    380. A POSA would have been motivated to combine the teachings of Best ‘463, the Best
Publication, the Best Tank, Krajewski ‘511, Gryzhin ‘013, Oktay ‘244, JP ‘758, the Pfahnl
Application, or Best ‘914 with the teachings of one or more of Best ‘463, the Best Publication, the
Best Tank, Krajewski ‘511, Cray ‘538, Gryzhin ‘013, Oktay ‘244, JP ‘758, Pfahnl Application, or
Best ‘914 because the use of liquid cooling versus air cooling, as well as a secondary circulation
facility would ensure more efficient and effective cooling in the tank through the primary fluid
circulation circuit which, in turn, would improve processing speeds. This would have been seen as
a benefit to a POSA working within the framework of Best ‘463, the Best Publication, the Best
Tank, Krajewski ‘511, Gryzhin ‘013, Oktay ‘244, JP ‘758, the Pfahnl Application, or Best ‘914.

   381. A POSA would have been motivated to combine the teachings of Best ‘463, the Best
Publication, the Best Tank, Krajewski ‘511, Oktay ‘244, Gryzhin ‘013, Oktay ‘244, the Pfahnl


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Application, or Best ‘914 with the teachings of one or more of Best ‘463, the Best Publication, the
Best Tank, Oktay ‘244, JP ‘758, or Best ‘914 because the use of a control system would reduce the
amount of energy consumed to sufficiently cool the computing systems and provide for more
effective cooling, which, in turn, would improve processing speeds. For example, Best ‘463
demonstrates the benefits of using such a system, including so that the temperature in the tank can
be monitored and controlled. Given that the stated purpose of JP ‘758 was to “increase the
reliability of bias temperature tests,” 374 in part by installing an insulation sensor for detecting an
insulation resistance of a cooling liquid, 375 a POSA would be motivated to create even more control
over the system. Furthermore, a controller is standard equipment that would fit into the system
already provided in Best ‘463, the Best Publication, the Best Tank, Krajewski ‘511, Oktay ‘244,
Gryzhin ‘013, Oktay ‘244, JP ‘758, the Pfahnl Application, or Best ‘914 with no more than routine
modifications. This would be seen as a benefit to a POSA working within the framework of the Best
‘463, the Best Publication, Best Tank, Krajewski ‘511, Oktay ‘244, Gryzhin ‘013, Oktay ‘244, the
Pfahnl Application, or Best ‘914.

    382. A POSA would have been motivated to combine the teachings of Best ‘463, the Best
Publication, the Best Tank, Krajewski ‘511, Oktay ‘244, Gryzhin ‘013, Oktay ‘244, JP ‘758, the
Pfahnl Application, or Best ‘914 with the teachings of one or more of Best ‘463, the Best
Publication, the Best Tank, Oktay ‘244, or Best ‘914 because the use of liquid cooling over air
cooling, as well as a control facility operable from a remote location would reduce the amount of
energy consumed to sufficiently cool the computing systems and provide for more effective
cooling, which, in turn, would improve processing speeds. This would be seen as a benefit to a POSA
in view of the teachings of Best ‘463, the Best Publication, the Best Tank, Krajewski ‘511, Oktay
‘244, Gryzhin ‘013, Oktay ‘244, JP ‘758, the Pfahnl Application, or Best ‘914.

    383. Therefore, in my opinion, it would have been obvious to a POSA to combine the teachings
of two or more of Best ‘463, the Best Publication, the Best Tank, Oktay ‘244, JP ‘758, the Pfahnl
Publication, Krajewski ‘511, Gryzhin ‘013, Best ‘914, Rolfson ‘298, Attlesey ‘419, and Quon ‘108.

Secondary Consideration

   384. I understand that in response to Rhodium’s Interrogatory No. 14 (“Interrogatory No. 14”),
MGT has asserted certain secondary considerations of nonobviousness. I have considered MGT’s
purported secondary considerations of non-obviousness, and it is my opinion that they do not refute
my above analysis on obviousness. I do not see any technical merit to MGT’s purported secondary
considerations that in my opinion establishes that the Asserted Patents’ purported invention was
nonobvious.

Copying by Others

   385. MGT has stated that copying by others of the purported invention is evidence of non-
obviousness. MGT’s response relating to its assertion of copying by others states:




374
      JP ‘758 at [0011].
375
      Id. at [0005].

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                  Copying by Rhodium (whether directly or indirectly), Immersion
                  Systems, GRC, Argo Blockchain, and by Engineered Fluids of
                  MGT’s patented technology is evidence of a secondary
                  consideration of non-obviousness. Industry players, including at
                  least the Defendants, have copied MGT’s patented technology
                  because it offers significant benefits in the efficiency of their Bitcoin
                  mining, leading to substantially increased revenue over non-
                  infringing alternatives. MGT’s inventions are now being used with
                  increasing frequency throughout the cryptocurrency mining
                  industry—both authorized and unauthorized—because of their
                  substantial benefits. 376

    386. MGT also identifies as evidence of copying by others: (1) Rhodium’s Rockdale, TX
Bitcoin mining facility; (2) Rhodium’s Temple, TX Bitcoin mining facility; (3) Rhodium’s Godly,
TX Bitcoin mining facility; (4) Engineered Fluids’ immersion cooling products; (5) GRC’s GEN
2 tank; and (6) Argo Blockchain’s immersion cooling Bitcoin facility in West TX. 377

    387. In my opinion, there is no nexus between alleged copying by others with the alleged
invention. While MGT has alleged there is copying by others of its purported invention, MGT has
not provided any evidence to substantiate such claims. In other words, MGT presents no evidence
that its competitors have actually copied MGT’s claimed invention, as opposed to simply
identifying that a mere similarity exists that are the result of independent development.

   388. To the contrary, I am not aware of any evidence in this matter to suggest that Rhodium
had knowledge of the Asserted Patents prior to development of the accused product, let alone that
Rhodium copied the purported invention. Further, although MGT specifically alleges that two
other entities, Engineered Fluids and GRC, have copied its purported invention, it does not provide
any evidence or explanation as to how these entities have copied the purported invention.

    389. Finally, MGT generally states, on information and belief, that Argo Blockchain copied
the purported invention. MGT again it does not provide any evidence or explanation as to how
Argo Blockchain has copied the purported invention.

   390. Therefore, it is my opinion that MGT has not shown copying by others with the claimed
invention.

Commercial Success

   391. MGT has alleged that the failure of others prior to the purported invention is evidence of
non-obviousness. MGT states the following:

                  MGT’s patented immersion cooling products have been a
                  resounding commercial success, leading to significant interest and
                  sales of MGT’s product. This success is due to the substantial
                  efficiency and operational improvements offered by the patented
376
      Pl.’s Supp. Resp. to Defs.’ Interrog. No. 14 , Mar. 13, 2023 at 4.
377
      See id. at 4-6.

                                                    132
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                    technology, which offers the significant efficiency benefits of
                    immersion cooling (as opposed to air-cooling), as well as the
                    operational efficiency benefits of MGT’s patented products (which
                    by use of the recited plenum and weir results in the uniform flow
                    and recovery of the cooling dielectric fluid through appliance slots,
                    leading to uniform cooling and the absence of operationally
                    obstructive “hot spots”). With respect to immersion cooling of
                    servers and related appliances used in data centers, MGT’s patented
                    products are now recognized and approved for use with appliances
                    of multiple manufacturers, including the following leading
                    technology companies with whom Midas partners: Dell, Lenovo,
                    Exuvi8, Edge Data Solutions, GPUnity, Modius, Alcatex, Inc.,
                    PCPC Direct, ITRenew, and others. With respect to immersion
                    cooling of specialized computer appliances used for cryptocurrency
                    mining, for example Bitcoin mining, MGT’s more recently
                    introduced patented immersion cooling products have been a near-
                    instant success. Midas has received, fulfilled, and made proposals
                    for a substantial number of high-volume orders placed for leading
                    cryptocurrency mining companies, as well as an even greater
                    number of lower-volume orders for smaller cryptocurrency mining
                    companies. 378

    392. MGT asserts that the nexus between its purported commercial success and the claimed
invention is “due to the substantial efficiency and operational improvements offered by the
patented technology, which offers the significant efficiency benefits of immersion cooling (as
opposed to air-cooling), as well as the operational efficiency benefits of Midas’ patented products
(which by use of the recited plenum and weir results in the uniform flow and recovery of the
cooling dielectric fluid through appliance slots, leading to uniform cooling and the absence of
operationally obstructive “hot spots”).” 379

   393. I have not seen documentation that would support MGT’s allegations of commercial
success tied to the claimed invention. To the extent the Asserted Patents have achieved the
commercial success that MGT alleges, I have seen no evidence that such commercial success is
due to the claimed invention described in the Asserted Claims.

    394. First, the alleged invention fails to adequately disclose the existence of a liquid layer of
dielectric fluid above the appliance slots, a vital aspect to achieve uniform cooling. As a result, the
purported invention would exhibit the “operationally obstructive ‘hot spots’” that MGT claims to
have solved.




378
      Id. at 6-7.
379
      Id.

                                                    133
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   395. Second, MGT asserts that its purported invention “offers the significant efficiency
benefits of immersion cooling (as opposed to air-cooling).” 380 However, the efficiency benefits of
immersion cooling versus air cooling had long been known in the art, as discussed above. 381

    396. Third, MGT asserts that the “operational efficiency benefits of Midas’ patented products
(which by use of the recited plenum and weir results in uniform flow and recovery of the dielectric
fluid through appliance slots, leading to uniform cooling and the absence of operationally
obstructive “hot spots”).” 382 However, as discussed in this report, the use of a plenum at the bottom
of an immersion cooling tank to produce substantially uniformly upward flow through appliance
slots followed by a weir that facilitates substantially uniform recovery was known and practiced
prior to MGT’s purported invention. In addition to the use of a plenum, the use of weirs at the top
of the tank were also well know, as discussed in this report. Finally, the prior art discloses systems
that would result in an “absence of operationally obstructive ‘hot spots.’” 383

    397. For example, the Best References, which each disclose a plenum, appliance slots, and
weir, would also exhibit a flow pattern to promote the elimination of “operationally obstructive
‘hot spots’.” Specifically, Best ‘463 identifies the existence fluid contained below the appliance
slots and a liquid layer of dielectric fluid above the appliance slots which enhances circulation and
cooling of through the appliance slots. Best ‘463 states:

               The mounting members may also be configured to mount the servers
               such that the top level 460 of liquid coolant completely submerges
               the top level 472 of the server rack 470 formed by the multiple
               servers 120. As a consequence, a volume of liquid coolant collects
               in a common manifold area above the server rack 470 to improve
               the circulation of the liquid coolant through the plurality of servers,
               thereby enhancing the cooling of each respective server. The
               mounting members may also 226 be configured to mount the servers
               in server rack 470 above the bottom of the tank to create a volume
               of liquid coolant between each respective server and the bottom of
               the tank such that the flow of the dielectric liquid coolant through
               the servers is improved. Preferably, the mounting members are
               configured to mount the servers closely adjacent to one another in
               the server rack to restrict the flow of the dielectric liquid coolant
               between the vertically-oriented servers, such that the flow of the
               dielectric liquid coolant through the servers is enhanced. 384

    398. As such, immersion systems existed well before MGT’s purported invention designed to
enhance the flow patterns of the dielectric fluid within the tank in order to promote the elimination
of “operationally obstructive ‘hot spots.’”


380
    Id. at 6.
381
    See supra Background of Technology, Immersion Cooling.
382
    Pl.’s Supp. Resp. to Defs.’ Interrog. No. 14 , Mar. 13, 2023 at 6-7.
383
    See supra Summary of Prior Art.
384
    Best ‘463, 14:58-15:8.

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    399. Therefore, there is no readily apparent reason why MGT’s systems offer any meaningful
competitive edge over the prior art, much less one that is attributable to the purported inventions
claimed in the Asserted Claims of the Asserted Patents.

    400. Thus, MGT has not demonstrated a nexus between the commercial success and the
alleged invention.

Failure of Others

   401. MGT has alleged that the failure of others prior to the purported invention is evidence of
non-obviousness. MGT states the following:

               Midas designed and built the very first commercial liquid immersion
               data center in the world, eventually incorporating the patented
               technologies, succeeding where others failed at making liquid
               immersion cooling commercially viable. Failure by others will be
               shown at least by: (1) The failures and undesirable operation of the
               GRC Gen1 tank and its associated cooling system. (2) The
               undesirable failures and operation of air-cooled enterprise systems
               and Bitcoin miner system. 385

    402. In my opinion, MGT’s response is contradicted by information discussed elsewhere in
this report showing that, at a minimum, GRC created “commercial liquid immersion data centers”
before MGT. For example, in 2010 well recognized scholar and inventor in the field of immersion
cooling, Phil Tuma, authored multiple articles discussing the use of immersion cooling in data
centers. 386

   403. Further, in 2011, GRC, who is the assignee of the Best References, implemented its
CarnotJet immersion cooling systems at a data center for the Texas Advanced Computing Center
in Austin, Texas. 387 In addition, in 2011, Intel utilized GRC’s CarnotJet system in its data
centers. 388 Moreover, GRC has apparently continued to enjoy commercial success for its
immersion cooling systems, through its relationship with Intel which continues today. 389 In fact,
MGT utilized GRC’s CarnotJet immersion cooling system (the Best Tank) in its data center prior




385
    Pl.’s Supp. Resp. to Defs.’ Interrog. No. 14, Mar. 13, 2023 at 8.
386
    See generally, P. E. Tuma, The merits of open bath immersion cooling of datacom equipment,
2010 26th Annual IEEE Semiconductor Thermal Measurement and Management Symposium
(SEMI-THERM), Santa Clara, CA, USA, 2010, pp. 123-131; Phil Tuma, Open Bath Immersion
Cooling In Data Centers: A New Twist On An Old Idea, Electronic Cooling (Volume 16, Number
4) Winter 2010, pp. 10-13, http://s3.electronics-cooling.com/issues/ECM_December2010.pdf.
387
    See DataCenter Knowledge, Submerged Servers: Green Revolution Cooling, RHOD0001067;
DataCenter Knowledge, Green Revolution’s Immersion Cooling in Action, RHOD0000880.
388
    See Intel does math on oil-dunk test for cooler servers, RHOD0001059.
389
     See Intel, White Paper: The Sustainable Data Center Transformation: Reducing Carbon
Footprint with Liquid Immersion Cooling, p. 8.

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to development of MGT’s purported invention. 390 Therefore, it appears that others, including GRC,
were ahead of MGT in building a data center utilizing immersion cooling.

   404. Likewise, MGT’s admits that the “patented technologies” were only “eventually” added
to MGT’s data centers. Nothing in this response or the sources cited therein show that MGT
succeeded where other have failed. 391

    405. Therefore, it is my opinion that there is no nexus between others’ purported failures and
the claimed invention.

Long-Felt Need

    406. MGT has alleged that the long-felt need for the purported invention is evidence of non-
obviousness. MGT identifies the following purported long-felt need: “The need for a commercially
viable alternative cooling method to the traditional air-cooling available in data centers has been
long recognized in the industry but was not accomplished until immersion cooling entered the
market. Midas’ patented innovations are a leading solution to an existing problem.” 392

    407. In my opinion, MGT has not shown that its products satisfy a long-felt need in the market.
Indeed, MGT claims it had itself met such a need as early as 2011. Others, including GRC, have
offered products that satisfy the need for immersion cooling for data centers prior to 2011. And
MGT’s own predecessor, Midas Networks, recognized as much when it purchased GRC’s systems.

    408. For example, Best ‘463 (which was assigned to GRC and incorporated into its products)
presents the problems with cooling in data centers, including cost, 393 ultimately identifying the
need for its invention by stating: “[t]herefore, there exists the need for an effective, efficient and
low-cost cooling alternative for cooling [] electronic components, such as, for example, rack-
mounted servers.” 394 Therefore, to the extent a long felt but unsatisfied need existed, Best ‘463
was directed towards a solution.

   409. Thus, it is my opinion that there is no nexus between a long-felt need for the alleged
invention.

   410. Accordingly, it is my opinion that MGT’s purported secondary considerations of non-
obviousness do not refute my above analysis on obviousness.

WRITTEN DESCRIPTION AND ENABLEMENT

   411. I have not been asked to provide an opinion on the ultimate question of whether the
Asserted Claims of the Asserted Patents are invalid for failure to provide an adequate written



390
    See CarnotJetTM Four-Rack Installation, GRC0105; Best Decl. ¶¶ 10-11.
391
    Pl.’s Supp. Resp. to Defs.’ Interrog. No. 14, Mar. 13, 2023 at 8.
392
    Id.
393
    Best ‘463 at 1:30-4:27.
394
    Id. at 4:25-27.

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description or for lack of enablement. I have been asked to provide opinions about the patents’
disclosures that are relevant to these determinations.

    412. It is my opinion that the Asserted Patents do not describe or show (1) “a weir. . .adapted
to facilitate substantially uniform recovery of dielectric fluid” or (2) “a plenum. . .adapted to
dispense dielectric fluid substantially uniformly upwardly through each appliance slot.”

    413. Although the specification of the Asserted Patents mentions a plenum and shows a base
and a perforated plate atop the plenum, it nowhere addresses the height of the plenum. As depicted
in Figure 1, the plenum is much too narrow (that is, too low in relation to the scale of tank). A
POSA would know that the point of a plenum is to allow uniform flow and that a plenum would
have to have a certain height to achieve the slowing of velocity (settling) that is a prerequisite to
uniform flow. (It is referred to as a settling chamber because it must allow fluid to settle and
distribute itself so that uniform flow becomes possible.) But a POSA would have to do
considerable additional work and experimentation to determine the correct height for the plenum
given the other dimensions of the tank. This is not a trivial problem. Additionally, the perforation
pattern of the plate does not assure that flow will be uniform. In fact, the pattern of holes shown in
the “orifice plate portion of the plenum facility” as shown in the Asserted Patents (in Figures 1, 7
and 8) would not result in substantially uniform upward flow of the dielectric fluid through each
appliance slot, or across the bottom of the tank. (I understand that one of the named inventors,
Christopher Boyd, acknowledged that equally sized holes would not achieve substantially uniform
upward flow through each appliance slot, and I agree.) 395 Thus, the plenum as depicted would not
achieve the purposes of a plenum, nor would it achieve the goal recited by the claims, namely,
substantially uniform upward flow through each appliance slot. The Asserted Patents do not teach
how to size or arrange the holes in the orifice plate to achieve substantially uniform upward flow
through each appliance slot, and that is something a POSA would not have known how to achieve
in the system disclosed in the patents without considerable additional work and experimentation.

    414. The component identified as a plenum in the Asserted Patents is more nearly a manifold,
which is a component that takes the flow of fluid from a central location and distributes it to many
other locations (here, orifices). Manifolds present similar design issues to plenums; in particular,
the challenges to achieve uniform flow are similar. The diameter of the holes must be exactly right;
they cannot be arbitrarily chosen. A pressure drop occurs as a function of the orifices. To achieve
uniformity of flow, the pressure drop must be just high enough to cause flow to find path of least
resistance that spreads out uniformly. If the holes are too large and the pressure drop is
consequently too small, the flow will be maldistributed and be non-uniform. In the “plenum”
shown in the Asserted Patents, the result of oversized perforations would be more flow near the
middle and less flow near the ends of the plate. If the holes are too small, the pressure different
above and below the perforated plate would be too high, which would require excessive pressure
in the plenum.

    415. Based on the limited description given to the details of the outflow weir as disclosed in
the Asserted Patents, see 22 in Figures 5 and 6 of the ‘457 patent, the weir would not facilitate
uniform recovery of the dielectric fluid because the level of the surface of the fluid, which is
established by the vertical position of the weir, appears to coincide with the top of the electrical

395
      Boyd Dep. 255:8-256:13, Dec. 7, 2023.

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appliances. There is no volume above the electrical appliances for the fluid to mix and become
uniform in velocity and temperature. In contrast to Best ‘463, which specifies that the surface level
should be above the top of the appliances thus creating a weir above the appliances, the Asserted
Patents make no such allowances.

    416. In the Asserted Patents, the weir and plenum are not described in such a way that a POSA
could implement them without undue experimentation. Therefore, it is my opinion that a POSA
reading the Asserted Patents at the purported date of invention would not have known how to
achieve the claimed invention or understood that the applicants were in possession of the claimed
subject matter.

LIST OF ATTACHMENTS AND EXHIBITS

Exhibit A – List of Information Considered
Exhibit B – Curriculum Vitae
Exhibit C – List of Prior Testimony
Exhibit D-1 – Claim Chart based on Best ‘463 over ‘457 Patent.
Exhibit D-2 – Claim Chart based on Best Publication over ‘457 Patent.
Exhibit D-3 – Claim Chart based on Best Tank over ‘457 Patent.
Exhibit D-4 – Claim Chart based on Oktay ‘244 over ‘457 Patent.
Exhibit D-5 – Claim Chart based on JP ‘758 over ‘457 Patent.
Exhibit D-6 – Claim Chart based on Pfanhl Application over ‘457 Patent.
Exhibit D-7 – Claim Chart based on Krajewski ‘511 over ‘457 Patent.
Exhibit D-8 – Claim Chart based on Gryzhin ‘013 over ‘457 Patent.
Exhibit D-9 – Claim Chart based on Best ‘914 over ‘457 Patent.
Exhibit E-1 – Claim Chart based on Best ‘463 over ‘446 Patent.
Exhibit E-2 – Claim Chart based on Best Publication over ‘446 Patent.
Exhibit E-3 – Claim Chart based on Best Tank over ‘446 Patent.
Exhibit E-4 – Claim Chart based on Oktay ‘244 over ‘446 Patent.
Exhibit E-5 – Claim Chart based on JP ‘758 over ‘446 Patent.
Exhibit E-6 – Claim Chart based on Pfanhl Application over ‘446 Patent.
Exhibit E-7 – Claim Chart based on Krajewski ‘511 over ‘446 Patent.
Exhibit E-8 – Claim Chart based on Gryzhin ‘013 over ‘446 Patent.
Exhibit E-9 – Claim Chart based on Best ‘914 over ‘446 Patent.




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RESERVATION OF RIGHTS

I may address other issues in later expert reports as needed to address additional discovery,
additional reports offered by MGT's, and/or additional guidance from the Court. I may also
enlarge, animate, color or otherwise adapt portions o f the above-cited documents to illustrate my
above opinions.

Executed this 22nd day o f December 2023.




                                                      Alfonso Ortega, Ph.D.




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